       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 1 of 152



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

   JEROME JOHNSON,
       Plaintiff,

       v.                                                Civil No. ELH-19-0698

   BALTIMORE POLICE DEP’T, et al.,
       Defendants.

                                   MEMORANDUM OPINION

       This wrongful conviction action is rooted in events that occurred in Baltimore City in 1988

and 1989. Aaron Taylor was murdered in 1988, at the age of twenty-two. In 1989, a jury in the

Circuit Court for Baltimore City convicted plaintiff Jerome Lamont Johnson and two others of the

murder. Johnson, who was 20 years old at the time of the murder (ECF 151-2 at 4), was sentenced

to life imprisonment, with a consecutive term of twenty years’ incarceration for a related gun

offense.

       In July 2018, the Baltimore City State’s Attorney’s Office (the “SAO”) and plaintiff filed

a Joint Petition for Writ of Actual Innocence, pursuant to § 8-301 of the Criminal Procedure Article

(“C.P.”) of the Maryland Code. ECF 151-30. It was supported by a memorandum of law. Id. at

3-18 (“SAO Memorandum”) (collectively, the “Joint Petition”). The Joint Petition followed an

investigation conducted by the SAO’s Conviction Integrity Unit (“CIU”). See ECF 151-1 (“CIU

Memorandum”).1 The Circuit Court for Baltimore City (Peters, J.) granted the Joint Petition and

vacated plaintiff’s convictions.




       1
         The Joint Petition was signed by Lauren Lipscomb, Chief of the CIU, and two lawyers
for Johnson.
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 2 of 152



       After the SAO dismissed the charges against Johnson, he filed suit against the Baltimore

City Police Department (“BPD”), as well as four former BPD officers in their individual capacities:

Frank Barlow, Daniel Boone, Kevin Davis, and Gerald Goldstein (the “Officer Defendants”). See

ECF 1. In sum, Johnson contends that, as a result of the Officer Defendants’ failure to disclose

exculpatory evidence, the BPD’s failure to establish a policy requiring disclosure of exculpatory

evidence, as well as its failure to train BPD officers in regard to their constitutional obligations, he

served approximately three decades in prison for a murder that he did not commit.2

       At the outset of the case, various defendants moved to dismiss the suit. See ECF 22; ECF

24; ECF 25. By Memorandum Opinion and Order of March 10, 2020 (ECF 45, ECF 46), I granted

the motion in part and denied it in part.

       Johnson then filed an Amended Complaint (ECF 116), seeking compensatory and punitive

damages. The Amended Complaint contains eight counts. Counts I through V are founded on 42

U.S.C. § 1983 and Counts VI through VIII assert claims arising under Maryland law. Count I is

titled “Failure to Disclose Exculpatory and Impeachment Evidence.” In Count I, plaintiff asserts

a claim against the Officer Defendants for a violation of the Due Process Clause of the Fifth and

Fourteenth Amendments to the Constitution. Id. In Count II, Johnson brings a claim for

“Fabrication of Evidence,” in violation of his due process rights under the Fifth and Fourteenth

Amendments.       Count III asserts a claim for “malicious prosecution” against the Officer

Defendants, in violation of the Fourth and Fourteenth Amendments. Count IV lodges a claim

against the Officer Defendants for “Failure to Intervene.” Count V asserts “a Monell Claim”


       2
         As discussed, infra, defendants contend that Johnson procured his release through fraud
on the court, including the submission of false affidavits. ECF 137 at 3. Defendants also question
the reliability and impartiality of the SAO’s reinvestigation. See ECF 162 at 12; ECF 162-4
(Expert Report of Robert Milan, dated 10/13/21).


                                                  -2-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 3 of 152



against the BPD under the Fifth and Fourteenth Amendments, and pursuant to Monell v. Dep’t of

Soc. Servs. of City of New York, 436 U.S. 658 (1978). Count VI, lodged against the Officer

Defendants, asserts malicious prosecution under Maryland law. Count VII, also filed under

Maryland law, alleges a claim for intentional infliction of emotional distress. And, in Count VIII,

Johnson asserts a claim against the BPD for indemnification.

       Several motions are pending.       Along with the motions, the parties have submitted

approximately 6,000 pages of exhibits.

       Defendants have filed a “Motion to Dismiss Plaintiff’s Amended Complaint as a Litigation

Sanction Based On The Use Of False Or Fabricated Evidence” (ECF 137) (the “Sanction Motion”).

They urge the Court to dismiss the suit, claiming that plaintiff secured his exoneration through the

use of false and fabricated evidence: the affidavit of Alvin Hill, one of Johnson’s codefendants,

and the affidavit of Paul Burton, with whom Johnson had been incarcerated. Additionally,

defendants contend that Johnson intentionally attempted to influence the testimony of at least three

potential witnesses in connection with his effort to vacate his convictions.

       Plaintiff opposes the Sanction Motion. ECF 152. Notably, Johnson concedes that the

affidavits contain false information. However, he maintains that he was not aware of the false

information when he submitted the affidavits. Id. at 15. And, in any event, Johnson argues that

his exoneration did not depend on the assertions set forth in these affidavits. Id. at 23. Moreover,

with respect to Johnson’s communications with potential witnesses, he contends that his

communications were not improper and did not prejudice the case. ECF 152 at 8. Defendants

have replied. ECF 162.

       The Officer Defendants have moved for summary judgment (ECF 138), supported by a

memorandum of law (ECF 138-1) (collectively, the “Officer Motion”). In general, plaintiff



                                                -3-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 4 of 152



opposes the Officer Motion. ECF 151. The Officer Defendants have replied. ECF 163. However,

plaintiff “requests to dismiss Frank Barlow and Count II (Fabrication) against all Defendants.”

ECF 151 at 11 n.1. I shall grant those requests.

       The BPD has also moved for summary judgment. ECF 136. The BPD motion is supported

by a memorandum of law (ECF 136-1) (collectively, the “BPD Motion”).

       In the alternative, all defendants jointly moved to bifurcate the Monell claim against the

BPD, and to stay discovery as to the Monell claim, pending resolution of plaintiff’s claims against

the Officer Defendants. ECF 140. The motion is supported by a memorandum of law. ECF 140-

1 (collectively, the “Bifurcation Motion”).

       Johnson has filed a consolidated opposition to both the BPD Motion and the Bifurcation

Motion. ECF 156. Both the BPD (ECF 164) and the Officer Defendants (ECF 167) have jointly

replied as to bifurcation.

       The Court held a hearing on the motions on September 23, 2022, at which argument was

presented. ECF 174. The defense also used a powerpoint presentation. ECF 175. For the reasons

that follow, I shall dismiss all claims against Frank Barlow; dismiss Count II; grant the Sanction

Motion; alternatively, grant the Officer Motion and the BPD Motion; and deny the Bifurcation

Motion, as moot.

                              I.     Factual Background3

       Aaron Taylor was shot to death in Baltimore on July 14, 1988. Johnson was one of four

people charged with Taylor’s murder, and one of three who were convicted. Two of Johnson’s



       3
         To the extent relevant, I incorporate here the factual background set forth in my
Memorandum Opinion of March 10, 2020. See ECF 45 at 3-13. I also draw on the parties’
submissions and the numerous exhibits, including the summaries provided by the SAO’s CIU
(ECF 151-1; ECF 152-13 (same)) and the Joint Petition. ECF 151-30.

                                                -4-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 5 of 152



codefendants, Alvin Hill, who was the shooter, and Reginald Dorsey, have since died. See ECF

138-1 at 11 n.3 (noting Dorsey’s death); ECF 152 at 35 (same); ECF 151-1 at 4; ECF 152-9 (Hill’s

Autopsy Report, dated April 23, 2017). At the time of their deaths, Hill and Dorsey remained

incarcerated for their roles in Taylor’s murder. ECF 138-1 at 11 n.3; ECF 151-1 at 4. Johnson’s

defense attorney, M. Gordon Tayback, and the presiding judge, Joseph Pines, have also died. And,

the establishment where the murder occurred has been razed.

       Some of the individuals pertinent to this case were known by more than one name or by a

nickname. For instance, plaintiff used his middle name, “Lamont”; Hill used the nickname of

“Poopie”; Dorsey used the nickname of “Buttons” or “Butt”; and Taylor, the victim, used the name

“Hooper.” ECF 151-2 at 45, 46; ECF 138-3 at 8.

       Notably, the Homicide File for the case is not available in its original condition, at least

partly because the litigation has continued for decades, which has affected the content. Plaintiff

also notes that “no fewer than four versions of the SAO file have been produced . . . .” ECF 151

at 25. Thus, plaintiff contends that “there is no definitive record of what documents were contained

in the SAO file at the relevant time.” Id. at 29. In any event, the parties did not submit with the

motions any version of the SAO file or the defense attorney’s file.

                                   A. The BPD Investigation

       On July 14, 1988, shortly after 1:00 a.m., Aaron Taylor “left the area of Virginia Avenue

and traveled to the Night Owl Bar located at 3602 Woodland Avenue” in Baltimore. ECF 151-1




        Throughout the Memorandum Opinion, I cite to the electronic pagination. But, the
electronic pagination does not always correspond to the page number that appears on a particular
submission. And, some exhibits have been submitted more than once. See, e.g., ECF 151-1; ECF
152-13 (same). On occasion, I cite to the duplicate versions of the same exhibit.

                                                -5-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 6 of 152



(SAO Memorandum) at 5.4 The front door of the Night Owl opened to a small area with a soda

machine and a protected, glass-enclosed counter, where customers could buy snacks and

beverages. ECF 138-2 (Trial Transcript) at 109-10.

       Lauren Lipscomb, who served as the Division Chief of the CIU, set forth the following

account in the CIU Memorandum, ECF 151-1 at 5:

       Once in front of the location, Victim[5] was approached by several men and the
       shooter (later identified as Alvin Hill, aka Poopie, and hereinafter referred to as
       “Shooter”). An argument ensued. Victim fled from the group to the inside of the
       Night Owl Bar. Victim grabbed a patron (later identified as Marvin Reid and
       hereinafter referred to as “Shield”) and used this patron as a human shield, hiding
       behind same from the Shooter. The Shooter yelled multiple times for the Shield to
       “duck”. Victim screamed “don’t shoot”. During this, store owner Jung Kim
       (hereinafter referred to as “Owner”) called 911. After moments went by with the
       Shield struggling to break free and Victim clutching on to him, the Shield and
       Victim fell to the ground. Shooter approached and fired multiple shots down into
       Victim. Victim tried crawling toward the doorway and collapsed. The Shield’s
       foot was struck by a bullet. The Shooter and the guys from outside all fled. The
       Shield remained until police arrived. EMTs arrived and Victim was pronounced
       dead at the scene. Victim’s family responded. Victim’s mother identified Victim.

       The Night Owl was adjacent to a basketball court and a playground on the corner of

Woodland Avenue and Reisterstown Road. ECF 138-2 at 112.6 A fence ran along the sidewalk

of Woodland Avenue by the basketball court and playground. Id. There was a hole in the fence

in the vicinity of the Night Owl. Id.




       4
         The establishment is referred to variously as the “Night Owl Bar” (ECF 151-at 5); “Night
Owl Liquors” (ECF 138-3 at 10); “Night Owl Bar & Lounge” (ECF 138-3 at 15); “Night Owl”
(ECF 151-2 at 46); “Nite Owl Tavern” (ECF 151-8, ⁋ 3); and “Nite Owl” (ECF 151-6 at 6). It is
also described as a “store” (e.g., ECF 151-14 at 6) and as a “bar.” See, e.g., ECF 151-8, ⁋ 3.
       5
           Taylor is identified in the SAO Memorandum as “Victim.” ECF 151-1 at 5.
       6
          The Night Owl, the playground, and the basketball court “have been razed since the events
at issue,” and “[a] small parking lot now occupies the plot at the corner of Woodland Ave.” ECF
138-1 at 7 n.1.

                                                -6-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 7 of 152



       The parties do no dispute that the key intersections of Reisterstown Road/Woodland

Avenue and Reisterstown Road/Lucille Avenue are unchanged and are approximately 300 feet

apart. Defendants submitted a map of the area that includes the relevant intersections mentioned

in the factual summary. See ECF 137-24 (the “Map”).7




       The Map indicates that it was generated using “Map data © 2021 Google.” Although the
       7

Map post-dates the relevant events at issue, it is useful to locate key streets.

                                              -7-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 8 of 152



       According to the Joint Petition, responding police officers “PO Mays”8 and “PO Kenneth

Jones” spoke with several witnesses at the scene. ECF 151-30 at 4; see also ECF 151-8 (Jones

Declaration), ⁋ 3; ECF 151-1 at 5 (stating “PO Mays and Jones were first responding”). Robert

Mays, Sr. is now known as Robert Muhammad. See ECF 156-21 (Muhammad Decl.), ⁋ 2

(specifying name change).

       Officer Mays arrived at the Night Owl at 1:17 a.m. on July 14, 1988, in response to a

reported “assault + robbery.” ECF 138-3 at 15-18 (Mays Incident Report) (emphasis omitted); see

also ECF 138-2 at 104-118 (Mays Trial testimony). Upon his arrival at the Night Owl, Mays

“observed [the victim] slumped down on his knees’ [sic] with his head lying in his chest, and

bleeding heavily.” ECF 138-3 at 15-16.       The Mays Incident Report reflects that the incident

occurred at “0116 Hrs.” Id. at 15. Mays also wrote that the victim “had been shot several times.”

Id. at 16.

       Officer Mays “[s]ummoned more officers” and “[s]ecured the bar area from anyone

entering the bar[.]” Id. At trial, Officer Mays explained that he “secured the crime scene” in order

to “protect the evidence around it.” ECF 138-2 at 113. He also “called for an ambo and then

advised that the incident on Woodland Ave. 3602 was an assault by shooting.” ECF 138-3 at 16.

And, he “notified Homicide” and “notified Det. Davis[.]” Id.

       According to Mays, he “located” several witnesses at the scene. They included Jung Kim,

the owner of the Night Owl; Marvin Lewis Reid, who was the so called “Shield,” id. at 17; and

JuAndre Mims, who was in the Night Owl at the time. ECF 138-2 at 117; ECF 151-1 at 6.9




       8
           The Trial Transcript uses the spelling of “Mayes.” See ECF 138-2 at 103.
       9
           The CIU Memorandum uses the spelling of “Juandre” Mims. ECF 151-1 at 6.

                                                -8-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 9 of 152



       At “0128 hrs.”, a dispatcher notified the Homicide Unit that Homicide was requested to

respond “to a serious shooting . . . .” ECF 138-3 at 10. Homicide Detective (“Det.”) Kevin Davis

responded to the scene at “0145 hrs.” Id.; see also ECF 151-1 at 5. This was about thirty minutes

after Taylor was killed. See ECF 138-2 (Davis trial testimony) at 113-14; ECF 138-3 at 10 (Davis

Report, 7/14/88). Det. Davis remained at the scene until “the investigative work was completed,”

at which point he “returned to the homicide unit . . . .” ECF 151-10 (Davis response to request for

admissions), ⁋ 12.

       Under BPD policy that was in effect at the time, and as discussed infra, the BPD Homicide

Unit is granted “[t]he authority and responsibility to coordinate the entire investigation and

handling [of] the technical phases of the investigation . . . .” ECF 151-9 (General Order 14-83) at

6. To that end, “detective(s) in charge of the investigation” are empowered to “[t]ake complete

charge of the crime scene” and “no person may enter the restricted area without permission of the

detective in charge of the investigation[.]” Id.

       Detective Davis assumed the role of the lead investigator in regard to the Taylor murder.

ECF 151-11 at 15 (Davis Dep.). By 1989, he had conducted over 100 homicide investigations.

Id. at 13. As the lead detective, Det. Davis was in charge of witness interviews. Id. at 6. He was

aided by Det. Daniel Boone, who “assisted in all aspects of this investigation.” ECF 151-2 at 9.10

       The Joint Petition states, ECF 151-30 at 4 (emphasis added):          “On [the] scene, at

approximately 1:50 am, PO Kenneth Jones spoke with a minor witness, L.S. L.S. is a “cousin of

the Victim.” She was fifteen years old at the time. See 151-1 at 6.



       10
          Det. Davis and Det. Boone also had primary responsibility for investigating the murder
of David Hightower, which occurred two days prior to Taylor’s murder and a few blocks away.
See ECF 156-12 (report of plaintiff’s expert witness, Robert Stewart, discussing Hightower
murder), at 35.

                                                   -9-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 10 of 152



        Jones was then a “rookie BPD patrol officer and . . . had been working in that capacity for

approximately three weeks.” ECF 151-8 (Jones Decl., 6/25/21), ⁋ 2. And, on July 14, 1988, he

personally recorded the time of 1:50 a.m. for his interview of L.S.. See ECF 138-5. That is about

five minutes after Davis arrived at the scene. See ECF 151-1 at 5.

        In a Declaration dated June 25, 2021 (ECF 151-8), Jones recalls that L.S., the victim’s

cousin, was “identified as having witnessed the murder.” Id. ¶ 5; see ECF 138-3 at 11. The

Declaration also states that a homicide detective “directed” Jones to take L.S. to the “Homicide

Unit at Police Headquarters in downtown Baltimore.”         ECF 151-8, ¶ 5. Jones claims that he

“transported” Ms. L.S. to the Homicide Unit in the back of his police vehicle. Id. ⁋ 6. Once there,

Jones “took a witness statement from [L.S.] . . . for approximately thirty minutes.” Id. ⁋ 7.

        Jones does not identify who instructed him to transport L.S. to the homicide unit, nor does

he explain how he could have gotten to Police Headquarters by 1:50 a.m. Moreover, he does not

address the assertion in the Joint Petition that Jones spoke with L.S. at the scene. See ECF 151-30

at 4.

        Officer Jones also states in his Declaration that he did not “recall writing down notes in a

note pad.” Id.   Nevertheless, he memorialized L.S.’s account in a “Supplement Report (Form

87/7)” dated “14 Jul 88.” Id. ⁋ 8; ECF 138-5 (the “Jones Report”); ECF 151-2 at 23 (same).

Although the Jones Report reflects the time of the interview, it does not specify the location of the

interview.

        In his Declaration, Jones also avers, ECF 151-8, ⁋ 12: “After completing the Report, I left

a copy of it with a detective in the Homicide Unit.” And, Officer Jones states that he “recall[ed]

leaving [L.S.] in the interview room at the Homicide Unit,” because he “expected a homicide

detective to interview [L.S.], as was the procedure at the time, and because [he] was only a rookie



                                                -10-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 11 of 152



patrol officer.” Id. ⁋ 13. Moreover, Jones recounts that he “did not transport [L.S.] home.” Id.

Jones also states that he “was never contacted by any of the homicide detectives assigned to the

investigation of the murder at the Nite Owl, nor did [he] speak to them or anyone else within the

BPD about the witness statement that [he] took from [L.S.].” Id. ⁋ 14.

       Officer Jones provided a second Declaration on August 20, 2021. ECF 138-7. He states,

id. ⁋ 4: “At the scene, I was directed by a member of the BPD who I cannot identify but believed

was a detective to transport a witness named . . . L.S. to the Homicide Unit at Police Headquarters

in downtown Baltimore.” According to Jones, the officer “who directed [him] to transport the

witness was not Kevin Davis or Daniel Boone . . . .” Id. Further, Officer Jones reiterates that he

interviewed L.S. at Headquarters and memorialized the contents in the Jones Report. Id. ⁋ 5. And,

Officer Jones avers, id. ⁋ 6: “After I concluded my interview with [L.S.] and my supplemental

report, I left my report with a member of the BPD who I thought was a detective and I told a

member of the BPD who I believed was a detective that [L.S.] was present at the Homicide Unit.”

Id. However, Officer Jones could not remember “who [he] spoke with at the time,” other than it

“was not Detective Kevin Davis or Detective Daniel Boone.” Id.

       The “Narrative” portion of the Jones Report contains a summary of L.S.’s interview,

according to Jones. He wrote, ECF 138-5 at 2:

               Spoke with [L.S.] . . . who states on 14 July 88 at 0130 hrs she was present
       in the bar at 3602 Woodland Ave with the victim (her cousin).

               [L.S.] states the suspect (30-1) came into the bar pulled a black + brown gun
       (unk caliber) from his waist band and held it down towards the floor. She states
       the victim then grabbed Marvin Reid . . . using him [as] a shield in front of his body
       stating “Don’t go nowhere he’s going to shoot me;” referring to suspect (30-1). She
       states Mr. Reid (the shield) somehow got away and hit the ground. She states
       suspect (30-1) said “I’m going to kill you,” twice. She states she then ran out and
       heard 5 shots. She states there were 3 other Blk [sic] males with suspect but they
       fled also. She states that she know [sic] the names of two of the black males with
       suspect (30-1) who also ran but she did not want to give the names because she’s

                                               -11-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 12 of 152



       in fear of her life. She states she does not know the suspects [sic] name but she
       seen [sic] him in the area.

              [L.S.] described the suspect (30-1) as a light skin black male, thick eye
       brows [sic], cat eyes, light brown eyes, skinny nose, slim build, black sweatshirt,
       red shorts, white tennis [shoes], and a fade haircut.

       On July 14, 1988, Det. Davis submitted a report of the incident to his Commanding Officer,

Captain John J. MacGillivary. ECF 138-3 at 10-13 (“July 14 Report”). The July 14 Report is co-

signed by Davis’s supervisor. Id. at 13. Among other things, the July 14 Report expressly stated:

“Officer Kenneth Jones, NWD interviewed [L.S.].” Id. at 11. The July 14 Report also stated, id.

at 12: “This witness who was in a [sic] extremely excited condition stated she was in the store

when her cousin . . . was shot.” And, Det. Davis specifically informed MacGillivary that L.S. “will

be interviewed by Homicide Investigators as soon as possible.” Id. (emphasis added).

       Moreover, Detective Davis testified at trial that he “talked” with L.S. “on the night of the

incident at the Nite Owl,” but “[s]he was in a very emotional condition . . . .” ECF 138-2 at 25.

Therefore, he decided “to let her go home with her mother.” Id. At his deposition (ECF 138-6,

Davis confirmed that he did not “interview [L.S.] back at the homicide unit” on July 14, 1988,

because “she was extremely upset, 15 years old,” and it was the “middle of the night.” Id. at 13.

Davis claimed that he “spoke to [L.S.] in depth on the 19th of July . . . .” ECF 138-2 at 25.

       The Homicide File contains a handwritten note, docketed at ECF 151-12 at 2. Although

the author is not specified, the parties acknowledged at the motions hearing that Davis is the author

of the note.11 The note appears to be a recap of events concerning the investigation. As to

“7/14/88,” it states: “[L.S.] – upset briefly interviewed at scene, released.” Id. (emphasis added).

There is also an entry for “7/19/88—SAO [L.S.].” It states: “After getting descriptions addresses


       11
         The Court does not have a transcript of the hearing. Therefore, I have relied on my notes
and my recollection.

                                                -12-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 13 of 152



or nicknames of S’s [i.e., suspects] showed her a pix of Tommy Carroll ID’d as Tommy — showed

her 2 spreads of ‘Poopies’ — Neg.” Further, the note states, id.: “7/29 – Interviewed McFadden

she gave us names of Lamont & Poopie – 3622 Lucille.”

       An image of the handwritten note follows, id.:




             L.S.



                                L.S.




                     L.S.
                                       K.A.




       Detective Davis spoke with JuAndre Mims on July 14, 1988, at 3:20 a.m., “via telephone.”

See ECF 151-2 at 16-17 (typed report); see also ECF 138-3 at 2 (Davis’s handwritten notes); ECF

138-6 (Davis Dep.) at 7. According to handwritten notes, Mims stated that he “saw some people

on [the] basketball court”; “Heard shot thru car”; “crowd ran into bar”; “saw B/M run in bar”;

heard “6-8 shots”; described the clothing of an individual he “knows from area”; and described


                                              -13-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 14 of 152



the weapon as “.38 long blue steel.” ECF 138-3 at 2. The handwritten note also says: “asked for

a ride – W said no.” Id.

        Davis memorialized the content of his notes in a typed memorandum to Captain

MacGillivary, dated July 14, 1988. ECF 151-2 at 16-17. He wrote that Mims “stated that he drove

up to the bar and observed some people on the basketball court next to the bar.” Id. at 16. Mims

reported hearing “a shot coming from the area of the basketball court and saw a group run into the

bar,” followed by “a b/m armed with a .38 blue stell [sic] revolver . . . .” Id. Mims then “heard 6-

8 shots,” at which point “the armed suspect ran past” and asked Mims “to drive him out of the

area.” Id. However, “Mims refused and the suspect fled.” Id.

        Of relevance, a section of the report is titled “Follow Up.” Id. at 17. There, Davis stated:

“Interviews of JuAndre Mims and [L.S.] will be conducted as soon as possible.” (Emphasis added).

The report was also signed by Davis’s supervisor. Id.

        Other witnesses also provided statements to BPD officers on July 14, 1988. They included

Kim, the owner of the Night Owl, and Marvin Reid, the man Taylor used as a human shield. See

ECF 138-3 at 21-23 (Kim Statement); id. at 24-30 (Reid Statement).

        Reid, who was 29 years old at the time (ECF 138-3 at 24), gave a signed statement to Det.

Charles Gilbert at 3:28 a.m. on July 14, 1988, in the “Homicide Unit Office.” Id. at 26-29. Reid

said, in part, id. at 26-27:

        I rode my bike down Reisterstown Rd. and turned on Woodland to go to that bar.
        As I got to the bar, I noticed two guys arguing on the basketball court next to the
        bar. The one guy had a gun in his left hand and was pushing the guy that died
        around. I really didn’t pay it much mind. I proceeded into the bar—the front carry
        out section . . . . I was grabbed from behind by the guy who eventually got shot.
        He had his arm around my neck. He had run in with the guy with the gun behind
        him. He was using me as a shield and saying “No man, no man. Don’t,” to the guy
        with the gun. The guy with the gun was telling me to duck. The one who had me
        around the neck was dragging me around trying to get away from the guy with the
        gun, but there wasn’t really any place to go. . . . The guy told me to duck again and

                                                -14-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 15 of 152



       I ducked, putting my hands over my head. He shot three to five times. I dropped
       to the floor and the guy who got shot dropped on me.

       Kim provided a “verbal statement” to Det. Boone at 3:35 a.m. on July 14, 1988. ECF 138-

3 at 22. According to Boone’s handwritten notes, Kim recounted that she “was inside her liquor

store when she heard a noise outside. When she looked up she saw the [victim] and the shielded

subject in front of the soda machine.” Id. at 22. Boone wrote that, according to Kim, “the suspect

was standing inside the door and he had a long barrel 4” black handgun.” When Kim saw the gun,

she called 911. Id. “When she finished the call the 3 were further inside the store in front of the

center glass partition.” Id. According to Boone, Kim said that she “heard one shot then saw the

[suspect] shoot down several more times at the victim who was out of her sight below the glass

partition.” Id. Then, the “suspect ran out the door in [an] unknown direction.” Id. According to

Boone, Kim described the suspect as a black male in his “early 20’s,” “very thin,” and “dark skin,”

about “5’7 – 5’8” in height, wearing a black hooded sweatshirt. Id.

       Det. Davis wrote a memorandum to Captain MacGillivary on July 15, 1988 (ECF 151-2 at

15) indicating that on that date he spoke with Gwendolyn Taylor, the victim’s mother, as well as

“several other family members.” Id.; see also id. at 6 (identifying Gwendolyn Taylor as “the

victims [sic] mother,” and noting that she “assisted police in identifying the suspects involved in

the murder”). Det. Davis said: “The family had been in contact with [L.S.] who told the family

that ‘Poopie’ did the shooting.” Id. at 15. And, Davis wrote, id.: “A possible witness/suspect was

also identified by the family as Lamont . . . who lives somewhere on Lucille Avenue.” Id. Det.

Davis continued, id.: “According to the information the family has received, Lamont was in the

bar and told ‘Poopie’ to shoot the victim in the haed [sic].” In Dorsey’s signed statement to Det.

Davis and Det. Boone, he claimed “Poopies [sic] buddy . . . ran in the bar.” ECF 137-2 at 5.




                                               -15-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 16 of 152



       The BPD Homicide File includes handwritten notes on paper that resembles a memo pad,

with dates, words, phrases, and names, again without the identity of an author, but clearly

consistent with the gathering of information during an investigation. See ECF 151-12 at 5-7. For

example, one entry reflects that on 7/15 “at 7:30 pm” someone “spoke to Shanay.” Id. at 7. She

is the sister of L.S. and a cousin of the victim. Another entry mentioned names and some addresses.

Id. at 6. The names include “Buttons,” with an address; “Tommy”; D.S. (L.S.’s sister), “has info”;

“Desiree,” with an address; “Poppie [sic] shooter don’t live in area”; and “Lamont.” Id. The note

indicates “info” was obtained from “Phyliss Smith,” the “V’s aunt.” Id. As to “Lamont,” the note

states that he “lives on Lucille” and was “with shooter told to shoot.” Id. It also provides

information as to a vehicle with “Va tags.” Id.

       On July 19, 1988, Det. Davis conducted an interview of L.S. He took handwritten notes

of his interview, which contain the words “Notes of Interview.” ECF 151-13 at 1-4 (“July 19

Notes”). The notes reflect a time of 10:20 a.m. Id. at 2. L.S. is referenced as “W,” for witness.12

       In the July 19 Notes, Det. Davis assigned a number to the five suspects who are referenced,

four by name. Poopie is referenced as number 1, and the notes include a description and that he

“hangs on Lucille at Reisterstown.” Id. at 2. “Lamont” is number 2. Id. Next to his name, the

Notes reflect that he “lives on Lucille” and “drives a rental car.” Under his name, it says “had a

little gun, gave it to Poopie.” Id. Tommy is listed as number 3; Buttons is listed as number 4; and

“B/M NFD” is listed as number 5. Id.

       Davis wrote that L.S. said she told Dezzerie, i.e., her mother, that she was “going to the

store to get some chips & pretzels.” Id. at 3. L.S. “then left about a minute later with [her] mothers




       12
            ECF 151-12 at 4 is a duplicate of ECF 151-13 at 3.

                                                -16-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 17 of 152



[sic] man friend and [her] girlfriend.” Id.; see ECF 151-2 at 76 (same). Of significance, the names

of the friend of L.S.’s mother and L.S.’s girlfriend are not mentioned. ECF 151-13.

       Further, the July 19 Notes state, id. at 2: “Lamont gave Poopie a small gun at the crack in

fence. Poopie shot at V gun clicked 2 times, V ran into store, W ran in w/her mothers [sic] friend.”

Id. at 2-3. The victim then “grabbed a man” and person number 3, who is specified as “Tommy,”

id. at 2, 3, “ran in w/a bigger gun.” Id. at 3. The July 19 Notes indicate: “Poopie told the man to

move or get shot. Unk B/M ‘hit [victim] w/gun.’” Id. at 2. In addition, the July 19 Notes state,

id.: “Buttons said shoot him, he can ID us.” The notes again indicate that Poopie told “the other

man to move or he would shoot them both.” Id. at 3. The “man broke away . . . .” Id.

       Davis wrote that L.S. indicated that both she and “her mothers [sic] friend” were “in [the]

store at [the] time of [the] shooting,” along with Poopie, the victim, and the man the victim had

“grabbed.” ECF 151-13 at 3. And, Davis wrote that L.S. said “[h]er girlfriend was hiding outside.”

Id. L.S. “heard 4 shots.” Id. at 2.13

       The July 19 Notes are memorialized in a typed report of the same date, addressed to Captain

MacGillivary (the “July 19 Report”). ECF 151-2 at 13-14. The July 19 Report reflects that L.S.

was interviewed in the presence of her mother, Dezzerie, “at the States [sic] Attorneys [sic] Office,

Violent Crimes Section.” Id. at 13. According to Davis, L.S. “stated that she witnessed the

shooting of her cousin . . . inside the Night Owl Liquor Store.” Id. at 13.

       According to the July 19 Report, L.S. recalled that Taylor left her house “to get some chips

at the bar.” Id. L.S. left a few minutes later and “also headed toward the Night Owl.” Id. She

stated that “[a]s she entered the 3600 Blk. Woodland Avenue she observed her cousin at the



       13
         As discussed, infra, at L.S.’s 2018 interview with the CIU, she claimed that Lazenby
was hiding under a trash can at the relevant time. See ECF 138-20.

                                                -17-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 18 of 152



entrance (hole in fence) to the playground/basketball court which is just east of the Night Owl.”

Id.

       Further, Davis wrote, in part, id.:

       [L.S.] stated that her cousin was having some difficulty with approx. 5 black males
       all of whom she knew with the exception of one. She stated she observed a black
       male named Lamont give Poopie and [sic] small handgun. Poopie pointed the gun
       at the victim and it clicked twice, but didn’t fire. She stated she then ran into the
       Night Owl right behind the victim who grabbed a patron in the store. She stated
       that all 5 suspects then ran to the front of the store. She heard one of the suspects
       tell Poopie, who entered the store to hit the victim in the head with the gun. She
       then saw Poopie holding a large black handgun. She heard the suspect known to
       her as Buttons tell Poopie to “Shoot him in the head, he can identify us.” She stated
       that Poopie then ordered the patron being held by the victim to move or he (Poopie)
       would shot [sic] both of them. The patron then broke away and Poopie fired once
       then three more times at the victim. The witness ran out after the first shot and
       Poopie followed her across Reisterstown Rd. She doesn’t know where the other 4
       suspects fled but according to her mother she saw two of them earlier this date
       looking to see her son Troy.[14]

       L.S. also provided the names of four of the five suspects, as follows: Poopie, Lamont,

Tommy, and Buttons. Id. at 14. And, she provided Det. Davis with physical descriptions of them.

A fifth suspect was described by [L.S.] only as “B/M nfd.” Id. She also provided the street on

which each of the four men lived. Id. According to the July 19 Report, L.S. indicated that

“Lamont . . . lives in the 3600 Blk. Lucille Ave. [and] drives rental cars.” Id. And, the July 19

Report states, id.: “[L.S.] also provided information regarding the murder of David Hightower

which will be followed up by Det. Boone and Det. Davis.”

       Moreover, the July 19 Report indicates that L.S. was shown a photo “taken at the Homicide

Unit on July 12, 1988 of Thomas Carroll . . . at which time [she] Identified the photo as the suspect

she knows as Tommy.” Id.15 The “identification was made in the presence of Det. Daniel Boone


       14
            The numbers four and five appear to have been handwritten.
       15
        The CIU Memorandum indicates that L.S. did not select Tommy from a photo array.
ECF 151-1 at 10. Rather, she was shown “a single, confirmatory photo” on July 19, 1988. Id.
                                                -18-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 19 of 152



. . . .” Id. It appears that the photo of Carroll was taken in connection with the investigation of the

murder of David Hightower. Id. at 14. Carroll resided on Lucille Avenue. Id. And, L.S. provided

information about that murder. Id.

       The July 19 Report (ECF 151-2 at 13-14) does not indicate that anyone went with L.S. to

the Night Owl.

       L.S. testified before a Grand Jury on July 28, 1988. See ECF 143. In pertinent part, L.S.

testified that at about 1:00 a.m. on July 14, 1988, she was at her home with her mother, her “mother

[sic] friend and [her] girlfriend,” as well as Taylor. Id. at 2-3. At an unspecified time, Taylor “left

to go to . . . Night Owl.” Id. at 4. L.S. followed Taylor about five minutes later. Id. Notably, L.S.

was not asked whether the two individuals accompanied her to the Night Owl, nor was she asked

their names.

       L.S. recounted that she saw the victim standing with five black males. Id. at 3, 4. As she

was entering the store, “Lamont, he gave Poop a gun and [the victim] ran in the store and then

that’s when Poop came in and that’s when he was firing at [the victim] . . . .” Id. at 3. She

confirmed that Johnson “hand[ed] Poop the gun[.]” Id. at 4.

       In addition, L.S. recalled, id.: “Poop clicked it [i.e., the gun] twice and it wouldn’t shoot.”

Id. At the time, “Poop” was “pointing” the gun at the victim. Id. The victim then ran into the

store, as did L.S. Id. The victim grabbed a patron and used him as a shield. Id. at 5. Poop “told

the guy, ‘If you don’t move, I’m gonna kill both of you all.’” Id. at 6. At that time, Poop had a




Moreover, the CIU Memorandum states that “the only array apparently shown to L.S. contained
the Shooter.” Id.

       The Joint Petition is consistent. It states that L.S. was never shown a confirmatory
photograph of Johnson or an array with his photograph. ECF 151-30 at 6.

                                                 -19-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 20 of 152



“different” gun, which was “bigger” than the first, with a brown handle. Id. She described it as

“like the police gun.” Id. at 7.

       L.S. claimed that someone she did not know said to hit the victim with the gun, and Poopie

hit him. Id. Then, Buttons “ran to the store” and he said, “‘Shoot him in the head.’” Id. at 7.

Buttons added: “He gonna identify us.” Id. at 8. And, “that’s when [she] ran out of the store and

they shot [the victim] . . . .” Id. at 7. She heard four gun shots. Id.

       Initially, L.S. said she last saw Johnson on July 12. Id. at 8. But, she corrected her response

to say: “No. It was the last time I was here.” The prosecutor asked L.S. if she selected a

photograph when she was in the courthouse on July 12. Id. at 10.16 L.S. responded “Yes” and

indicated that she selected “Tommy”. Id. at 11. She agreed that he “was present at the time . . . .”

Id.

       In addition, L.S. described “Lamont.” Id. at 9. And, she confirmed that he gave a “small

gun” to Poopie “outside the bar,” which “didn’t fire . . . .” Id.

       On July 28, 1988, Det. Davis arrested Dorsey for the “Homicide/Shooting” of Aaron

Taylor. See ECF 138-3 at 8. Dorsey died approximately two weeks before he was scheduled to

provide deposition testimony in this case. At the time, he was still incarcerated for his involvement

in Taylor’s murder. ECF 138-1 at 11 n.3; ECF 152 at 35.

       Det. Davis interviewed Dorsey on the date of his arrest, July 28, 1988, “in the presence of

Det. Daniel Boone.” See ECF 137-2 at 2-9 (“Dorsey Statement”). The interview took place at

the Homicide Unit and was recorded on paper. Dorsey signed the statement, attesting that it is

“true and accurate[.]” Id. at 9.



       16
         The date of July 12 may derive from the July 19 Report, in connection with the
Hightower murder. See ECF 151-2 at 14.

                                                 -20-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 21 of 152



       Dorsey, who was then seventeen years of age, stated that his nickname is “Buttons.” ECF

137-2 at 2. He explained that Taylor was murdered because Taylor had angered a drug purchaser

(the “Buyer”) who, in turn, threatened Tommy. Id. at 2-3. Specifically, Dorsey stated that on an

unspecified date “about a week or two” before Taylor’s death, a “Jamaican man came to

Reisterstown + Lucille to buy some coke” from Dorsey, Tommy, and Taylor. Id. at 2; see id. at 3

(specifying who was present at the time). The Buyer gave $300 to Taylor, who then promptly rode

away on his bicycle with the money. Id. at 2-3. At that time, the Buyer “started running after

Hooper,” i.e., the Victim, evidently to no avail. Id. at 3. The Buyer “told [Dorsey] that he wanted

his money or he was going to kill all [their] families.” Id.

       Dorsey recounted that later that day, the Buyer went to Tommy’s home and threatened

Tommy’s family. ECF 137-2 at 3. Then, Tommy came to Dorsey’s home and indicated that they

“need[ed] a hundred dollars to pay the Jamaican man.” Id. But, Dorsey claimed that he did not

have sufficient funds to repay the Buyer. Id. Tommy “went to Poopie’s house” to obtain the

necessary funds. Id. Poopie is Tommy’s cousin. Id. at 3. A few days later, Dorsey saw the Buyer,

who told him that Hill had repaid the $300. Id.

       In addition, Dorsey described the circumstances leading to Taylor’s murder on July 14,

1988. Id. at 3-4. He stated, id. at 3: “I was on my porch, [when] a boy named Kenny came around

and said he saw Hooper . . . .” Id. at 3. He and Kenny went to Poopie and “Kenny told Poopie

that Hooper was around the corner.” Id. at 3-4. He and Kenny walked to Lucille and Reisterstown.

Id. at 4. Dorsey continued, id.: “Poopie, Tommy and a guy I don’t know who I’ve seen with

Poopie, were walking around Beehler & Reisterstown.” Id.

       At that time, Taylor “was on Reisterstown Rd. near the basketball court.” Id. According

to Dorsey, “Poopie, the guy and Tommy ran to the basketball court,” and Dorsey was with them.



                                                -21-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 22 of 152



Id. Taylor “walked to Reisterstown and Woodland and was talking to a guy about buying some

cocaine.” Id. Kenny and Dorsey then “went up to Hooper and told him [that] Poopie and Tommy

wanted their money.” Id. In response, Taylor said “‘fuck them’ and then “walked towards the

bar.” Id.

       Dorsey recounted that at this time, Hill and Tommy were on the playground. Id. But, when

“Hooper got to the hole in the fence,” which abutted the Night Owl, Tommy, Hill, K.A., Dorsey,

and the unnamed individual “went up and talked to Hooper.” Id. at 4. Hill told Taylor that he

wanted his money. Id. Hooper “said he gave the money to Tommy.” Id. But, Tommy denied

that Taylor had given him the money. Id.

       According to Dorsey, Hooper “had some money in his hand from the guy he was talking

to at the corner about some coke.” Id. Hill then said, id.: “‘I want my mother fucking money and

I want it know [sic].’” Id. Dorsey continued: “Thats [sic] when the boy I dont [sic] know pulled

out” a gun, which Dorsey described as “an automatic” that was “blue steel,” and “pointed it at

Hooper and shot twice,” id. at 4, but “the gun did not fire.” Id. at 5.

       Dorsey claimed that Taylor then “ran inside the bar” and was followed quickly by Hill. Id.

at 5. According to Dorsey, “Poopies [sic] buddy, the one with the automatic that didnt [sic] work,

ran in the bar.” Id. Elsewhere in the Dorsey Statement, Dorsey states that Johnson was “Poopies

[sic] buddy.” ECF 137-2 at 6. Dorsey stated that he “went to the front door of the bar,” at which

point he saw Hill “smack Hooper upside the head with [his] gun.” Id. at 5. Dorsey noted that

Taylor was “hollering for Poopie to stop hitting him” and “holding onto some old man on the

floor.” Id.

       Dorsey asserted that he “walked away from the door and went toward the phone booth,”

and then he “heard two shots from the bar . . . .” Id. He claimed that Poopie had a “Long barrel



                                                -22-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 23 of 152



blue steel .38 revolver” inside the bar. Id. at 6. After Dorsey heard the shots, he “ran across Lucille

+ Reisterstown and Tommy and Poopies [sic] buddy were behind [him].” Id. at 5. Further, Dorsey

stated that “Tommy and Poopies [sic] buddy ran up the alley behind Tommy’s house” and came

out through the front door of the house. Id.      An officer named Steve ran up the alley behind

Tommy and Poopie’s buddy. Id. at 6.

        According to Dorsey, Poopie was “staying at 3605 Lucille with a girl named Deborah.”

Id. And, he was asked: “Who is Lamont?” Id. He answered: “Poopies [sic] buddy.” Id. Further,

he stated that Lamont was “staying at 3605 Lucille Ave.” Id. And, he identified Kenny as Kenny

K.A. Id.

        Dorsey indicated that he had last seen Lamont about a week prior. Id. at 7. He stated, id.:

“He told me watch my back because Hoopers [sic] brother Donald was looking for me.”

        Detective Davis prepared a report for Captain MacGillivary on July 29, 1988, concerning

the arrest of Reginald Lewis Dorsey, “aka ‘Buttons,’” as a “participant” in the murder of Taylor.

ECF 138-3 at 8. Det. Davis wrote that based on the information provided by Dorsey, the BPD had

“learned that suspects ‘Poopie’ and ‘Lamont’ had recently been staying at 3622 Lucille Avenue.”

Id.17

        Det. Davis went to 3622 Lucille Avenue on July 29, 1988. There, he met Deborah

McFadden. Id. She provided “Lamont’s” last name as Johnson, and stated that he “did rent a

room in her house but has since moved out to Randallstown.” Id. And, she stated that “‘Poopie’s’

real name is ALVIN HILL, M/B/23.” Id. Further, McFadden stated that Johnson “often used

rental cars, had a contact beeper and sold drugs.” Id. Moreover, McFadden “stated that a person




        17
             Dorsey had provided the address of 3605 Lucille Avenue. See ECF 137-2 at 6.

                                                 -23-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 24 of 152



named ‘Poopie’ did stay with Lamont for a time but also left several months ago.” Id. According

to McFadden, Poopie and Lamont “would leave their ‘guns’ laying around her house.” Id.

       On August 8, 1988,18 Det. Davis took the statement of twenty-year old witness K.A. ECF

138-13 (“K.A. Statement”). The statement is typed and it was signed by K.A., who verified the

statement as “true and accurate.” Id. at 4.

       K.A. indicated that on July 14, 1988, he “was walking down Lucille Ave, past Tommy’s

house and Poopie came out.” Id. at 2. Poopie said that “he was going to put something in Hooper.”

Id. K.A. indicated that Poopie “thought [K.A.] was Hooper.” Id. He noted that on other occasions

Poopie and Butt (i.e., Dorsey) “mistook” K.A. for Hooper. Id. K.A. explained that Poopie was

looking for Hooper because Hooper and Butt “burned Lamont for his drug money.” Id.

       According to K.A., when he “passed Butt’s house, he was out on his steps, and Tommy,

Poopie (“i.e., Hill), Ornie and another guy were at Tommy’s house.” Id. Thereafter, K.A. “walked

down to Reisterstoen [sic] and Lucille and went across to the bar” and “Hooper was in the bar.”

Id. But, upon K.A.’s entrance into the bar, Hooper left. Id. When K.A. left the bar, he “saw

Hooper and Butt standing outside on the side of the bar by the basketball court fussing with Butt.”

Id. Tommy and Ornie walked toward Butt. Id. Butt “grabbed onto Hooper and was holding him

and telling him not to go anywhere.” Id. At that time, K.A. saw Poopie “coming from around the

back of the bar and he walked to Butt and Hooper.” Id. Further, K.A. claimed that Poopie “had a

long barrel black handgun . . . .” Id. K.A. stated that he then told “Poopie that [the gun] was not

necessary and they should talk it out.” Id. K.A. added: “I heard Hooper say he already talked to

Lamont.” Id. And, K.A. added: “Hooper said there go Lamont up there (Lamont was standing




       18
         The Officer Defendants erroneously indicate that the statement was obtained on August
8, 1989. ECF 138-1 at 11.
                                               -24-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 25 of 152



on the corner of Reisterstown & Lucille.)” K.A. was asked “Did anyone else have a gun?” Id. at

3. K.A. answered “No.” Id.

       K.A. claimed that Poopie and Butt tried to get Hooper onto the basketball court. Id. at 2.

K.A. continued, id.: “Hooper broke away from Butt and ran into the bar. Poopie ran to the front

of the bar with Butt. I saw Poopie fire into the bar twice, then I ran. I heard a total of five shots.”

       In addition, K.A. stated that before the shooting, Butt told Poopie to shoot Hooper. Id.

K.A. stated that, at the time of the shooting, Tommy and Ornie “were by the hole in the fence on

the basketball court.” Id. at 3. K.A. then saw “Tommy and Ornie [run] up the alley behind

Lucille.” Id. And, he noted, id.: “I saw Off. Steve driving down Reisterstown Rd. him [sic] and

another police, Off. Steve wasn’t driving. They made a U turn and Off. Steve got out and ran up

the alley behind Lucille Ave.” At the same time, “[t]he Officer in the car drove up Lucille to the

second alley, where Butt lives.” Id. K.A. “walked up Lucille Ave. and Off. Steve stopped [him]”

and told K.A. “to get off the street.” Id.

       Lazenby was deposed in May 2021. ECF 138-15. She claimed that she was with L.S. on

the morning of July 14, 1988, and that the two of them “walked through an alley [towards]

Reisterstown Road,” heading to the Night Owl to buy snacks. ECF 138-15 (Lazenby Dep.) at 6,

7. She did not see anyone before she entered the Night Owl. Id. at 6-7. Moreover, she claimed

that a man named Quinton was not with them. Id. at 6. Lazenby recalled that three people were

arguing in the store, and “one guy pulled a gun out.” Id. at 9.

       Of import, she recalled that three police officers came to her house on July 14, 1988, i.e.,

the date of Taylor’s murder. Id. at 14-15. The officers wanted to speak to Lazenby “about a

homicide that happened” at the “Nite Owl bar.” Id. at 17.       However, Lazenby’s mother refused

to allow them to do so, stating “Hell no” and “Fuck no.” The officers left, without speaking to



                                                 -25-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 26 of 152



Lazenby. Id. Lazenby indicated that she never spoke with any police officers about the crime. Id.

at 13, 18.

        In or about August 1988, after Det. Davis obtained the K.A. Statement, he completed an

Application For Statement Of Charges/Statement Of Probable Cause” with respect to Johnson, for

the murder of Aaron Taylor. See ECF 151-17 (the “Warrant Application”).19 Det. Davis wrote,

id.:

        Several witnesses were located and stated that the victim was accused on the street
        outside the Night Owl Bar. One witness stated the above Defendant, Jerome
        Lamont Johnson, produced a handgun and gave it to another suspect, Alvin Hill,
        who pointed it and shot twice at the victim. The handgun however did not
        discharge. The victim then ran into the Night Owl Bar followed by Jerome Johnson
        and Alvin Hill. Hill produced a second handgun and shot the victim. Both Johnson
        and Hill then fled the scene.

        All witnesses will be available for future court proceedings.

        An arrest warrant was issued for Johnson on August 11, 1988. See ECF 151-2 at 19.

However, Johnson was not arrested until several months later. An arrest warrant was issued for

Hill on September 4, 1988, and he was arrested on the same date. Id. at 18.

                                             2. Photo Arrays

        During the investigation, BPD officers showed individual photos and photo arrays to

various individuals. ECF 151-12 at 2. Colonel (“Col.”) Richard Worley, one of BPD’s Rule

30(b)(6) designees, confirmed that, as a general matter, a photo array is prepared “to show to a

witness.” ECF 151-19 (Worley Dep.) at 4. Plaintiff asserts that “photos were shown to witnesses

without documentation per BPD policy.” ECF 151 at 21. Further, plaintiff posits that BPD officers

“did not formally document identification[s] or document the photos shown.” Id.



        19
        The Warrant Application is dated July 10, 1988. ECF 151-17 at 2. But, Taylor was not
murdered until July 14, 1988.

                                               -26-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 27 of 152



       According to plaintiff, the Homicide File contains two arrays containing Johnson’s

photograph. See ECF 151-2 at 80-82 (photo arrays). The Homicide File contains signed photo

spreads (ECF 151-2 at 67-70), on forms that contain the statement: “A supplementary report must

be prepared for each photographic line-up.” The Homicide File also contains references to

instances when witnesses were presented either with a single photograph of a particular person or

a photo array. See, e.g. ECF 151-1 at 10; ECF 151-2 at 12, 14, 24, 25, 30.

       The Homicide File contains what appears to be an index card that identifies three witnesses:

Jung Kim, Marvin Reid, and Ju Andre Mims. ECF 151-2 at 75. The card does not reflect who

made the entries, but there is a check mark next to each name. Id. The card also indicates that

these witnesses may be able to identify suspects. Id. The card has a handwritten date of “9/6/88”

and is shown below, id.:




       In undated, handwritten notes in the Homicide File, docketed at ECF 138-3 at 30, “KD,”

i.e., Det. Kevin Davis, wrote that on September 16, 1988, he and Det. Barlow showed Marvin Reid

an array of photos, which included the photo of Hill. ECF 138-3 at 30. Reid “identified the photo




                                               -27-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 28 of 152



of Alvin Hill as looking like the suspect he saw shoot the victim.” Id. But, Det. Davis also noted

that Reid “could not be positive in his identification.” Id.

           Davis’s notes also indicate that Kim was shown a “Spread” on September 20, 1988. ECF

151-12 at 2. She made a “positive ID of Hill as shooter.” Id.

           Additionally, according to Davis’s handwritten notes, on July 19, 1988, L.S. identified a

photograph of Tommy Carroll as “Tommy.” ECF 151-12. Similarly, Davis’s July 19 Report

reflects that L.S. identified a photo of the suspect she knows as Tommy. ECF 151-2 at 14. And,

when L.S. testified before the Grand Jury on July 28, 1988, she stated that she was “shown a group

of photographs” by “Detective Boone and Detective Davis[.]” ECF 151-14 at 18. From that group,

she identified Tommy. Id. at 20.

           Also on July 19, 1988, “[L.S]/Dezzerie” identified a photo of “Thomas Carter.” ECF 151-

13 at 4.

           ECF 151-2 at 12 is a typed report prepared by Davis, documenting that on August 1, 1988,

Donzella Carroll identified a photo of Hill as the person she knows as “Poopie.” The same report

reflects that L.S. was shown a photo spread on August 2, 1988, and she “positively identified” the

photo of Hill as the person she knows as Poopie and the individual who shot Taylor. Id.

           A report of Det. Davis dated July 28, 1988 (ECF 151-2 at 24) reflects that two photo

spreads, each with six photos, were shown to two unidentified witnesses with “negative results.”

Each photograph is referenced by a “BPI” number.

           ECF 151-2 at 25 indicates that a photo array was shown to an unidentified witness on

August 2, 1988, “at 1215 hours.” It contained six photographs, again referenced by an assigned

BPI number. The unnamed witness “positively identified photo #1 as the subject that shot and

killed the victim.” Id. And, photo #1 is identified as that of Hill. Id. On September 20, 1988, an



                                                 -28-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 29 of 152



unidentified witness “positively identified photo #289658 as the shooter in this incident.” Id. at

68. And, at ECF 151-12 at 3, it states: “930 AM Neg on both spreads.”

       Plaintiff contends that Donzella Carroll identified Hill based on a photograph that was not

included in the Homicide File. ECF 151 at 21; see also 151-2 at 12. And, ECF 151-2 at 57

specifies that K.A. “ID’s pix of Poopie,” without any further information. Another document

referenced “Pix,” and suggests they were shown to L.S. and “Kim.” Id. at 71. But, according to

plaintiff, there is no formal documentation pertaining to an identification made by Mims. ECF

151 at 14.

       As discussed earlier, when L.S. appeared before the Grand Jury on July 28, 1988, the

prosecutor asked, ECF 151-14 at 18: “[O]n July 12th when you were here in this courthouse, you

were shown a group of photographs . . . by the detectives, Detective Boone and Detective Davis,

is that correct?” L.S. responded “Yes,” and indicated that she picked out a photograph of

“Tommy.” Id. However, Johnson believes that L.S. “mixed up Mr. Johnson and Mr. Carroll.”

ECF 151 at 49 n.22.20       Nevertheless, the Joint Petition states, ECF 151-30 at 6:     “At no

point . . . was a pre-trial identification procedure conducted or confirmatory picture of Jerome

Johnson shown to [L.S.].”

             3. Prosecution Reports, Indictments, and Johnson’s Statement

       On September 8, 1988, Hill, Dorsey, and Tommy were indicted on charges of murder with

malice aforethought (First Count); unlawful use of a handgun in the commission of a felony or a

crime of violence (Second Count); and unlawful carrying of a handgun (Third Count). See ECF




       20
          The reference to July 12, 1988, may derive from the statement in Davis’s July 19 Report
that a photo of Tommy Carroll was taken at the Homicide Unit on July 12, 1988. See ECF 151-2
at 14.

                                              -29-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 30 of 152



151-18 at 2 (Hill Indictment), 6 (Tommy and Dorsey Indictment); see id. at 5, 8 (specifying date

on which each indictment was filed).

       During the pendency of the investigation, Det. Davis prepared “prosecution reports” for

Dorsey and Tommy. According to the deposition testimony of Col. Worley, a Rule 30(b)(6)

designee for the BPD, a prosecution report is a document put together by “the lead detective” for

the purpose of summarizing “the case to hand over to the prosecutor.” ECF 151-19 at 6. The lead

detective aims “to put in all the witnesses” and to “list[ ] the people,” including “the BPD personnel

who have taken statements.” Id.

       With respect to Dorsey and Tommy, Det. Davis listed twelve witnesses, including L.S.,

Kim, Reid, Ofc. Owens, Ofc. McDonald, Mims, Det. Boone, and Det. Davis. ECF 151-2

(Homicide File) at 9-10 (“Dorsey Prosecution Report,” listing witnesses pertaining to Dorsey); id.

at 11 (“Tommy Prosecution Report,” incorporating the substance of the Dorsey Prosecution

Report). The Hill Prosecution Report (id. at 5-6) listed L.S., Kim, Reid, Ofc. Mays, Mims,

McFadden, K.A., Gwendolyn Taylor, Det. Barlow, Det. Boone, and Det. Davis as potential

witnesses.21

       Plaintiff was arrested on October 24, 1988. See id. at 20.22 Following his arrest, Johnson

provided a statement to Det. Davis. Id. at 42-49; see ECF 151-2 (“BPD Homicide File”) at 42-49

(“Johnson Statement”); ECF 137-4 (same). Det. Gerald Goldstein was present at the time. Id. at

42.




       21
            The Court was not provided with the first page of the Hill Prosecution Report.
       22
          At the time of plaintiff’s arrest, he was “incarcerated at BCJ under the name TROY
SMITH for unrelated CDS/Handgun violations.” ECF 151-2 at 4; id. at 20 (specifying that “[o]n
10/24/88 [Johnson], was taken from Balto. City Jail and charged” with the instant offense).

                                                -30-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 31 of 152



       In his Statement, Johnson disclaimed any involvement in Taylor’s murder. He stated that

he was with his friend, Alvin Morgan, at the time. Id.

        In Johnson’s telling, on the night of July 14, 1988, he “was sitting on Miss Irenes [sic]

porch 3512 Lucille Ave.” Id. at 46. “Miss Irene” refers to Irene Morgan, the mother of Alvin

Morgan. See ECF 151-2 at 46; ECF 151-6 (Alvin Morgan Dep.) at 3. At an unspecified time,

Johnson “wanted a soda and started walking toward the Night Owl.” ECF 151-2 at 46. However,

according to Johnson, he “never crossed over Reisterstown Rd.” Id.

       On the way, Johnson “saw Poopie” (i.e., Alvin Hill); “Ornie” (i.e., Ornie Carroll);

“Tommy” (i.e., Thomas Carroll); “Butt” (i.e., Reginald Dorsey); and K.A., who were “cross[ing]

over Reisterstown Rd. and onto the basketball court.” Id.23       Johnson continued, id.: “Alvin

Morgan . . . saw me on the corner and told me to go back up the street. He told me he didn’t want

me to get involved in that[.]” Johnson explained that Tommy and Ornie intended to “beat up”

Taylor because Taylor “burned some Jamaicans and the Jamaicans went to Tommys [sic] house

and threatened to shoot up Tommy’s house.” And, both Poopie and Ornie were dressed “in all

black which meant they were going to fight.” Id.

       Johnson claimed that he and Morgan “went back to Miss Irenes [sic] porch[.]” Id. But,

“just before [Johnson] got to Miss Irenes [sic] porch,” he “heard about 3 or 4 shots . . . .” ECF

151-2 at 46. Then, Johnson saw “Officer Steve” (i.e., Aaron Steve Owens) “chase 2 guys,”

identified by Johnson as Tommy and Ornie, “up the alley behind Tommys [sic] house.” Id. 24; see

also ECF 151-20 (Owens Declaration), ¶ 5 (affirming that “after a shooting at the Nite Owl Tavern


       23
          I generally refer to individuals by their last name. To avoid confusion, however, I shall
refer to Thomas Carroll as “Tommy” and Ornie Carroll as “Ornie.”
       24
         Johnson referred to Owens by his middle name, Steve. See ECF 151-2 at 47; ECF 151-
7 (Johnson Dep.) at 4.

                                               -31-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 32 of 152



. . . [Owens] saw to [sic] black men running away from the scene of the shooting” and he “chased

them to the house at 3610 Lucille Avenue and saw them run inside the back door.”). At the same

time, a police car “drove . . . straight down Lucille.” ECF 151-2 at 47. Johnson saw Tommy and

Ornie “run out of the front of their house across Lucille to another house across the street from

Tommy’s house.” Id.

       Officer Owens then “came out the alley next to Butts [sic] house” and spoke with Johnson.

Id. Johnson, who knew Officer Owens from school, told Officer Owens that he had “heard some

shots.” Id.; see ECF 151-7 (Johnson Dep.) at 4. According to Johnson, he “then went up to Miss

Irenes [sic] porch with Alvin and his brother Maurice.” ECF 151-2 at 47.

       “Later that night, [Johnson] saw Tommy and Ornie at the house they ran into.” Id.

According to Johnson, “Tommy asked him to drive him to his girlfriend Debbie’s house near

Pimlico Rd.” Id. While “[o]n the way, Tommy told [Johnson] that they had Hooper on the side

of the bar. Ornie pulled out a gun pointed it at Hooper but it didn’t shoot.” Id. Taylor then “ran

into the bar” and Hill “chase[d] him in the bar,” armed with a “.38 revolver.” Id. According to

Johnson, Tommy also “said Hooper grabbed a [sic] old man around the neck and Poopie hit Hooper

in the head with the gun and Hooper let the hostage go and Poopie shot him in the chest.” Id. He

added, id.: “Hooper fell down and Poopie stood over him and shot Hooper several times to the

head.” Johnson added that after he “dropped Tommy off” he saw Poopie, and “Poopie told

[Johnson] he shot Hooper because Hooper was reaching for the gun in the bar.” Id. at 47.

       Johnson was asked what led to the shooting. Id. at 8. He said, id.: “Hooper supposed to

have taken some money from some Jamaicans for drugs.            Hooper . . . took the Jamaicans’

money . . . .   The Jamaicans got made and threatened to shoot Tommys [sic] house




                                              -32-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 33 of 152



up . . . . Tommy’s mother went and gave the Jamaicans their money. That’s why Tommy and

Ornie were after Hooper.”

       Johnson concluded his statement, attesting, ECF 151-2 at 48: “Everything I said is true, I

will take a lie detector test, I wasn’t there when Hooper was killed.”

       Plaintiff claims that although the Johnson Statement implicated Ornie Carroll in Taylor’s

murder, Det. Davis did not investigate Ornie as a potential suspect. ECF 151 at 18-19; see ECF

151-11 (Davis Dep.) at 22 (stating that Davis did not investigate Ornie for Taylor’s murder).

Further, he asserts that Det. Davis did not investigate whether Alvin Morgan could provide an alibi

for Johnson. See ECF 151-11 at 20 (stating that he could not recall “writ[ing] any reports

investigating the credibility of Alvin Morgan as an alibi witness” or “doing any investigation about

Alvin Morgan”). And, former BPD Officer Owens averred, ECF 151-20 (Owens Decl.), ⁋ 10: “I

was never contacted by any of the homicide detectives assigned to the investigation of the murder

at the Nite Owl.”

       Johnson was indicted on November 10, 1988. ECF 152-13 at 12.25 On November 23,

1988, Det. Davis drafted a prosecution report pertaining to Johnson. ECF 151-2 at 4 (“Johnson

Prosecution Report”).    It indicated that plaintiff was charged with “1st Degree Murder/Felony

Handgun.” The Johnson Prosecution Report also listed Hill, Dorsey, and Tommy as codefendants

and incorporated the details of their prosecution reports. Id.

       Hill’s case was subsequently consolidated for trial with the cases of Johnson, Dorsey, and

Tommy. See ECF 151-1; ECF 138-14 at 6; see also ECF 152-13 at 12.




       25
         Despite the volume of evidence submitted to the Court, neither side has provided the
Court with a copy of the indictment.

                                                -33-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 34 of 152



                                       B. Pretrial Discovery

        On December 29, 1988, attorney M. Gordon Tayback, a private practioner, was appointed

to represent Johnson. ECF 151-25 at 2-3 (Tayback Appointment Letter).26 The SAO received a

“Demand for Discovery” from Tayback on February 15, 1989. ECF 151-26 (the “Demand

Letter”). Specifically, Tayback sought “information and exhibits [that] may be material to the

preparation of [Johnson’s] defense . . . .” Id. at 2. He asked the SAO to produce, inter alia, “any

material or information which tends to negate the guilt of the Defendant as to the offense charged

or would tend to reduce the punishment therefor, or would be of assistance in impeaching the

credibility of a State witness,” including copies of all statements made by Johnson, codefendants,

or any witnesses whom the State intended to call at trial. Id. at 2-3.

        Det. Davis claimed that as a matter of practice, he made “all the information that’s in [each

homicide file]” available to the prosecutor. ECF 138-5 at 6. But, plaintiff asserts, and defendant

does not dispute, that there is no evidence reflecting a pretrial conference between Det. Davis and

the prosecutor in Johnson’s case. ECF 151 at 21-22. In particular, plaintiff observes that the “Case

Preparation Review List, on which detectives were supposed to document the conference with the

Assistant State’s Attorney is blank.” ECF 151 at 21-22; see ECF 151-2 at 79 (blank Case

Preparation Review List).27

        Albert Phillips, a prosecutor in the State’s Attorney’s Office for Baltimore City at the time,

handled the prosecutions of Johnson, Hill, Dorsey, and Tommy. See ECF 138-14 (Phillips Dep.)

at 6. At his deposition, Phillips testified that he had “[v]ery little” recollection of the trial. Id. at


        26
          Tayback was appointed pursuant to “Article 27A, Section 6 of the [Maryland] Code, and
the rules adopted by the Public Defender . . . .” ECF 151-25 at 2. As noted, Tayback has since
passed away. ECF 138-1 at 25; ECF 151 at 27 n.8.
        27
         It seems unlikely that the prosecutor would have proceeded to trial in a murder case
without conferring with the lead detective.
                                                  -34-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 35 of 152



8. But, he claimed that it was his general practice to “review[ ] the homicide detective’s book and

[make] sure [he] had everything that was in their book.” Id. Further, Phillips asserted, id.: “It was

also my practice to order the full Baltimore City complaint file, complaint—the CC, the criminal

complaint number, that was assigned to the case and I would order all the documents that were

filed under that complaint number in Central Records.” And, it was Phillips’s custom to copy

“[t]he vast majority . . . of documents in the BPD Homicide Unit’s file[.]” Id. at 9-10.

       Moreover, Phillips stated that he maintained an “open file policy.” This meant, said

Phillips, that “members of the Office of the Public Defender or private defense bar were permitted

to inspect, review, and/or copy any document in [his] SAO file, including but not limited to all

police reports and witness statements.” ECF 151-27 (Phillips Dep.) at 3, 4.

                                     C. Trial & Sentencing

       Trial began on March 8, 1989, before a jury, and concluded on March 15, 1989. ECF 152-

13 at 12; ECF 151-29 at 2 (identifying the proceeding as a jury trial).28 Judge Joseph Pines presided

at trial. See ECF 138-2 at 2. The parties have only provided the Court with excerpts of the trial

transcript. The excerpts include the testimony of K.A., L.S., Jung Kim, Marvin Reid, Officer

Mays, and Detective Davis.29

       At trial, Tommy Carroll moved to suppress L.S.’s photo identification of him, on the

ground that Det. Davis used only a single photograph, rather than an array, to secure the

identification. ECF 138-2 at 28-29. The court held an evidentiary hearing, at which Det. Davis



       28
          The CIU Memorandum includes a summary of the witnesses called on each day of trial,
as well as an overview of the testimony of each witness. ECF 152-13 at 13-16. Neither side has
challenged the accuracy of this portion of the CIU Memorandum.
       29
            According to the CIU Memorandum, the medical examiner, Dr. Charles Paul Kokes,
also testified. ECF 152-13 at 13-14.

                                                -35-
         Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 36 of 152



testified that he showed L.S. the photograph “after getting complete descriptions, addresses,

anything that she had on the subjects that [the officers] were looking for.” Id. at 26. Judge Pines

subsequently denied the motion. See ECF 138-2 at 30 (orally denying the suppression motion on

the ground that “the photograph was shown by the police was merely to ascertain whether the

person who was generally described and having been known by the witness over a period of time”).

         K.A. testified on March 9, 1989. ECF 138-2 at 33-87. He stated that he saw Dorsey, Hill,

Johnson, and Taylor at the basketball court near the Night Owl on July 14, 1988, and they “were

just discussing something . . . .” Id. at 44; see also id. at 45. At the time, he had just “come out of

the bar,” i.e., the Night Owl. Id. at 45. K.A. also testified that he had seen a person “coming out

of the hole of the basketball court.” Id. at 50. When asked who the person was, he answered: “I

believe it was Jerome Johnson.” Id.; see also id. at 69.

         K.A. explained that he went to the Night Owl to get food, and when he came out, he saw

the individuals identified above, and he also saw that Hill had a gun behind his back. Id. at 46-47.

ASA Phillips asked: “How far away was [Johnson] when you observed Mr. Hill with the gun?”

Id. K.A. answered: “Next to Mr. Hill.” Id. at 50.

         According to K.A., Butt (i.e., Dorsey) grabbed Taylor by the shirt. Id. at 50-52. Taylor

tried to run, and fled to the bar. Id. at 52. K.A. claimed that Hill subsequently shot Taylor. Id. at

52-53.

         As mentioned, K.A. had said in his pretrial statement to the BPD on August 8, 1988, that

Johnson was “on the corner of Reisterstown & Lucille” when Taylor was confronted on the

basketball court. ECF 138-13 at 2.30 On cross-examination, Tayback vigorously pressed K.A. on


         30
          As noted earlier, in his pretrial statement, K.A. also provided information about a drug
debt that Taylor owed to Johnson. At trial, however, the State did not elicit testimony about the
alleged debt.

                                                 -36-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 37 of 152



the discrepancy. ECF 138-2 at 55-87. K.A. responded, in essence, by indicating that his prior

statement meant only to suggest that he had previously noticed Johnson standing at the intersection

but Johnson could have walked down to the basketball court when K.A. was inside the Night Owl.

Id. at 63.

        In particular, Tayback asked K.A.: “Now, today in court, you have told the ladies and

gentlemen of the jury that you saw my client, Jerome Lamont Johnson, with Alvin Hill and

Reginald Dorsey at the basketball court near the Nite Owl Bar?” Id. K.A. responded: “Now, if

you remember, when I got down there, when I walked past the corner, Lamont was standing on

the corner. Who is to say he didn’t walk behind me? He is on the corner, when I got back up

there, he wasn’t there, and there was another person out at this shooting.” Id.

        K.A. then used a diagram to indicate the location of Johnson, Hill, Thomas Carroll, and

Taylor at the time of the shooting. Tayback said: “You have indicated to the ladies and gentlemen

of the jury that the place you saw Jerome Lamont Johnson was on one corner of Lucille Avenue,

which is Reisterstown Road.” K.A. answered: “That’s right.” Id. ECF 138-2 at 63.

        Nevertheless, K.A. was steadfast in his claim that, when he came out of the Night Owl, he

saw Taylor, Hill, Johnson, and Dorsey. Id. at 65. Tayback asked, id.: “So [Johnson] is no longer

on the corner of Lucille and Reisterstown?” K.A. answered, id.: “No, he is not.” He also recalled

that there was “fussing” outside the bar. Id. at 66. And, he heard Hooper state, “I already talked

that out. I already talked to Lamont.” Id. The court sustained an objection on hearsay grounds.

But, K.A. then said, without objection or a motion to strike: “That is what I heard.” Id.

        Tayback continued, id. at 67: “You say some people there, Hooper, Butt and Alvin Hill,

is that what you are saying?” K.A. responded, id.: “And Jerome Johnson.” Tayback then asked,

id.: “Now, you are telling us that you also saw Jerome Johnson there?” K.A. answered, id.: “Yes.”



                                               -37-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 38 of 152



       K.A. explained that when Det. Davis questioned him on August 8, 1988, he said that when

he was coming from the Night Owl, he saw “Lamont on the corner.” Id. at 73. The following

exchange ensued, id. at 73-74,:

       Q:     Now, which is true? You said on August 8th, 1988, what you were saying
              is true and accurate. You are now stating under oath something entirely
              different, which is under oath. You have told a lie one place.

       PHILLIPS:       Objection.

       COURT:          Objection sustained. Sustained.

       Q:     You have told two different things.

       PHILLIPS:       Objection.

       COURT:          Counsel, ask him questions.

       Q:     Do you agree, [K.A.], when you say Lamont was standing on the corner of
              Reisterstown and Lucille at the time you are talking about, not before, but
              right at this time when the other people were there and the handgun is
              produced, that is different than what you have said in court today?

       A:     When Lamont was standing on the corner and when Alvin Hill and Reginald
              Dorsey was discussing, Lamont walked over to them. The time I said that,
              ain’t necessary I’m standing there, I am looking there at them and I do see
              Jerome Johnson right there.

       Q:     Let’s go back then. [reading K.A.’s prior Statement] I told Poopie that that
              was not necessary, and they should talk it out.

       A:     Right.

       Q:     So, you like that part, that part is accurate?

       A:     That part is what I said.

       Q:     Okay. Right after that, in the very next sentence is when you said that at
              that time, at that point, Lamont was standing on the corner of Reisterstown
              and Lucille.

       A:     I don’t recall that.




                                                -38-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 39 of 152



        K.A. also confirmed that Hooper broke away from Butt, ran into the bar, Poopie and Butt

ran to the bar, and Poopie fired the gun. Id. at 74-75. K.A. said, “Yes, gunshots were going off.

You hear gunshots, you don’t stand around to find out where the bullets are going. One gunshot

is enough for me, so I got out.” Id. at 75.

        In subsequent questioning by “Ms. Phillips,” K.A. was asked if he saw Hill holding a gun

that misfired. Id. at 99. K.A. responded, id.: “I don’t remember.” K.A. heard “a girl screaming.”

Id. at 94. 31

        Notably, K.A. testified that he did not recall Tommy or Orni being at the scene. Id. at 76,

77, 79. But, he did recall the others he had named. Id. at 76. Tayback asked: “Who had the gun?”

Id. K.A. answered: “Alvin Hill.” Id. Tayback then asked: “Did you see anybody else have any

other guns?” Id. K.A. answered: “Not that I know of.” Id.

        Again, Tayback reviewed K.A.’s claim as to who he saw at the time. Id. at 76. K.A.

reiterated that when he came out of the Night Owl, he saw Hill with a gun behind his back, as well

as Johnson, Dorsey, and Taylor. Id.

        L.S. testified at trial on March 13, 1989. ECF 137-23 at 2. She stated that she went to the

Night Owl on July 14, 1988, along with her friend, “Tanya Lasenben [sic]”, and her “mother’s

friend,” a man named “Quinton” whose last name she did not know. Id. at 29-30; see id. at 3; ECF

152-10 at 2 (indicating the correct spelling of Tanya’s surname as “Lazenby”). L.S. indicated that

both Lazenby and Quinton “would have seen what [L.S.] saw.” ECF 137-23 at 30. Further, L.S.

testified that while on her way to the Night Owl she saw Hill talking to her cousin. Id. at 3-4. She

made in-court identifications of Hill, Dorsey, Tommy, and Johnson, along with “another boy,” and




        31
             Presumably, L.S. was the girl who was screaming.
                                                -39-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 40 of 152



said that each was standing in front of the Night Owl at the time Taylor was confronted. Id. at 4-

7.

        According to L.S., Hill pulled out a gun from behind his back. ECF 151-31 at 3-4; see also

137-23 at 7. L.S. recalled that Hill “shot it twice,” as it was pointed “toward the ground,” and

“nothing happen[ed].” ECF 151-31 at 4-5. She claimed that when the gun misfired Johnson

“handed [Hill] another gun.” Id. at 5. Specifically, L.S. claimed that Johnson “reach[ed] down

into his pants” and pulled out a gun, which he handed to Hill. Id. at 6. Hill “grabbed” the gun and

then Hill chased Taylor into the Night Owl. Id. at 7-9. In other words, Johnson handed Hill a gun

only after the first gun misfired.

        However, according to the July 19 Report, L.S. had said that Johnson handed Hill a gun

that misfired. See ECF 152-2 at 13. After that gun misfired, L.S. and Taylor ran into the Night

Owl Bar, and all five suspects followed. Id. The July 19 Report also stated that L.S. “then saw

Poopie holding a large black handgun.” Id. In other words, the gun provided by Johnson was the

first gun, and it misfired.

        Moreover, as noted, in L.S.’s Grand Jury testimony on July 28, 1988 (ECF 143), L.S. said

that Johnson handed a gun to Hill and the victim ran into the store. Id. at 3, 4. Hill clicked the

gun twice but “it wouldn’t shoot.” Id.at 4. Then, Hill used a “bigger” gun to shoot the victim. Id.

at 5. Thus, the Grand Jury account was consistent with the July 19 Report in this respect: L.S. said

Johnson provided the first gun, and it misfired.

        Tayback cross-examined L.S. at length about the alleged discrepancies between her Grand

Jury testimony and her trial testimony. ECF 151-31 at 9-59; see also ECF 137-23 at 27-77.

Tayback did not pose questions in connection with Officer Jones’s report. Nor did he question

L.S. about the content of the July 19 Report. Johnson asserts that because Tayback did not use



                                               -40-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 41 of 152



these items to cross-examine L.S. at trial, it indicates that Tayback was unaware of the Jones

Report and the July 19 Report. ECF 151 at 36.

       At the close of cross-examination, Tayback indicated that he would ask for a “missing

witness instruction,” because he had not previously heard of a witness named Lazenby. Id. at 79.

Although it is not made clear by the parties’ exhibits, it appears that Judge Pines did not provide a

jury instruction to this effect. See ECF 152-19 at 14 (noting that, on appeal, Johnson claimed the

trial court erred by failing to give a missing witness instruction).32

       Plaintiff notes (ECF 151 at 24) that, until trial, Phillips was also unaware that L.S. went to

the Night Owl with Lazenby and Quinton. See 151-29 at 3 (Phillips confirming on March 15,

1989, that “Tanya and Quentin [sic] were first made known to [him] during the course of the day

before trial ended, [i.e.] the day before yesterday.”).33

         Det. Davis testified on March 14, 1989. See ECF 151-33 at 2-8. He did not reference

L.S.’s statement to Jones on July 14, 1988. But, he indicated that he interviewed L.S. on July 19,

1988. ECF 151 at 23; ECF 151-33 at 3. Det. Davis recalled, erroneously, that L.S. appeared before

the Grand Jury on that date. ECF 151-33 at 3. He also indicated that, to his knowledge, L.S. did

not mention any “other individuals who had gone with her to the Nite Owl Tavern[.]” ECF 151-

33 at 7. Further, Det. Davis testified that he met with L.S. “[n]umerous times” in the weeks leading



       32
         ECF 152-19 contains what plaintiff describes as “Front Matter of Binder Nancy Forster
Presented to the SAO.” It pertains to the material that Ms. Forster provided to the SAO in an effort
to prompt a reinvestigation of plaintiff’s convictions. See ECF 151-1 at 16 (describing Forster’s
meeting with CIU).
       33
          As noted earlier, at L.S.’s Grand Jury appearance, she testified that her friend and her
mother’s friend were at her home. ECF 151-14 at 6. She was never asked if anyone went with
her to the Night Owl. The police attempted to interview L.S.’s friend, Tanya Lazenby, but
Lazenby’s mother would not permit the police to do so. ECF 138-15 at 17. It is not apparent as
to how the police obtained Lazenby’s name.

                                                 -41-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 42 of 152



up to trial, to make arrangements for court but not about her testimony. Id. at 5. On cross-

examination, Tayback elicited from Davis that he could not “reconcile the information [he]

received” from L.S. and K.A. as to whether Johnson was present at the Night Owl. Id. at 6, 7. He

also said that he was never able to locate Orni Carroll. Id. at 7.

       No defense was presented. ECF 152-11 at 3; ECF 151 at 16. On March 14, 1989, the jury

found Johnson, Hill, and Dorsey guilty of murder in the first degree and use of a handgun in the

commission of a crime of violence. ECF 152-13 at 12; see also ECF 151-29 at 5-6 (excerpt of

trial testimony of foreman reading verdicts). Tommy was acquitted of all charges. ECF 152-13

at 12; see ECF 151-29 at 6.

       On June 2, 1989, Tayback moved for a new trial. ECF 152-13 at 12. Judge Pines denied

the motion on the same date. Id. at 13.

       Sentencing was held on June 2, 1989. ECF 151-15 at 2 (specifying date). At sentencing,

Johnson asserted his innocence, stating, id. at 5: “I would like to tell everything that happened that

night. I’m an innocent man. And I was standing on the corner of Lucille and Reisterstown Road

with Alvin Morgan. . . . . .”

       As mentioned, Judge Pines sentenced Johnson to life in prison with respect to the offense

of murder in the first degree, and to a consecutive term of twenty years’ imprisonment for the

handgun offense. Id. at 6; see ECF 152-13 at 13 (specifying sentence). Through counsel, Johnson

noted an appeal. ECF 152-11. He argued, inter alia, that he was denied a fair trial because Phillips

told the jury in his opening argument that the shooting was drug-related, and also because the trial

court erred by refusing to instruct the jury on a missing witness. ECF 152-19 at 14.

       On March 5, 1990, the Maryland Court of Special Appeals affirmed the convictions in an

unpublished opinion. ECF 152-19 at 14; see ECF 152-11. Johnson’s petition for a writ of



                                                -42-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 43 of 152



certiorari to the Maryland Court of Appeals was denied on June 29, 1990. ECF 152-19 at 14; see

ECF 152-11.

                                D. Post-Conviction Proceedings

       During his incarceration, Johnson lodged several collateral challenges to his convictions

and sentences. See ECF 152-19 at 14-23 (summarizing the array of post-conviction filings

advanced by Johnson); ECF 137-9 at 3-9 (same).

       On September 23, 1992, in the Circuit Court for Baltimore City, Johnson, through counsel,

Alan L. Cohen, filed a petition for writ of habeas corpus (the “1992 Petition”). Johnson asserted

twenty grounds for relief. ECF 152-19 at 14; see ECF 152-11 at 2.

       Judge Hilary Caplan held a hearing on May 4, 1993. ECF 152-15 at 2. McFadden testified

at the hearing. Id. at 3-13. She stated that she was with Johnson and Morgan during the early

morning hours of July 14, 1988. See id. at 5-7. According to McFadden, she “was sitting on the

steps” while Johnson “was standing across the street talking to someone,” and she “found out later”

that the person “was [Morgan].” Id. at 6. McFadden clarified that “when [she] heard the shots,

[she] saw Mr. Johnson and Mr. Morgan across the street from [her.]” ECF 152-15 at 6.34

       Judge Caplan issued a “Memorandum Decision and Order” on July 14, 1993, denying the

1992 Petition. ECF 152-11 at 1 (underlining in original). Judge Caplan observed, id. at 8: “The

State’s case against Petitioner, by objective standards, was not particularly strong.” Nonetheless,

Judge Caplan rejected Johnson’s various challenges. Id. at 11.




       34
           McFadden initially testified that Johnson had been talking to Hill, but later corrected
herself. See ECF 152-15 at 6.

                                               -43-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 44 of 152



       On April 24, 1997, Johnson, through new counsel, George Epstein, filed a post-conviction

petition in the Circuit Court for Baltimore City. ECF 152-1 (the “1997 Petition”).35 Of import

here, the 1997 Petition advised that plaintiff had obtained newly discovered evidence that showed

his innocence. Id. at 3, ⁋ 7. In particular, plaintiff directed the circuit court’s attention to sworn

affidavits from Alvin Morgan (id. at 9-10) and an individual named Paul Burton. Id. at 7-8.

According to the 1997 Petition, these affidavits established Johnson’s innocence and warranted

his release from prison. Id. at 4-6, ⁋⁋ 8-10.

       In the Morgan Affidavit, dated April 22, 1997 (ECF 152-1 at 9-10), Morgan asserted, id.

at 9, ⁋ 3: “During the early morning hours of July 14, 1988, I encountered Jerome Johnson at the

corner of Lucille Avenue and Reisterstown Road.” Morgan averred that he and Johnson spoke

“for approximately 15 or 20 minutes.” Id. Morgan continued, id.:

       Suddenly, a young man whom I did not know ran across Reisterstown Road,
       running slowly as if he were tired. He was followed by two or more young men I
       did not know, who appeared to be chasing him. Shortly afterward, four or five
       more young people I did not know trotted across Reisterstown Road. Mr. Johnson
       greeted them. These people all ran in the direction of a bar at the corner of
       Woodland Avenue and Reisterstown Road. They turned the corner onto Woodland
       Avenue and disappeared from sight.

       Morgan maintained: “Moments later, I heard four or five popping sounds.” ECF 152-1 at

9, ⁋ 4. Johnson “wanted to go see what was going on,” but Morgan “advised against it, and [they]

remained where [they] were.” Id. Thereafter, a “small crowd of people . . . came from Woodland

Avenue toward us.” Id.

       Additionally, Morgan said, id.: “An unmarked police car pulled up and stopped and a

plainclothes police officer jumped out. The crowd dispersed and several of its members ran down



       35
          Epstein passed away in 2002. See Obituaries, Balt. Sun (Jan. 11, 2002),
https://www.baltimoresun.com/news/bs-xpm-2002-01-11-0201110403- story.html

                                                -44-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 45 of 152



an alley, with the police officer chasing them.” Id. Morgan added: “[T]he plainclothes police

officer who had run down the alley emerged . . . He came over to speak to us.” Id. at 10, ⁋ 5.

Johnson addressed the officer as Steve, id., and the officer “asked if [they] had heard the shots just

now.” Id. Morgan stated that “[a] girl nearby said they were firecrackers.” Id.

       After talking with the officer, Morgan and Johnson “left and went to [Morgan’s] mother’s

house at 3512 Lucille Avenue.” Id. ⁋ 6. Morgan said that “an ambulance went by, and shortly

afterward someone walking by told [them] that somebody had been killed.” Id.

       Morgan averred, id. ⁋ 7: “I did not testify at Mr. Johnson’s trial because I had outstanding

arrest warrants at the time and did not want to be arrested.”

       In an Affidavit dated April 15, 1997, Burton averred, in part, ECF 152-1 at 7-8, ⁋⁋ 2-7:

               2.      I am presently serving a sentence of 40 years in the Maryland
       Division of Corrections, dating from June 16, 1994. At the present time, I am
       incarcerated in the Maryland House of Corrections Annex (hereinafter “Annex”) in
       Jessup, Maryland.

               3.      Sometime after midnight on July 14, 1988, the automobile I was
       operating was involved in a minor traffic accident with another vehicle at the
       intersection of Reisterstown Road and Woodland Avenue.36

               4.       While I was standing outside of my automobile at that location, I
       observed a friend of mine named “Aaron”, whose last name I did not know but who
       I also knew as “Hooper”, involved in an argument on the nearby basketball court
       with four or five men and a female I did not know. I heard him say something to
       the effect of, “It doesn’t have to be like that.”

               5.      I walked over to Aaron and asked what was going on. One of the
       men he was arguing with, a light-skinned man I heard Aaron call “Poopie”, said
       “This motherfucker wants some trouble.” That man then pulled out a handgun and
       pointed it at Aaron. Aaron hit the gun out of his hand, and I picked it up. “Poopie”
       said “Give me my shit.” Because I did not know if the gun was loaded or operable
       or if any of the other people in the group was armed, I handed the gun back to him.
       Aaron then started running and went through a hole in the fence, with the men
       chasing him. I did not see what happened after that, but I heard the following day
       that Aaron had been shot.


       36
            Woodland Avenue is approximately one block away from the Night Owl.
                                                -45-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 46 of 152




              6.      At the time of this incident, I did not know Jerome Johnson. I met
       him while we were both serving our sentences at the Annex. Mr. Johnson was not
       present during this incident described above.

              7.      When I learned that Mr. Johnson had been convicted in connection
       with the incident described above, I felt bad, because I knew that he was not
       involved, and that in fact I was the person who had handed “Poopie” a gun (which
       he had dropped) during the incident. That is why I told him the truth about the
       incident. Prior to my meeting him at the Annex, we did not know each other or
       about each other, and there was no way he could have learned about my role in the
       incident or produced me as a witness at his trial.

       Critically, both sides agree that the information contained within the Burton Affidavit is

false because Burton was incarcerated at the time of Taylor’s murder and thus was not at the scene.

ECF 137 at 6; ECF 152 at 9-15. Indeed, prison records reflect that Burton was incarcerated at the

Maryland Correctional Institute—Hagerstown between March 1987 and April 1989. See ECF

137-6 (Burton’s MCI records); see also ECF 137-1 (Johnson Dep.) at 62 (stating that he now

understood that Burton was incarcerated in 1988). ECF 137-7 (Burton Dep.) at 16 (confirming

that he was in prison on the night of Taylor’s murder). The parties dispute, however, the means

by which Johnson obtained the Burton Affidavit and whether and when he knew of the falsity of

the content. This matter is discussed, infra.

       On October 8, 1997, Judge David Mitchell denied the 1997 Petition, without a hearing.

See ECF 137-11 at 20-23. He found that Johnson had failed to “state the grounds he requested

relief on for both of his post-conviction hearings, which is required under [Maryland] Rule 15-

302(b)(2).” Id. at 22.

       Thereafter, Johnson obtained a sworn affidavit from Alvin Hill, ECF 137-9 at 19-20 (“Hill

Affidavit”), which was signed on May 23, 2000. Id. at 20. In relevant part, Hill stated, id. at 19,

⁋ 3:




                                                -46-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 47 of 152



                Some time after midnight around 12:30 a.m. Me and a couple of guys was
       talking to the victim in this case on the basket ball [sic] Court. I then observed a
       guy who I did not know walk over towards us and he said, something to Aaron, like
       what’s happening. I told the guy to mind his business because he does not have
       any thing to do with this. Then I pulled the gun out and pointed it at Aaron, and
       then Aaron knock [sic] the gun out of my hand. Then the guy who I have came
       [sic] to learn the name of was Paul Burton, pick up the gun. Then I told him to give
       me my fucking gun back . . . . Then Paul Burton gave me the gun back. Then
       Aaron, ran around the corner. Then we chased him. Mr. Johnson, was not present
       during the incident described above. I wanted to testify at trial and Mr. Johnson’s
       Post Conviction hearing but I was advised by my Counselor not to testify at no!
       [sic] time in this case. This is why I am coming forth now with this statement
       because I know Mr. Johnson’s innocence and that he had nothing to do with this
       crime. As much as I may want to help him at trial. I had to listen to the advice of
       my Counselor because at that time. The Counselor is the one who is controlling
       the situation . . . .

       The parties agree that the Hill Affidavit contains statements that are untrue. ECF 137 at 7-

8; ECF 152 at 15. In particular, the Hill Affidavit falsely states that Burton was present at the

crime scene and handed a gun to Hill. ECF 137-9 at 19.

       In December 1993, Johnson filed a Writ of Habeas Corpus in federal court, MJG-93-4098,

pursuant to 28 U.S.C. § 2244. It is case MJG-93-4098. ECF 137-11 at 41. Judge Marvin J. Garbis

denied the petition on April 5, 1995. Id. 37

       Thereafter, on May 23, 2000, Johnson, then self-represented, sought leave from the Fourth

Circuit to file a successive habeas petition. ECF 137-11 at 3-7. Johnson included a proposed

petition for habeas corpus. Id. at 40-46 (the “2000 Petition”). He appended to his submission a

copy of the Burton Affidavit, the Morgan Affidavit, and the Hill Affidavit. Id. at 10, 14. His

submission was filed under penalty of perjury. Id. at 46. The Fourth Circuit denied the request by

Order of June 26, 2000. Id. at 47.




       37
        The case was initially assigned to Judge Herbert Murray. It was reassigned to Judge
Marvin Garbis on October 28, 1994. See Docket.

                                               -47-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 48 of 152



       On April 14, 2011, plaintiff, through a new lawyer, Gary Bair, filed a Petition for Writ of

Actual Innocence in the Circuit Court for Baltimore City. ECF 137-9 (the “2011 Petition”).38 The

Hill Affidavit, the Burton Affidavit, and the Morgan Affidavit were appended to the 2011 Petition.

See ECF 151-9 at 21-26. The 2011 Petition was grounded on the claim that the Hill Affidavit

corroborated the Burton Affidavit and showed that Johnson was not at the scene of the crime at

the time of Taylor’s murder. See ECF 137-9 at 12-15.

       Initially, the circuit court denied the 2011 Petition without a hearing. Id. at 8.39 But, on

June 5, 2014, the Maryland Court of Special Appeals vacated the order of the circuit court and

remanded the 2011 Petition to the circuit court for an evidentiary hearing. See ECF 137-12

(unreported opinion of the Maryland Court of Special Appeals) at 2. The mandate issued on July

7, 2014. Id.

       On May 18, 2015, Johnson, through new counsel, Nancy Forster, requested a hearing

before the Circuit Court for Baltimore City with respect to the 2011 Petition. ECF 137-15. It was

rescheduled several times in the following months for unspecified reasons. ECF 137 at 10. Then,

on June 30, 2016, Forster filed writs to secure the appearance of Hill and Burton, who were both

incarcerated, for a hearing scheduled on July 26, 2016. See ECF 137-18.

       The hearing was subsequently continued through December 6, 2016. On that date, plaintiff

withdrew the 2011 Petition. See ECF 137-13 (“Motion To Withdraw Petition Without Prejudice”).

Forster indicated that she sought to withdraw the 2011 Petition in light of the fact that she had been


       38
          Bair later became a judge of the Circuit Court for Montgomery County. He served in
that capacity from January 2012 until his retirement in November 2020. See Former Judges,
MONTGOMERY                        CTY.                       CIRCUIT                 COURT,
https://msa.maryland.gov/msa/mdmanual/31cc/former/html/msa11501.html (last accessed Aug.
15, 2022).
       39
            To my knowledge, the record does not contain the name of the circuit court judge.

                                                -48-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 49 of 152



“made aware of more information that requires further investigation.” Id. ⁋ 4. Thus, “out of

fairness to all parties,” Forster asked the court to permit Johnson to “withdraw the pending Petition

for Writ of Actual Innocence without prejudice so that undersigned’s investigation into all matters

pertinent to the petition may be completed before refiling the petition and asking for a hearing

date.” Id. ⁋ 5.

        In the interim, on an unspecified date prior to July 2012, while Johnson was reviewing his

parole file, Johnson claims to have discovered the Jones Report. ECF 151-7 at 6-7. Based on the

information contained within the Jones Report, Johnson, then represented by Rachel Kamins, filed

another Petition for Writ of Actual Innocence in the Circuit Court for Baltimore City (“2012

Petition”). He argued that the failure to disclose the Jones Report amounted to a violation of Brady

v. Maryland, 373 U.S. 83 (1963). See ECF 152-19 at 18; see also ECF 152-7 (excerpts of the 2012

Petition).

        On December 4, 2012, Baltimore City Circuit Court Judge M. Brooke Murdock held a

hearing regarding the 2012 Petition. At the hearing, Tayback, Johnson’s trial attorney, “testified

that he did not remember seeing or receiving the [Jones Report] before Johnson’s trial.” ECF 137-

16 (Maryland Court of Special Appeals Opinion) at 8; see also ECF 151-36 (Tayback testimony,

Dec. 4, 2012) at 4-6. Tayback said, ECF 151-36 at 6: “I think it’s clear that had the document

been produced, I would have used it because I think that document is contrary to the State’s theory

of the case.” He explained, id.: “I think the State’s theory of the case was that Mr. Johnson was

one of the others, rather than the actual perpetrator.” As the Maryland Court of Special Appeals

put it, Tayback stated that he would have used the Jones Report “‘for impeachment purposes,” as




                                                -49-
          Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 50 of 152



that was “exactly what its value would have been to [him] as the Defense Attorney.” ECF 137-16

at 8.40

          Notably, Tayback acknowledged that the Jones Report was “not necessarily a document

that will be produced to the Defense Attorney. That is the work product” of the police officer.

ECF 151-36 at 5. However, he claimed that if it is potentially exculpatory, then “the State could

produce it . . . .” Id.41

          Phillips, the prosecutor, also testified at the hearing. He said that he “can’t recall” whether

the Jones Report was in the Homicide File, but “if it was in the homicide file, [he] knew about it,

[he] had copies of it.” ECF 151-36 at 8. However, he added that handwritten notes of a detective

are “not in the file.” Id. at 9.

          Judge Murdock denied the 2012 Petition on January 17, 2013.                 See ECF 137-15

(Memorandum Opinion and Order).             She explained, id. at 7: “Petitioner’s proffered newly

discovered evidence is not exculpatory . . . as it does not tend to prove or disprove Petitioner’s

guilt or innocence.” Referring to L.S.’s statement as set forth in the Jones Report, Judge Murdock




          One of plaintiff’s experts, Brian J. Murphy, Esquire, described Mr. Tayback as an
          40

experienced and “talented trial lawyer” who was “thorough in his pretrial preparation.” ECF 151-
32 (Murphy Report) at 4. He opined that Tayback “would have used the July 14, 1988 report and
the July 19, 1988 [Report] at trial, if he had the reports.” Id. at 7. The defense has not challenged
the admissibility of such opinion testimony.

        The Court takes judicial notice of the fact that Mr. Tayback was convicted in federal court,
Case AMD-99-0150, on tax related charges, and received a probationary sentence. As a result of
the conviction, he was suspended in 2000 from the practice of law in federal court, and was
reinstated in 2005. See 00-MC-00056. He was  REDACTED
                                                 also indefinitely suspended by the Maryland Court
of Appeals. See Att'y Grievance Comm'n of Maryland v. Tayback, 378 Md. 578, 837 A.2d 158
(2003).

           This Court was provided only with an excerpt of Tayback’s testimony at the hearing.
          41

See ECF 151-36. The excerpt does not include any discussion of the July 19 Report, or a claim
that it was not produced.

                                                   -50-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 51 of 152



reasoned that it was “materially consistent with the witness’ trial testimony.” Id. She reasoned

that L.S.’s statement did not “state that Petitioner was not present at the scene,” and L.S. did not

“provide the name of any suspect. . . .” Id. In other words, she did not identify some assailants

while omitting Johnson; no one was named. Thus, Judge Murdock found, id.: “[T]he statement

could be used to point out [L.S.’s] lack of detail, but not any inconsistency on the actual merits.”

       Further, Judge Murdock observed that L.S.’s trial testimony was inconsistent with her

Grand Jury testimony. ECF 137-15 at 8. And, Judge Murdock noted that “Petitioner’s counsel

rigorously exposed the inconsistencies . . . .” Id. Given that L.S.’s “brief statement on the night

of the incident would only further add possible impeachment of the eyewitness,” Judge Murdock

stated that the court could not “conclude that the addition of the witness’ oral statement on the

night of the incident creates a substantial or significant possibility that Petitioner’s trial would not

have resulted in a conviction.” Id. at 8-9.

       Johnson noted an appeal. See ECF 152-19; ECF 137-14 (Forster’s “Entry of Appearance

on Appeal,” dated August 6, 2013). On June 17, 2014, the Maryland Court of Special Appeals

affirmed Judge Murdock’s decision. ECF 137-16 (unreported decision of the Maryland Court of

Special Appeals).

       Of relevance, the State’s intermediate appellate court determined that “there is nothing in

the [Jones Report] that shows that L.S. ‘testified falsely on the core merits of the case under

review.’” Id. at 12 (quoting Jackson v. State, 164 Md. App. 697, 698, 884 A.2d 694, 704 (2014)).

The court reasoned, ECF 137-16 at 11: “Although there were minor inconsistencies between the

[Jones Report] and [L.S.]’s trial testimony, the circuit court was correct that the [Jones Report]

was not material.” Further, the appellate court said, id. at 13: “Even if the statements in the report

were ‘material,’ the report’s possible impact on the outcome of the trial would have been minimal.”



                                                 -51-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 52 of 152



The court explained: “There is nothing in the [Jones Report] that suggests it would have been more

persuasive than defense counsel’s cross-examination of L.S..” Id.

       Johnson sought certiorari to the Maryland Court of Appeals on July 30, 2014. ECF 152-

19 at 19. The petition was denied on September 22, 2014. Id.

                                  E. Investigation & Release

       Ms. Forster met with Assistant State’s Attorney Andrea Mason on August 29, 2017, as

well as Lauren Lipscomb, who served as the Division Chief of the Conviction Integrity Unit. ECF

151-1 at 16. 42

       At the meeting, Forster provided “a binder of information” that she believed established

Johnson’s innocence. Id.; see ECF 152-19. She provided the CIU with information pertaining to

McFadden’s testimony at a post-conviction hearing, stating that “she saw Johnson across Lucille

when shots rang out”; the Morgan Affidavit, stating that Morgan “was with Johnson on the corner

of Lucille at the time of the murder”; Lazenby’s testimony that she “was with L.S. on the night of

the murder and her version of the events match[ing] L.S.’s initial statement made to PO Jones the

night of the murder.” ECF 151-1 at 16-17. Notably, Forster presented the CIU with a copy of the

Burton Affidavit. ECF 137-20 at 5-6.

       Thereafter, the SAO began gathering and reviewing evidence, as well as the SAO file, the

BPD file, and the transcripts. ECF 151-1 at 17. Between March 2018 and May 2018, the CIU

conducted interviews with several witnesses including Officer Owens, Morgan, L.S., Lazenby,




       42
         At Lipscomb’s deposition (ECF 137-19), defense counsel reviewed the contents of the
SAO Memorandum. Id. at 7. Defense counsel erroneously stated that Forster met with the CIU
on October 29, 2017. Id.

                                              -52-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 53 of 152



Tommy Carroll, and Dorsey. Id. at 21-26.43 K.A. could not be located, and several others had

since died. Id. at 26. The man known as Quinton could not be identified. Id.

           After the CIU’s reinvestigation, the CIU submitted a memorandum to Baltimore City

State’s Attorney Marilyn Mosby. ECF 151-1 (the “CIU Memorandum”). The CIU Memorandum

concluded that Johnson did not participate in Taylor’s murder. Id. at 2.

           The CIU Memorandum is lengthy, and I need not review it here in detail. Dorsey insisted

Johnson was not present for the murder. Id. at 22. And, as part of the CIU’s reinvestigation,

Lipscomb and Detective Al Marcus conducted a recorded interview of L.S. on May 16, 2018, from

3:25 p.m. to 3:41 p.m. The audio recording of the interview is docketed at ECF 138-20.44

           The CIU Memorandum described L.S. as a “current drug user” who was difficult to find.

ECF 151-1 at 25. However, the audio recording reflects that she was quite coherent. See ECF 138-

20. She also recalled that after the murder, she was in “shock.” Notably, L.S. was unequivocal in

her assertion that Johnson was involved in the murder of her cousin.

           In the interview, L.S. claimed the shooting happened “late” at around 11 or 12 at night.

ECF 138-20. Taylor had been at L.S.’s house on Virginia Avenue, and left to go to the Night Owl,

stating that he was going to “see these guys to give them they [sic] money.” Id. According to

L.S., Johnson, Hill, and Dorsey sold cocaine on Lucille and Reisterstown, and Taylor worked for

them. Id. Notably, she said that she knew Johnson, Hill, and Dorsey, claiming that all of them

frequently came to her mother’s house. Id.



           43
                On March 19, 2018, the CIU “[l]ooped in Mid Atlantic Innocence Project[.]” ECF 151-
1 at 22.
           44
          The Court was not provided with a transcript of the interview. Therefore, the quotes
from the interview that appear in this Memorandum Opinion derive from my attempts to capture
the content. They may not be completely accurate.

                                                  -53-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 54 of 152



       L.S. recalled that she also went to the Night Owl that night, along with Tanya Lazenby and

another man, whose name she could not recall. She saw “Buttons, Lamont, and Poopie” and said:

“They was surrounding my cousin.” Id. She heard Taylor “fussing” with them, and Taylor said:

“I got y’all money. I got y’all money. I got y’all fifty dollars.” Id. According to L.S., at that point

Lazenby went to hid under a trash can.

       In the store, Taylor grabbed a customer to use as a shield. Id. She recalled Taylor grabbing

the customer and saying, “they gonna kill me. They gonna kill me.” Id. L.S. stated she did not

know the name of the customer, but he never came forward in the investigation. Id.

       Further, L.S. stated: “That’s when Poopie came in.” Id. The customer broke away from

Taylor, and Taylor tried to run. But, Hill hit him with the gun, causing Taylor to collapse on the

floor. Id. Taylor began “crawling to get out” of the store. Id. At that time, L.S. ran out of the

store. Id. She said: “By the time I made it out the store, that’s when I heard the first shot.” Id.

She turned around and “saw Poopie standing overtop” of Taylor in the doorway, “getting ready to

shoot him again.” Id. She then started running and calling for her mother, and that is when she

heard the second and third shot. Id.

       L.S. claimed that she talked to a plainclothes detective on the scene. Id. When asked how

many times she spoke to the police in total, L.S. states that: (1) the police came to her house so

that she could pick out pictures, (2) she went “downtown” to pick out pictures; and then (3) she

went to trial. Id. When she went downtown to pick out pictures, she said she “picked all three

out,” indicating that she identified Hill, Johnson, and Dorsey. Id.

       Marcus asked L.S. whether Lamont or Buttons ever had a weapon that she saw. L.S. stated

that, as far as she knew, no one other than Hill had a gun. Id. L.S. also confirmed that Hill was

the one who shot Taylor, but maintained that Johnson and Dorsey were also involved in the murder.



                                                 -54-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 55 of 152



Id. She stated: “Poopie was the one that did the killing, but no matter what all three of them had

something to do with it.” Id.

       The CIU Memorandum asserts that “[L.S.]’s version [of events] changed multiple times”

in 1988. ECF 151-1 at 3. And, it then concludes that L.S.’s account in 2018 was consistent with

her statement to Officer Jones in 1988, i.e., the Jones Report, and thus is accurate.45 In reaching

that conclusion, the CIU posits that in 2018 L.S. “[did] not talk about a gun hand-off or misfiring.”

ECF 151-1 at 26. But, she was not asked whether a gun had misfired.

       Further, the CIU Memorandum also discusses K.A.’s trial testimony. It claims that he

testified that “Johnson was present though he did not say he participated” in the murder. Id. at 3.

       The CIU Memorandum determined that Johnson “was not present and did not participate

in [Taylor’s] murder.” ECF 151-1 at 2. It stated that “there is overwhelming evidence that the

Johnson [sic] was not present during the murder and was not involved in it. Therefore, the Johnson

[sic] did not hand a gun to the Shooter.” Id. Thus, the CIU Memorandum recommended that the

SAO file a “joint petition for writ of actual innocence and not seek to re-try the case.” Id.

       The conclusion directly contradicts what L.S. said in the 2018 interview, however. As

noted, when L.S. was asked who confronted Taylor about the drug debt, L.S. said: “It was Buttons,

Lamont, and Poopie. They was surrounding my cousin.” ECF 138-20. L.S. also inculpated




       45
           L.S.’s 2018 account, some 30 years after the event, contains a handful of minor
inaccuracies. Taylor was murdered at approximately 1:15 a.m., not 11 or 12 at night. She spoke
to Jones, a patrol officer, who would have been wearing a uniform. ECF 151-8, ⁋ 13. L.S. also
claims that the customer Taylor used as a shield, Marvin Reid, never came forward in the
investigation. Id. But, Reid gave a signed statement to Det. Charles Gilbert at 3:28 a.m. on July
14, 1988 in the “Homicide Unit Office.” ECF 138-3 at 26-29. In the months following the murder,
L.S. claimed that she went to the courthouse only once for trial. ECF 138-20. However, it is
undisputed that L.S. appeared at the Grand Jury prior to trial. And, L.S. did not remember
Quinton’s name or Thomas Carroll, even though she had identified his photo in 1988. Id.
                                                -55-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 56 of 152



Johnson when she said: “Poopie was the one that did the killing, but no matter what all three of

them had something to do with it.” Id.

       The CIU Memorandum also claimed, ECF 151-1 at 18: “There is no evidence in the SAO

or BPD file nor have we located any evidence that suggests [L.S.] knew the [sic] Johnson before

this incident or the trial.” However, L.S. stated in the 2018 interview that Johnson, Dorsey, and

Hill regularly came to her mother’s house. ECF 138-20.

       The CIU Memorandum claimed that L.S.’s statement in the Jones Report “appears to have

not been disclosed.” Id. at 17 (italics in original). It did not reference that Davis disclosed the

existence of the interview in his July 14 Report. But, of particular relevance to the issues here, the

CIU Memorandum never asserts that the BPD officers acted in bad faith.

       The CIU Memorandum also mentions several perceived errors with the investigation, such

as the failure to contact potential witnesses. For example, the CIU Memorandum states: “There is

no indication that the ASA attempted to contact Alvin Morgan, Deborah McFadden, any of the 11

search officers, PO Owens, nor are there notes that the ASA directed BPD to do any follow up in

any of these areas.” ECF 151-1 at 21. The CIU Memorandum also states that Thomas Carroll was

not interviewed. ECF 151-1 at 8. But, it is clear that the police did contact McFadden as discussed

earlier. And, Carroll was a defendant. In any event, the police did attempt to interview him but,

on advice of counsel, he did not submit to an interview. Id. Morgan was Johnson’s friend. He

chose not to appear at trial for fear of being arrested. ECF 152-1, ⁋ 7. And, the defense summoned

Officer Owens for trial, and he did not appear.

       Thereafter, on July 2, 2018, Forster, Lipscomb, and Parisa Dehghani-Tafti, an attorney

from the Mid-Atlantic Innocence Project, and Johnson filed a “Joint Petition For Writ Of Actual

Innocence” in the Circuit Court for Baltimore City. ECF 151-30 (the “Joint Petition”); ECF 137-



                                                  -56-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 57 of 152



21 (same).46 The Joint Petition asked the circuit court to “set aside the verdict against [Johnson]

and order a new trial.” ECF 137-21 at 18. The Joint Petition did not contain exhibits.

       The Joint Petition provided an overview of the factual and procedural background

regarding Johnson’s case, which has been recounted above. Id. at 3-8.47 It is largely consistent

with the CIU Memorandum. It stated that on multiple occasions L.S. had “contradicted her own

testimony about several key aspects of her role as a witness . . . .” Id. at 10. According to the Joint

Petition, L.S.’s witness statements, Grand Jury testimony, and trial testimony were “inconsistent

regarding almost every material detail of the crime.” Id. And, the Joint Petition stated that the

Jones Report was “undisclosed,” without reference to Det. Davis’s disclosure of the interview in

his July 14 Report. Id. The Joint Petition also claims that the discrepancies between the Jones

Statement and L.S.’s other statements “were even more profound” than other inconsistencies. Id.

at 11. According to the Joint Petition, the “most crucial discrepancy” in L.S.’s statements

concerned “the alleged exchange of weapons between” Johnson and Hill. Id. at 12.

       As noted, K.A., could not be located for the CIU Memorandum. ECF 151-1 at 26. The

Joint Petition characterized his Statement to the BPD on August 8, 1988, as “straightforwardly

exculpatory” for Johnson. ECF 137-21 at 13. And, as to K.A.’s “revised testimony” at trial (id.

at 13), the Joint Petition stated that K.A. “merely places [Johnson] at the scene” but did not

implicate him in a crime. Id. at 14.




       46
          The Joint Petition is undated, but a date-stamp reflects that it was received by the circuit
court on July 2, 2018. ECF 137-21 at 2.
       47
            The Joint Petition refers to the relevant witnesses by their initials. See, e.g., id. at 4.

                                                   -57-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 58 of 152



       Notably, the Joint Petition also pointed to “newly Discovered Evidence Since the Time of

Mr. Johnson’s Trial,” which “Proves Innocence . . . .” Id. at 14. The Hill Affidavit is the first item

that is mentioned. Id. There, Hill asserted that Johnson was not present at the murder. Id.48

       In sum, the Joint Petition maintained that Johnson’s convictions should be vacated in light

of L.S.’s inconsistent testimony, coupled with other evidence that showed that Johnson was not

present at the scene of Taylor’s murder, including statements from Tommy Carroll; Dorsey;

Morgan; Lazenby; McFadden’s testimony at a post-conviction hearing; and the Hill Affidavit. Id.

at 15-17.

       On July 2, 2018, Judge Charles Peters held a hearing on the Joint Petition. See ECF 151-

5 (excerpt of hearing transcript) at 2. Lipscomb provided an overview of the Joint Petition, before

concluding, id. at 9: “We submit that Jerome Johnson was not present during the commission of

this homicide. As such, the State is asking the Court to grant our Joint Petition for Writ of Actual

Innocence that was filed in this case.”

       Judge Peters granted the Joint Petition and awarded Johnson a new trial. Id. But, Lipscomb

indicated that “the State [was] entering nolle pros as to each count of the indictment.” Id. This

suit followed on March 6, 2019.

       Additional facts are included, infra, pertinent to the Sanction Motion and the Monell claim.




       48
          The Joint Petition did not mention the Burton Affidavit. However, the Hill Affidavit
references the Burton Affidavit. Moreover, neither the CIU Memorandum nor the Joint Petition
mentions Dorsey’s pretrial statement, in which he claimed the gun misfired twice. ECF 137-2 at
4. That assertion corroborated L.S.’s account.

                                                -58-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 59 of 152



                                       II. Sanction Motion

                                     A. Factual Allegations

       Defendants have moved to dismiss the suit as a sanction, claiming that plaintiff repeatedly

“defrauded” the courts by procuring “irrefutably false affidavits” from Burton and Hill, and also

because he attempted to influence the testimony of Carroll, Dorsey, and Lazenby. ECF 137 at 4,

15-18. They contend that “for approximately fourteen years, plaintiff attached these fraudulent

and perjured affidavits to multiple court filings, both pro se and while represented by counsel.”

Id. at 8. Thus, they maintain that Johnson obtained his release by misleading the SAO and the

Circuit for Baltimore City about his role in the case. Id. Defendants also seek attorneys’ fees,

pursuant to 42 U.S.C. § 1988. ECF 137 at 22.

       Johnson concedes that the relevant affidavits contain false information. ECF 152 at 9-15.

However, he maintains that he was not aware at the time that they contained false information, and

he denies that he participated in procuring false information. Id. He also denies that he attempted

to influence any witnesses.

       It is undisputed that the Burton and Hill affidavits falsely state that Burton was present at

the crime scene and that he is the one who handed a gun to Hill. ECF 137-5, ¶ 5; ECF 137-9 at

19. As noted, the Burton Affidavit claims that Burton happened upon the scene of the altercation

because, in the early morning of July 14, 1988, he was involved in a car accident at the intersection

of Reisterstown Road and Woodland Avenue. ECF 137-5, ¶ 3. That is also the general location

of the Night Owl. See 138-13 at 2; 138-2 at 72. However, prison records irrefutably establish that

Burton was incarcerated at the time of Taylor’s death. See ECF 137-6. Moreover, Burton denies

signing the Burton Affidavit and claims that his signature is a forgery. ECF 137-7 at 10-11.




                                                -59-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 60 of 152



       According to defendants, plaintiff’s first known use of the Burton and Hill affidavits

occurred on May 23, 2000, in his pro se submission to the Court of Appeals for the Fourth Circuit.

ECF 137-11. Plaintiff also relied on the affidavits when he filed a Petition for Writ of Actual

Innocence on April 14, 2011. ECF 137-9. Although plaintiff later withdrew that petition in favor

of lobbying the SAO to dismiss the charges (ECF 137-13), defendants maintain that this strategy

deprived the circuit court of the opportunity to scrutinize his affiants’ credibility. ECF 137 at 7.

       The BPD also points to Johnson’s deposition testimony, in which he said that he played

the role of a “jailhouse attorney” when he was incarcerated and, in that capacity, he worked with

Burton on Burton’s case. ECF 137-1 (Johnson Dep.) at 56. Johnson testified, id.: “We was in one

of these prisons together, and I actually was helping him with his case because that’s what I do, I

help dudes with their cases. I served as the jailhouse attorney, and, as we was talking—and, you

know that’s where I met him.”

       At Johnson’s deposition on July 22, 2021, Johnson testified that, while he and Burton were

working on Burton’s case, Burton told Johnson that “he was actually from [Johnson’s]

neighborhood.” ECF 137-1 at 57. And, when Johnson told Burton “about the events that happened

surrounded [sic] [him], he said that, you know, he was out there that night.” Id. Specifically,

Johnson claims that Burton advised that “he knew the victim or something that he seen them” on

the night of Taylor’s murder. Id. Further, Burton claimed that “he was trying to . . . stop the

altercation that was going on, and, you know, something about the gun fell out the guy’s hands.

Some stuff like he was saying he was supposed to pick the gun up and gave the gun back to the

guy.” Id. at 57-58.

       According to Johnson, he asked Burton for proof to establish that he was “on the street” on

the night of Taylor’s murder, at which point Burton “showed [him] a document from the Court



                                                -60-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 61 of 152



showing that [Burton] was on the street.” Id. at 58. Johnson then arranged for Burton to speak

with his attorney, George Epstein, who worked with Burton to obtain the Burton Affidavit. Id.

An “Inmate Visitor Record” from the State Division of Correction indicates that Epstein visited

Burton in April 1997, the month in which the Burton Affidavit was executed. See ECF 153 at 5.

       But, Burton denies that he signed the Burton Affidavit and claims that it is a forgery. ECF

137-7 (Burton Dep.) at 10-11. Further, defendants point out that prison records reflect that Burton

was in administrative segregation on April 15, 1997, the day on which the Burton Affidavit was

supposedly executed. See ECF 137-8 at 2 (Burton Inmate Institutional Progress Sheet, indicating

that Burton was “continue[d] ad seg” on April 3, 1997, and “remove[d] from A/S” on September

25, 1997). According to Burton, he could not have executed an affidavit for Johnson when placed

in restrictive confinement. See ECF 137-7 at 14 (confirming that while he was in segregation, he

could not have “sign[ed] for no [sic] affidavit unless it’s a legal mail coming in through . . . the

police bringing it certified mail”).

       The defense identifies several other facts that they claim establish that plaintiff knew the

affidavits were false when he submitted his 2011 Petition. As mentioned, the Burton Affidavit

includes details regarding a car crash that occurred “at the intersection of Reisterstown Road and

Woodland Avenue,” in close proximity to the Night Owl. ECF 137-5 at ⁋ 3. Given plaintiff’s

statement to the BPD, showing his proximity to the scene at the time, as well as plaintiff’s

deposition testimony, plaintiff would have known that no such accident occurred. ECF 137 at 14.

Additionally, in his statement to the BPD on October 24, 1988 (ECF 137-4 at 3), and in his

deposition in July 2021, plaintiff stated that several individuals confronted Taylor. ECF 137-1 at

27. Yet, he did not mention the presence of Burton, or an individual who fit his description, when

he gave his statement to the BPD on Oct. 24, 1988.



                                               -61-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 62 of 152



       At plaintiff’s deposition, he acknowledged that Hill “knowingly” made a false statement

in his Affidavit. ECF 137-1 at 63. Moreover, over the objection of his lawyer, he conceded that

Hill “had to have known” of the falsity, because he was, after all, there at the time. Id. Further,

when Johnson was asked if he “would feel comfortable attaching the Alvin Hill affidavit to any

future court filings,” Johnson noted that he would not. Id. at 69. Johnson also confirmed that he

and his lawyer spoke with Hill about an affidavit. Id. at 68.

       Defendants also highlight a telephone call between Johnson and Morgan that occurred on

June 26, 2016, which, according to defendants, “leaves no question that plaintiff knew the Burton

and Hill affidavits were unreliable when he agreed to use them in the Joint Petition.” ECF 137 at

10. In relevant part, Johnson stated, ECF 137-1 at 84-86:

       Matter of fact, remember on the remand there’s three affidavits can you recall that?
       OK, I don’t want to say the names cuz I don’t want to give too much information
       over the phone but, one of the key people is supposed to be jumping ship. But we
       still gonna be able, she’s [i.e., Nancy Forster] saying she’s still gonna be able to use
       his affidavit, in other words the dude’s not coming to testify. But she don’t think
       it’s real damaging, but it’s a little bit. But we still may get it in cuz we still got
       Poopie [i.e., Hill].

       According to defendants, plaintiff’s counsel used the Burton and Hill affidavits to induce

the State to agree to vacate plaintiff’s conviction. See ECF 137-20 at 5-6. Ultimately, however,

the Joint Petition only referenced the Hill Affidavit as a basis for the court to set aside Johnson’s

conviction. See ECF 137-21. Although it does not appear that exhibits were submitted with the

Joint Petition, the submission contains a section titled “Newly Discovered Evidence Since the

Time of Mr. Johnson’s Trial Proves Innocence Under 8-301.” ECF 137-21 at 14. As mentioned,

the Hill Affidavit is listed as the first item of evidence in that category. Id. It is cited for the

proposition that it was Hill who shot the victim and that Hill claimed that Johnson was not present.

Id.



                                                -62-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 63 of 152



        In regard to the claim of witness tampering, defendants point to a phone conversation that

Johnson had with Sean Morgan, the son of Alvin Morgan, on January 22, 2017. The contents of

the call were read during Johnson’s deposition testimony. See ECF 137-1 at 73.49 In particular,

Johnson stated, id.: “‘Soon the girl, Tanya Lazenby, go do what she got to do. That’s when I’m

probably going to need you man. We’ve got to show her some love, man, for her stepping up to

the plate.’” When asked at his deposition what Johnson meant by “‘show her some love,’” Johnson

said he meant for Morgan to “give her a hug, or you know what I’m saying, or something like

that.” Id. at 74.

        Defendants also presented evidence pertaining to communications between Johnson and

Lazenby. Notably, Johnson indicated at his deposition that he did not know Lazenby prior to his

trial. ECF 137-1 at 6. But, since his release, he “has spoken to Tanya Lazenby by phone

intermittently since 2018.”    ECF 169-1 (Response to Interrogatories) at 4.         At Johnson’s

deposition, he claimed that the purpose of these calls was to “just see how she is doing.” ECF

137-1 at 8.

        Defendants also cite a letter Johnson sent to Tommy Carroll on March 23, 2020, after

Johnson’s release. ECF 137-25 (the “March 2020 Letter”). In the letter, Johnson wrote, id. at 3:

        What’s up! Tommy

               How are you doing? I sincerely hope that this brief notation finds you well.
        As for me I am blessed just trying to deal with life. Here is a few dollars for you.

        Take care!

        Talk to you soon

        Jerome ,
        A.K.A

        49
          At this time, Johnson was still incarcerated. The parties have not presented the Court
with an audio recording of this conversation.

                                               -63-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 64 of 152



       Himalaya

       The parties presented the content of various telephone conversations that Johnson had with

Dorsey and Carroll.50 During a recorded phone call between plaintiff and Carroll on June 25,

2020, Johnson offered to help pay for a lawyer for Carroll. ECF 137-1 at 75. Johnson stated, id.:

“‘Whatever you get, I’ll match that. I mean, I’ll probably do more than that, depending on the

lawyer that I decide we can get to.’” ECF 152-24 at (00:09:16-00:10:10) (audio recording of phone

call between Johnson and Carroll).

       In a phone call between plaintiff and Dorsey on February 6, 2019, Johnson stated, ECF

137-1 at 83: “‘What I wanted to tell you, Man, is I’m talking [to] Nancy [Forster] now to see if we

can make something for you right. Yeah, so we trying to see what we can do.’” And, in a

subsequent phone call on January 18, 2020, Johnson stated, id. at 79-80:

       What we got right now, Butt, is that what you told me about they told you about
       that statement. Yo, you can’t never say that. I’m going to tell you why. Yo, listen
       to what I’m saying, because the way my case, the reason I’m out of prison, and the
       reason I got a 60 million lawsuit against the police, is because we saying they
       withheld that statement. Now, if you saying they said something to you about it
       when they got – when you got lock up, right, but I’m telling you, don’t say nothing
       about that, yo, in this case right now.

       Johnson continued, id. at 81:

       But look, what I need you to do, I need you to do something different. Yo, I’m
       going to send you, when I send to you this money. Hey yo, this is what you got to
       do. Butt-Butt, I already know, yo, you been on my side since I’ve been here, right?
       I respect that. Butt this is what I need you to do. I need you to start listening to
       me, Man, when it comes to this legal shit.




       50
          Plaintiff provided audio recordings of the phone calls, with the exception of plaintiff’s
phone conversation with Dorsey on February 6, 2019. Defense counsel read transcripts of the
phone recordings into the record at Johnson’s deposition. See ECF 137 at 16-17. The content is
not disputed; the significance of the content is disputed.

                                               -64-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 65 of 152



       With respect to Burton, plaintiff claims that he relied on his former lawyer, George Epstein,

who is now deceased. Epstein met with Burton, allegedly discussed the Affidavit, and procured

Burton’s signature. ECF 152-4, Johnson Dep., at 3-5, 6, 8. The prison visitor log indicates that

Epstein visited the prison where plaintiff and Burton were incarcerated in April 1997. ECF 152-

5. But, there is no information as to what was discussed. And, as stated, Burton has denied that

he signed the Affidavit. ECF 152-3 at 41. As to the Hill Affidavit, plaintiff claims he had no

reason to suspect its inaccuracy. ECF 152 at 17.

       At his deposition, Johnson confirmed that he included $50 with the March 2020 Letter to

Carroll. ECF 152-4 at 17. Johnson explained, id. at 20: “I did a letter campaign. A lot of the guys

come home from prison and they don’t do enough for the guys . . . I, fortunately, be in a situation

where I can help guys out, because a lot of time guys be there for a long period of time and the

family is not really helping support them and stuff like that. So $50 goes a long way.” Johnson

estimated that he had given the same kind of support to somewhere between thirty and forty people,

including Dorsey. Id. at 21.

       In a sworn Declaration dated February 11, 2021 (ECF 152-6), Johnson explained: “I gave

people with whom I was incarcerated small amounts of money because I know how they are

struggling like I was struggling when I was incarcerated.” Id. ⁋ 13. Plaintiff also averred that he

“did in the past offer to help Mr. Dorsey and Mr. Carroll find and pay for lawyers.” Id. ⁋ 14. But,

he maintained, id.: “I did not offer this assistance in exchange for false evidence. I offered it

because I had known them for a long time; we grew up together in the same neighborhood.” And,

Johnson said: “I communicated with Mr. Dorsey about him testifying on my behalf.                My

motivation was to secure Mr. Dorsey’s truthful statement that I was not there when Aaron Taylor

was killed.” Id. ⁋ 16.



                                               -65-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 66 of 152



       Further, Johnson points out that when he provided a statement to the police in 1988, he did

not claim he saw what happened after the group of men confronted Taylor on the basketball court.

Id. at 18. Moreover, plaintiff asserts that his attempts to procure testimony were not attempts to

influence the substance of the testimony. Id. at 27.

       Plaintiff has submitted the Declaration of Tanya Lazenby, dated February 7, 2022. ECF

152-10 (Lazenby Decl.). She asserted, id. ⁋ 2: “I spoke to Jerome Johnson for the first time on the

day of his release from prison in 2018. I had no prior relationship or communication with Jerome

Johnson.” And, Lazenby averred: “I have spoken to Jerome Johnson very occasionally—once

when he was released from prison and I believe once more time [sic] at some point later.” Id. ⁋ 3.

       In the first conversation, Lazenby “spoke to [Johnson] on the phone while he was in his

lawyer’s office,” at which time Johnson “thanked [her] for doing the right thing and coming

forward with [her] statement.” Id. ⁋ 4. During the second conversation, Johnson asked Lazenby

how she was doing, but they did not discuss Johnson’s lawsuit or her statement. Id. ⁋ 5. Lazenby

also stated: “No one, including Jerome Johnson, has offered me anything in exchange for any

statement as to what I saw at the Nite Owl on July 14, 1988.” Id. ⁋ 7. She also said that she does

not know “Shaun Morgan.” Id. ⁋ 8. She also said, id. ¶ 6: “Witnessing the murder on July 14,

1988, was one of the most traumatic moments of my life . . . . [I]t is very hard to be dragged back

into these memories.”

                                       B. Standard of Review

       The Sanction Motion is filed pursuant to Fed. R. Civ. P. 41(b). It states, in part: “If the

plaintiff fails to prosecute or comply with these rules or a court order, a defendant may move to

dismiss the action or any claim against it. Unless the dismissal order states otherwise, a dismissal

under this subdivision (b) . . . operates as an adjudication on the merits.”     Thus, a dismissal



                                               -66-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 67 of 152



pursuant to Rule 41 ordinarily amounts to a judgment on the merits and is given preclusive effect.

See Black Water Marine Explorer LLC v. Unidentified Shipwrecked Vessel or Vessels, 714 F.

App’x 296, 297 (4th Cir. 2018) (per curiam) (citing Fed. R. Civ. P. 41(b)).

        “Rule 41(b) lumps together three quite different grounds for involuntary dismissal.” 9

CHARLES ALAN WRIGHT & ARTHUR R. MILLER, FEDERAL PRACTICE & PROCEDURE § 2369 (4th ed.

2022) (“Wright & Miller”). Relevant here, “[t]he third ground set out in the Rule providing for a

dismissal for failure to ‘comply’ with ‘these rules’ or with a ‘court order’ is rather amorphous . . . .”

Id. Indeed, “[t]here is extensive and factually varied case law about what constitutes a failure to

comply with a court order or instruction,” and Rule 41(b) “does not exhaust the grounds on which

an involuntary dismissal can be ordered.” Id.

        In any event, federal courts have “inherent power to dismiss an action with prejudice as a

sanction.” In re Jemsek Clinic, P.A., 850 F.3d 150, 158 (4th Cir. 2017); see also Link v. Wabash

R. Co., 370 U.S. 626, 632 (1962) (recognizing that the federal courts retain inherent authority to

impose a sanction of dismissal). These inherent powers exist to “preserve the integrity of the

judicial process and the resources needed to resolve disputes in an orderly and expeditious

manner—two indispensable assets in any nation dedicated to the rule of law.” In re Jemsek, 850

F.3d at 157 (citing Chambers v. NASCO, Inc., 501 U.S. 32, 43-46 (1991).

        A court is obligated to “protect the integrity of the judicial process because, ‘[a]s soon as

the process falters . . . the people are then justified in abandoning support for the system.’” Silvestri

v. Gen. Motors Corp., 271 F.3d 583, 590 (4th Cir. 2001) (citing Shaffer, 11 F.3d at 457). And,

“[t]his power is organic, without need of a statute or rule for its definition, and it is necessary to

the exercise of all other powers.” United States v. Shaffer Equipment Co., 11 F.3d 450, 461

(4th Cir. 1993).



                                                  -67-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 68 of 152



       Dismissal is justified where “a party deceives a court or abuses the process at a level that

is utterly inconsistent with the orderly administration of justice or undermines the integrity of the

process[.]” Shaffer, 11 F.3d at 462; see also Projects Mgmt. Co. v. Dyncorp Int'l LLC, 734 F.3d

366, 373 (4th Cir. 2013). Nevertheless, a dismissal under Rule 41(b) “is a harsh sanction which

should not be invoked lightly in view of ‘the sound public policy of deciding cases on their

merits.’” Herbert v. Saffell, 877 F.2d 267, 269 (4th Cir. 1989) (citation omitted). And, “a district

court’s decision to exercise its inherent power to dismiss a case is reviewed for an abuse of

discretion.” Gunter v. Alutiiq Advanced Security Solutions, LLC, RDB-20-3410, 2022 WL

1139875, at *3 (D. Md. Apr. 18, 2022) (internal quotation marks omitted).

       A court must exercise its dismissal power with considerable restraint and “may do so only

after considering several factors[.]” Shaffer, 11 F.3d at 462. The factors include, id. at 462-63:

       (1) the degree of the wrongdoer's culpability; (2) the extent of the client's
       blameworthiness if the wrongful conduct is committed by its attorney, recognizing
       that [courts] seldom dismiss claims against blameless clients; (3) the prejudice to
       the judicial process and the administration of justice; (4) the prejudice to the victim;
       (5) the availability of other sanctions to rectify the wrong by punishing culpable
       persons, compensating harmed persons, and deterring similar conduct in the future;
       and (6) the public interest.

       Of import here, a court may impose sanctions even when the misconduct occurred before

another tribunal, rather than in its own case. For example, in Chambers, 501 U.S. 32, the Supreme

Court observed, id. at 57:

       . . . Chambers challenges the District Court's imposition of sanctions for conduct
       before other tribunals, including the FCC, the Court of Appeals, and this Court,
       asserting that a court may sanction only conduct occurring in its presence. Our cases
       are to the contrary, however. As long as a party receives an appropriate hearing, as
       did Chambers, see 124 F.R.D., at 141, n.11, the party may be sanctioned for abuses
       of process occurring beyond the courtroom, such as disobeying the court's
       orders. See Young [v. United States ex rel. Vuitton et Fils S.A.,], 481 U.S. [787
       (1987)] at 798,; Toledo Scale [v. Computing Scale Co., 261 U.S. 399 (1923)] at
       426–428. Here, for example, Chambers’ attempt to gain the FCC's permission to
       build a new transmission tower was in direct contravention of the District Court's

                                                -68-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 69 of 152



       orders to maintain the status quo pending the outcome of the litigation and was
       therefore within the scope of the District Court's sanctioning power.

See also Roche Diagnostics Corp. v. Priority Healthcare Corp., No. 2:18-CV-01479-KOB, 2020

WL 2308319, at *6 (N.D. Ala. May 8, 2020) (discussing cases in which the sanctioning court

considered behavior in other cases that shared an obvious linkage to its own case).

       Further, as Judge Chasanow explained in DeWitt v. Ritz, DKC-18-3202, 2021 WL 915146,

at *5 (D. Md. Mar. 10, 2021) (internal citations omitted):

       [I]n order to prove his § 1983 claim [for malicious prosecution], Plaintiff will have
       to establish that the criminal proceeding terminated in his favor.[ ] See Heck v.
       Humphrey, 512 U.S. 477, 486–87 (1994) . . . To do so, Plaintiff must rely on the
       grant of relief by the state post-conviction court and the ensuing decision of the
       State's Attorney for Baltimore City not to pursue a retrial. If, as Defendants claim,
       dismissal of the charges was procured by fraud and bribery, Plaintiff should not be
       allowed to rely on it to prove his civil rights claim.

       Notably, “[t]here is no rule or required procedure for assessing a litigant’s alleged

misconduct, and a request for sanctions can arise in a variety of circumstances. The bedrock

fundamental principle, however, is that a litigant must have notice and an opportunity to be heard

before sanctions are imposed.” DeWitt, 2021 WL 915146, at *3 (citing Chambers, 501 U.S. at

50).

       To prove the misconduct, however, courts have employed the heightened standard of clear

and convincing evidence, rather than a mere preponderance of the evidence. See, e.g., DeWitt,

2021 WL 915146, at *4; Glynn v. EDO Corp., JFM-07-01660, 2010 WL 3294347, at *2 (D. Md.

Aug. 20, 2010). In Glynn, Judge J. Frederick Motz explained, id.:

                Whether it is sought under the Federal Rules of Civil Procedure or pursuant
       to this Court's inherent power, the precise burden of proof in a motion for sanctions
       is unclear in the Fourth Circuit. However, proving misconduct occurred by “clear
       and convincing” evidence, as opposed to by a mere preponderance, certainly
       suffices. See Lahiri v. Univ. Music and Video Distrib. Corp., 606 F.3d 1216, 1219
       (9th Cir. 2010) (“The burden of proof issue need not be resolved here because the
       district court's bad faith finding is supported by clear and convincing evidence.”

                                               -69-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 70 of 152



       (internal citations omitted)); Shepherd v. ABC, Inc., 62 F.3d 1469, 1476–78 (D.C.
       Cir. 1995) (citing several other circuits in holding that the “clear and convincing”
       standard is required to impose default judgment, whereas preponderance is the
       standard for imposing less dramatic sanctions); Balcar v. Bell and Assoc., LLC, 295
       F.Supp.2d 635, [640] (N.D.W.Va. 2003) (“Because the court's inherent power to
       sanction should be exercised with caution and discretion, some circuits have held
       that clear and convincing evidence of bad faith and vexatious behavior is required
       for a court to exercise its inherent authority to sanction. Although the Fourth Circuit
       appears not to have addressed the issue, this Court believes it, too, would adopt the
       clear and convincing evidence standard with regard to the [c]ourt's inherent power
       to sanction.” (internal citations omitted)).

                                            C. Discussion

       Defendants urge the Court to dismiss plaintiff’s suit, claiming that plaintiff’s exoneration

in the Circuit Court for Baltimore City was secured by use of the fabricated affidavits of Hill and

Burton as well as the attempt to influence the testimony of Dorsey, Carroll, and Lazenby.

       The Court has a strong interest in sanctioning the deliberate use of false evidence. See,

e.g., Green v. Mayor & City Council of Baltimore, 198 F.R.D. 645, 647 (D.Md. 2001). In Green,

198 F.R.D. at 647, Judge Smalkin said:

       The prejudice to the integrity both of the process of adjudication in general and of
       this Court in particular, which relies on the trustworthiness of those who submit—
       not to mention notarize—affidavits, is manifest. The public interest in preserving
       the trustworthiness of sworn documents as part of the process of orderly
       adjudication demands that the strongest means available be taken to redress the
       situation in this particular case and to deter similar misconduct by others.

       Plaintiff’s intentional use of false affidavits cannot be condoned. Johnson testified that he

was the person who first obtained the information from Burton. ECF 137-1 at 57. And, he sought

to use the Burton Affidavit, even though he would have known that it was false, because it is

inconsistent with what he personally knew about who was at the scene.

       The Burton Affidavit (ECF 137-5) claims that Burton was in a car accident at Reisterstown

Road and Woodlawn “[s]ometime after midnight . . . .” Id. ¶ 3. However, plaintiff states that he

never knew of a car accident. ECF 137-1 at 70-71. And, in Johnson’s Statement to police on

                                                -70-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 71 of 152



October 24, 1988, he said he saw “Poopie, Ornie, Tommy, Butt and Kenny” cross over

Reisterstown Road to the basketball court. ECF 137-4 at 3. Yet, Johnson never mentioned Burton

or an individual who fit Burton’s description.

        But, in Johnson’s statement to the BPD on October 24, 1988, he revealed that he knew

quite a bit of detailed information about the incident. And, he was in close proximity to the Night

Owl when the crime occurred. By his own account, shortly before the shooting, he was walking

to the Night Owl from Lucille Avenue. ECF 151-2 at 46. He claims that he encountered Alvin

Morgan at the corner of Reisterstown Road and Lucille Avenue, who told him to stay put. Id. But,

that location is a short distance from Reisterstown Road and Woodland Avenue, where the Night

Owl was located and where the car accident supposedly occurred. ECF 138-2 at 72. If a car

accident occurred at the alleged time of night, at the alleged place, Johnson would have known

about it.

        Plainly, Burton could not have been in Baltimore on July 14, 1988, because he was

incarcerated. And, he could not have executed the Burton Affidavit because he was housed in

restrictive confinement. See ECF 137-7 at 14. The affidavit is a forgery. And, plaintiff’s claim

that he did not know of the falsity of it rings hollow.

        The Hill Affidavit’s inclusion of Burton’s averments necessarily makes that document false

as well. And, the Hill Affidavit was featured in plaintiff’s Joint Petition, which ultimately secured

Johnson’s release from prison. For example, the Joint Petition asserts, based on the Hill Affidavit:

“On May 23, 2000, the Shooter [i.e., Hill] provided an affidavit that Johnson was not present at

the time of the murder. He admitted to pulling the gun out on Victim and that Johnson was not

there.” ECF 137-21 at 14. The Joint Petition again cited the Hill Affidavit under a list of the “most

compelling” results of the CIU investigation. Id. at 17.



                                                 -71-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 72 of 152



       Unquestionably, the Hill Affidavit was not the sole basis for Johnson’s exoneration. In

addition to the Hill Affidavit, the CIU explained in its memo to the SAO that it based its decision

on multiple independent witnesses including Morgan, Lazenby, Carroll, Dorsey, Owens,

McFadden, and L.S. ECF 152-13. Still, the Hill Affidavit was used to corroborate that Johnson

was not present at the scene of the crime. Id. at 3-4. And, regardless of whether plaintiff’s post-

conviction relief hinged on the Hill Affidavit, Johnson nevertheless intentionally submitted the

false affidavit in his effort to persuade the SAO and the circuit court of his innocence.

       Plaintiff contends that even though the Hill Affidavit was presented with his post-

conviction relief petition, he has not attempted to use the Affidavit in the present litigation. ECF

152 at 32. However, “once a litigant chooses to practice fraud, that misconduct infects his cause

of action, in whatever guise it may subsequently appear.” DeWitt, 2021 WL915146, at *5.

       Clearly, plaintiff’s civil suit is grounded in his exoneration. Accordingly, plaintiff's

misconduct falls within the scope of this Court's sanctioning power because the post-conviction

proceedings and the present case are “immutably linked.” See id. at *4.

       As mentioned, defendants also claim that plaintiff attempted to influence Dorsey’s

testimony during a telephone call on June 25, 2020. ECF 137-1 at 75. And, they note that plaintiff

promised Carroll that he would match whatever money Carroll raised to get an attorney (ECF 152-

24), and sent Carroll $50 in the March 23 Letter. ECF 152-4 at 17. Further, plaintiff asked his

friend to “show [Lazenby] love” for “stepping up to the plate” to testify on plaintiff’s behalf. ECF

137-1 at 73.

       I agree with plaintiff that these occurrences do not clearly amount to a quid pro quo

arrangement to secure testimony in plaintiff’s favor. According to CIU documents, Carroll was

interviewed by the Innocence Project and the SAO on May 3, 2018, and professed plaintiff’s



                                                -72-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 73 of 152



innocence several years before plaintiff’s conversation with Carroll about helping Carroll to obtain

counsel. Additionally, Dorsey previously testified at plaintiff’s sentencing hearing that plaintiff

was not present when Taylor was killed. ECF 152-22 at 3-5. Dorsey also provided a sworn

statement to police two weeks after the murder in which he named the group of men who

confronted Taylor on the basketball court, but he did not name plaintiff. ECF 152-12 at 8-9. And,

as to Lazenby, plaintiff claims he merely asked her to tell the truth.

       However, it cannot seriously be disputed that plaintiff asked Dorsey to lie in support of his

civil case during a telephone call on January 18, 2020. It is clear that Johnson urged Dorsey to

withhold information in support of plaintiff’s current lawsuit. ECF 155-25. As noted, plaintiff

said, id. at 00:14:28-00:15:22:

       What we got right now, Butt, is that what you told me about they told you about
       that statement. Yo, you can’t never say that. I’m going to tell you why. Yo, listen
       to what I’m saying, because the way my case, the reason I’m out of prison, and the
       reason I got a 60 million dollar lawsuit against the police, is because we saying they
       withheld that statement. Now, if you saying they said something to you about it
       when they got – when you got lock up, right, but I’m telling you, don’t say nothing
       about that, yo, in this case right now.

       Plaintiff argues that the statement is “difficult to decipher,” claiming it is unclear whether

it referenced the statement of L.S. or Lazenby. ECF 152 at 35. Under either scenario, however,

plaintiff plainly attempts to coach Dorsey to change his account about a witness statement because

a truthful account would impact Johnson’s civil suit. This egregious conduct rises to the level of

culpability and blameworthiness under Shaffer, sufficient to merit dismissal of the suit.

       As I see it, there is clear and convincing evidence that plaintiff asked a potential witness to

withhold testimony that he thought might damage plaintiff’s civil case. Witness tampering of any

sort, at any juncture in litigation, prejudices the judicial process. Furthermore, allowing this type

of behavior would significantly damage public interest, as it would undermine the integrity of the



                                                -73-
         Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 74 of 152



judicial process and perhaps encourage others to apply similarly improper measures in their own

cases.

         Defendants have also established by clear and convincing evidence that plaintiff engaged

in litigation misconduct with respect to the Burton and Hill affidavits. At the very least, he

continued to use the Hill Affidavit after he knew of its falsity, even by his own account. And,

whether or not the SAO relied on it is beside the point. Plaintiff purposely submitted it in his effort

to secure his release.

         In DeWitt, plaintiff also influenced witness testimony and included fraudulent evidence in

post-conviction filings. Judge Chasanow aptly stressed the importance of deterring individuals

from such conduct, stating, 2021 WL 915146, at *13:

         There is a strong public interest in preserving the public confidence in the courts’
         ability to adjudicate disputes fairly on the basis of facts and legitimate evidence,
         not on perjured testimony and forged evidence. Our entire American judicial
         system is premised on such values. Dismissal is also in the public interest because
         it deters others from engaging in similar misconduct by sending the clear message
         to potential offenders that attempts to game the system will not be tolerated.

         Arguably, the conduct at issue in DeWitt was more egregious than the conduct here. But,

that does not alter the analysis or the result. This Court takes a strong stance against misconduct

in which, as here, plaintiff was caught submitting fraudulent evidence and tampering with witness

testimony. Collectively, the act of obtaining false affidavits from Burton and Hill, combined with

attempting to influence the testimony of Dorsey, constitutes fraud on the Court. For these reasons,

dismissal of the Amended Complaint is the only appropriate sanction.

         Defendants also seek an award of attorneys’ fees pursuant to 42 U.S.C. § 1988. In 1976,

Congress passed the Civil Rights Attorney's Fees Awards Act, 42 U.S.C. § 1988, which provides

that a court, within its discretion, may award reasonable attorneys' fees to a prevailing party in

certain types of actions, including those under 42 U.S.C. § 1983. As noted by the Supreme Court,

                                                 -74-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 75 of 152



most of the decisions addressing § 1988 concern awards to prevailing plaintiffs. Fox v. Vice, 563

U.S. 826, 833 (2011). A prevailing defendant, however, may also be awarded fees: “In enacting §

1988 . . . Congress sought ‘to protect defendants from burdensome litigation having no legal or

factual basis.’” Fox, 563 U.S. at 833 (quoting Christiansburg Garment Co. v. EEOC, 434 U.S.

412, 420 (1978)).

       To be a prevailing party, a defendant must show that “‘the plaintiff's action was frivolous,

unreasonable, or without foundation.’” Id. And, of relevance here, “[t]he standard for awarding

fees to defendants is higher than it is for plaintiffs because there are quite different equitable

considerations present: awarding fees to defendants may discourage frivolous litigation, but doing

it too often would undermine Congress' policy of encouraging meritorious civil rights litigation.”

Wolfe v. Routzahn, 953 F.Supp.2d 627, 635 (D.Md. 2013) (internal quotation marks omitted).

And, a district court's determination in this regard is entitled to “great deference.” EEOC v. Great

Steaks, Inc., 667 F.3d 510, 517 (4th Cir. 2012).

       In my view, awarding attorneys’ fees is not appropriate here. The sanction of dismissal of

the suit is quite severe. A monetary sanction simply is not warranted.

       I have determined that dismissal is warranted. Nevertheless, in an abundance of caution, I

shall assume, arguendo, that the Sanction Motion lacks merit. Therefore, I turn to consider the

summary judgment motions. Even so, plaintiff fares no better.

                    III.    Summary Judgment Motions: Legal Standards

                                       A. Standard of Review

       Under Rule 56(a) of the Federal Rules of Civil Procedure, summary judgment is

appropriate only “if the movant shows that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” See Celotex Corp. v. Catrett, 477 U.S. 317,



                                               -75-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 76 of 152



322-24 (1986); Cybernet, LLC v. David, 954 F.3d 162, 168 (4th Cir. 2020); Variety Stores, Inc. v.

Wal-Mart Stores, Inc., 888 F.3d 651, 659 (4th Cir. 2018); Iraq Middle Mkt. Dev. Found v.

Harmoosh, 848 F.3d 235, 238 (4th Cir. 2017). To avoid summary judgment, the nonmoving party

must demonstrate that there is a genuine dispute of material fact so as to preclude the award of

summary judgment as a matter of law.              Ricci v. DeStefano, 557 U.S. 557, 585-86

(2009); Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585-86

(1986); Gordon v. CIGNA Corp., 890 F.3d 463, 470 (4th Cir. 2018).

       The Supreme Court has clarified that not every factual dispute will defeat a summary

judgment motion. “By its very terms, this standard provides that the mere existence of some

alleged factual dispute between the parties will not defeat an otherwise properly supported motion

for summary judgment; the requirement is that there be no genuine issue of material

fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986) (emphasis in original). A

fact is “material” if it “might affect the outcome of the suit under the governing law.” Id. at 248.

       There is a genuine dispute as to material fact “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Id.; see CTB, Inc. v. Hog Slat, Inc., 954 F.3d 647,

658 (4th Cir. 2020); Variety Stores, Inc., 888 F.3d at 659; Sharif v. United Airlines, Inc., 841 F.3d

199, 2014 (4th Cir. 2016); Libertarian Party of Va. v. Judd, 718 F.3d 308, 313 (4th Cir. 2013).

But, “the mere existence of a scintilla of evidence in support of the plaintiff’s position will be

insufficient; there must be evidence on which the jury could reasonably find for the

plaintiff.” Anderson, 477 U.S. at 252.

       “A party opposing a properly supported motion for summary judgment ‘may not rest upon

the mere allegations or denials of [his] pleadings,’ but rather must ‘set forth specific facts showing

that there is a genuine issue for trial.’” Bouchat v. Balt. Ravens Football Club, Inc., 346 F.3d 514,



                                                -76-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 77 of 152



522 (4th Cir. 2003) (quoting former Fed. R. Civ. P. 56(e)) (alteration in Bouchat), cert. denied, 541

U.S. 1042 (2004); see Celotex, 477 U.S. at 322-24. And, the court must view all of the facts,

including reasonable inferences to be drawn from them, in the light most favorable to the

nonmoving party. Ricci, 557 U.S. at 585-86; Matsushita Elec. Indus. Co., 475 U.S. at 587; accord

Knibbs v. Momphand, 30 F.4th 200, 206 (4th Cir. 2022); Walker v. Donahoe, 3 F.4th 676, 682 (4th

Cir. 2021); Hannah P. v. Coats, 916 F.3d 327, 336 (4th Cir. 2019); Variety Stores, Inc., 888 F.3d

at 659; Gordon, 890 F.3d at 470; Lee v. Town of Seaboard, 863 F.3d 323, 327 (4th Cir.

2017); FDIC v. Cashion, 720 F.3d 169, 173 (4th Cir. 2013). But, the nonmovant “must rely on

more than conclusory allegations, mere speculation, the building of one inference upon another,

or the mere existence of a scintilla of evidence.”       Humphreys & Partners Architects, L.P. v.

Lessard Design, Inc., 790 F.3d 532, 540 (4th Cir. 2015) (internal quotation marks omitted).

Rather, “there must be evidence on which the jury could reasonably find for the

nonmovant.” Thompson v. Virginia, 878 F.3d 89, 97 (4th Cir. 2017) (alteration and internal

quotation marks omitted).

        Pursuant to Fed. R. Civ. P. 56(c)(1), if the moving party bears the burden of proof on the

issue at trial, it must support its factual assertions by “citing to particular parts of materials in the

record, including depositions, documents, electronically stored information, affidavits or

declarations, stipulations . . ., admissions, interrogatory answers, or other materials . . . .” But,

where the nonmovant bears the burden of proof at trial, the moving party may show that it is

entitled to summary judgment by citing to evidence in the record, or “by ‘showing’ that is, pointing

out to the district court-that there is an absence of evidence to support the nonmoving party's

case.” Celotex Corp., 477 U.S. at 325; see also Fed. R. Civ. P. 56(c)(1)(B).

        The district court’s “function” is not “to weigh the evidence and determine the truth of the



                                                  -77-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 78 of 152



matter but to determine whether there is a genuine issue for trial.” Anderson, 477 U.S. at 249;

accord Guessous v. Fairview Prop. Invs., LLC, 828 F.3d 208, 216 (4th Cir. 2016). Thus, in

considering   a   summary      judgment     motion,    the   court   may     not   make     credibility

determinations. Brown v. Lott, No. 21-6928, 2022 WL 2093849, at *1 (4th Cir. June 10, 2022) (per

curiam); Knibbs, 30 F.4th at 207, 213; Betton v. Belue, 942 F.3d 184, 190 (4th Cir. 2019); Wilson

v. Prince George’s Cty., 893 F.3d 213, 218-19 (4th Cir. 2018); Jacobs v. N.C. Administrative

Office of the Courts, 780 F.3d 562, 569 (4th Cir. 2015); Mercantile Peninsula Bank v. French, 499

F.3d 345, 352 (4th Cir. 2007). Therefore, in the face of conflicting evidence, such as competing

affidavits, summary judgment is not appropriate, because it is the function of the factfinder to

resolve factual disputes, including matters of witness credibility. See Black & Decker Corp. v.

United States, 436 F.3d 431, 442 (4th Cir. 2006); Dennis v. Columbia Colleton Med. Ctr., Inc.,

290 F.3d 639, 644-45 (4th Cir. 2002).

       That said, “a party's ‘self-serving opinion . . . cannot, absent objective corroboration, defeat

summary judgment.’” CTB, Inc., 954 F.3d at 658-59 (quoting Williams v. Giant Food Inc., 370

F.3d 423, 433 (4th Cir. 2004)). But, if testimony is based on personal knowledge or firsthand

experience, it can be evidence of disputed material facts, even if it is uncorroborated and self-

serving. Lovett v. Cracker Barrel Old Country Store, Inc., 700 F. App’x 209, 212 (4th Cir. 2017).

Indeed, “‘a great deal of perfectly admissible testimony fits’” the “‘description’” of “‘self-

serving.’” Cowgill v. First Data Technologies, Inc., 41 F. 4th 370, 383 n.8 (4th Cir. 2022) (quoting

United States v. Skelena, 692 F.3d 725, 733 (7th Cir. 2012)).

       On the other hand, “[u]nsupported speculation is not sufficient to defeat a summary

judgment motion.” Felty v. Graves-Humphreys Co., 818 F.2d 1126, 1128 (4th Cir. 1987); see

also Reddy v. Buttar, 38 F.4th 393, 403-04 (4th Cir. 2022); CTB, Inc., 954 F.3d at 659; Harris v.



                                                -78-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 79 of 152



Home Sales Co., 499 F. App'x 285, 294 (4th Cir. 2012). “[T]o avoid summary judgment, the non-

moving party’s evidence must be of sufficient quantity and quality as to establish a genuine issue

of material fact for trial. Fanciful inferences and bald speculations of the sort no rational trier of

fact would draw or engage in at trial need not be drawn or engaged in at summary

judgment.” Local Union 7107 v. Clinchfield Coal Co., 124 F.3d 639, 640 (4th Cir. 1997).

                                            B. Section 1983

       Counts I through V of the Amended Complaint arise under § 1983 of Title 42 of the United

States Code. ECF 116, ⁋⁋ 119-226. Under § 1983, a plaintiff may file suit against any person

who, acting under color of state law, “subjects, or causes to be subjected, any citizen of the United

States or other person within the jurisdiction thereof to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws” of the United States. See, e.g., Filarsky v. Delia,

566 U.S. 377 (2012); see also Owens v. Baltimore City State’s Attorneys Office, 767 F.3d 379

(2014). However, § 1983 “‘is not itself a source of substantive rights,’ but provides ‘a method for

vindicating federal rights elsewhere conferred.’” Albright v. Oliver, 510 U.S. 266, 271

(1994) (quoting Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979)); see Safar v. Tingle, 859 F.3d

241, 245 (4th Cir. 2017). In other words, § 1983 allows “a party who has been deprived of a

federal right under the color of state law to seek relief.” City of Monterey v. Del Monte Dunes at

Monterey, Ltd., 526 U.S. 687, 707 (1999).

       To state a claim under § 1983, a plaintiff must allege (1) that a right secured by the

Constitution or laws of the United States was violated, and (2) that the alleged violation was

committed by a “person acting under the color of state law.” West v. Atkins, 487 U.S. 42, 48,

(1988); see Davison v. Randall, 912 F.3d 666, 679 (4th Cir. 2019); Crosby v. City of Gastonia,

635 F.3d 634, 639 (4th Cir. 2011), cert. denied, 565 U.S. 823 (2011); Wahi v. Charleston Area


                                                 -79-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 80 of 152



Med. Ctr., Inc., 562 F.3d 599, 615 (4th Cir. 2009); Jenkins v. Medford, 119 F.3d 1156, 1159-60

(4th Cir. 1997). “The first step in any such claim is to pinpoint the specific right that has been

infringed.” Safar, 859 F.3d at 245.

           The phrase “under color of state law” is an element that “is synonymous with the more

familiar state-action requirement—and the analysis for each is identical.” Philips v. Pitt Cty.

Memorial Hosp., 572 F.3d 176, 180 (4th Cir. 2009) (citing Lugar v. Edmondson Oil Co., 457 U.S.

922, 929 (1982)). A person acts under color of state law “only when exercising power ‘possessed

by virtue of state law and made possible only because the wrongdoer is clothed with the authority

of state law.’” Polk County v. Dodson, 454 U.S. 312, 317-18 (1981) (quoting United States v.

Classic, 313 U.S. 299, 326 (1941)); see also Philips, 572 F.3d at 181 (“[P]rivate activity will

generally not be deemed state action unless the state has so dominated such activity as to convert

it to state action: Mere approval of or acquiescence in the initiatives of a private party is

insufficient.”) (Citations and internal quotation marks omitted).

           There is no respondeat superior liability under § 1983. Ashcroft v. Iqbal, 556 U.S. 662,

676 (2009) (“Because vicarious liability is inapplicable to . . . § 1983 suits, a plaintiff must plead

that each Government-official defendant, through the official’s own individual actions, has

violated the Constitution.”); see also Wilcox v. Brown, 877 F.3d 161, 170 (4th Cir. 2017); Love-

Lane v. Martin, 355 F.3d 766, 782 (4th Cir. 2004) (no respondeat superior liability under § 1983);

Trulock v. Freeh, 275 F.3d 391, 402 (4th Cir. 2001). Thus, § 1983 requires a showing of personal

fault based upon a defendant’s own conduct. See Vinnedge v. Gibbs, 550 F.2d 926, 928 (4th Cir.

1977) (stating that for an individual defendant to be held liable pursuant to 42 U.S.C. § 1983, the

plaintiff must affirmatively show that the official acted personally to deprive the plaintiff of his

rights).



                                                 -80-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 81 of 152



          Liability of a supervisory official under § 1983 attaches only upon personal participation

of the official in the constitutional violation. Such liability “is premised on ‘a recognition that

supervisory indifference or tacit authorization of subordinates’ misconduct may be a causative

factor in the constitutional injuries they inflict on those committed to their care.’” Baynard v.

Malone, 268 F.3d 228, 235 (4th Cir. 2001) (quoting Slakan v. Porter, 737 F.2d 368, 372 (4th Cir.

1984)).

          Under § 1983, supervisory liability must be predicated on facts that, if proven, establish

evidence that: (1) the supervisor had actual or constructive knowledge that his subordinate was

engaged in conduct that posed a pervasive and unreasonable risk of constitutional injury to citizens

like the plaintiff; (2) the supervisor's response to the knowledge was so inadequate as to show

deliberate indifference to or tacit authorization of the alleged offensive practices; and (3) there was

an affirmative causal link between the supervisor's inaction and the particular constitutional injury

suffered by the plaintiff. See Shaw v. Stroud, 13 F.3d 791, 799 (4th Cir. 1994).

          I discuss, infra, § 1983 in the context of a claim against the BPD pursuant to Monell, 436

U.S. 658.

                                       IV.     Officer Motion

                 A. Failure to Disclose Exculpatory and Impeachment Evidence

          Count I, titled “Failure to Disclose Exculpatory and Impeachment Evidence,” asserts a

violation of due process under the Fifth and Fourteenth Amendments to the Constitution. Plaintiff

contends that, prior to trial, the Officer Defendants failed to produce exculpatory evidence, in

violation of Brady v. Maryland, 373 U.S. 83 (1963).51 Defendants dispute the contention.


          51
          On one occasion in his Opposition to the Officer Motion (ECF 151 at 44), plaintiff cites
Giglio v. United States, 405 U.S. 150 (1972). But, his claims appear to be founded primarily on
Brady.

                                                 -81-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 82 of 152



                                          1. Principles

       In Brady, the Supreme Court expressly held that “suppression by the prosecution of

evidence favorable to an accused upon request violates due process where the evidence is material

either to guilt or to punishment, irrespective of the good faith or bad faith of the prosecution.”

Brady, 373 U.S. at 87; see also United States v. Agurs, 427 U.S. 97, 106-07 (1976); United States

v. Blankenship, 19 F.4th 685, 692 (4th Cir. 2021); Burr v. Jackson, 19 F.4th 395, 409 (4th Cir.

2021); Burgess v. Goldstein, 997 F.3d 541, 550 (4th Cir. 2021); Gilliam v. Sealey, 932 F.3d 216,

238 (4th Cir. 2019), cert. denied, ___U.S.___, 140 S.Ct. 2641 (2020); United States v. Young, 916

F.3d 368, 382 n.9 (4th Cir. 2019); United States v. Chavez, 894 F.3d 593, 600 (4th Cir. 2018), cert.

denied, ___ U.S. ___, 139 S. Ct. 278 (2018); United States v. Savage, 885 F.3d 212, 220-22 (4th

Cir. 2018), cert. denied, ___U.S. ___, 139 S. Ct. 238 (2018); United States v. Horton, 693 F.3d

463, 470 (4th Cir. 2012).

       A Brady violation occurs when a defendant can show that the evidence at issue (1) was

favorable to the defendant, (2) material to the defense, and (3) the prosecution had the evidence

but failed to disclose it. Moore v. Illinois, 408 U.S. 786, 794-95 (1972); Burr, 19 F.4th at 409;

Young, 916 F.3d at 383; United States v. Sarihifard, 155 F.3d 301, 309 (4th Cir. 1998). The

Supreme Court has said that the materiality of evidence must be evaluated cumulatively, rather

than in isolation. Wearry v. Cain, 577 U.S. 385 (2016); Kyles v. Whitley, 514 U.S. 419 (1995).

       Under Giglio v. United States, 405 U.S. 150, 154-55 (1972), it is improper for a prosecution

to withhold evidence that tends to impeach a government witness. See United States v. Bagley,

473 U.S. 667, 676 (1985). This is because evidence “favorable to the defendant includes not only

exculpatory evidence but also evidence that the defendant can use to impeach government

witnesses.” Blankenship, 19 F.4th at 692 (italics omitted); see United States v. Abdallah, 911 F.3d



                                               -82-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 83 of 152



201, 217 (4th Cir. 2018) (“Evidence is favorable not only when it tends substantially to negate

guilt but also when it tends to impeach the credibility of a key witness for the prosecution.”)

(internal quotations omitted); Monroe v. Angelone, 323 F.3d 286, 317 (4th Cir. 2003) (applying

Brady principles and concluding that defendant did not receive a fair trial due to failure to disclose

evidence that “would have significantly impaired the credibility of . . . a key prosecution

witness . . . .”).

        Notably, “‘the constitutional duty [to disclose under Brady] is triggered by the potential

impact of favorable but undisclosed evidence.’” Long v. Hooks, 972 F.3d 442, 462 (4th Cir. 2020)

(quoting Kyles, 514 U.S. at 434) (emphasis and alterations in Long). But, the “Constitution is not

violated every time the government fails or chooses not to disclose evidence that might prove

helpful to the defense.’” Blankenship, 19 F.4th at 692 (quoting Kyles, 514 U.S. at 436-37).

        Of relevance here, “the suppressed evidence must be materially favorable to the

accused . . . .” Blankenship, 19 F.4th at 692 (emphasis added). Evidence is “material” when there

is a reasonable probability that, had the evidence been disclosed, the result of the proceedings

would have been different. See Kyles, 514 U.S. at 433-34; United States v. Bagley, 473 U.S. 667,

682 (1985); Chavez, 894 F.3d at 600-01; Savage, 885 F.3d at 220-22; United States v. Parker, 790

F.3d 550, 558 (4th Cir. 2015); United States v. Bartko, 728 F.3d 327, 340 (4th Cir. 2013); United

States v. Kelly, 35 F.3d 929, 936 (4th Cir. 1994).

        But, the “‘reasonable probability’ standard does not require a showing that a defendant,

“more likely than not,” would have “received a different verdict.” Angelone, 323 F.3d at 316.

Rather, “the ‘reasonable probability’ standard is satisfied if ‘the likelihood of a different result is

great enough to undermine confidence in the outcome of the trial, or the suppression ‘cast[s]

serious doubt on the proceedings’ integrity.’” Gilliam, 932 F.3d at 238 (quoting Owens, supra, 67



                                                 -83-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 84 of 152



F.3d at 398) (internal citation omitted; alteration in Gilliam). In Kyles, 514 U.S. at 434, the

Supreme Court said: “The question is not whether the defendant would more likely than not have

received a different verdict with the evidence, but whether in its absence he received a fair trial,

understood as a trial resulting in a verdict worthy of confidence.”

       The Fourth Circuit has observed that, ordinarily, a failure of the prosecution to disclose

exculpatory evidence “turns out to be inadvertent[] . . . .” Angelone, 323 F.3d at 316. Thus, “the

materiality requirement announced in Brady provides an important limitation . . . .” Id. Mere

speculation as to the materiality of the evidence is insufficient. United States v. Caro, 597 F.3d

608, 619 (4th Cir. 2010). Moreover, “exculpatory information is not ‘suppressed’ when a criminal

defendant is already aware of it.” Burgess, 997 F.3d at 550. And, there is no Brady violation when

the alleged exculpatory material is available to the accused from “a source where a reasonable

defendant would have looked.” United States v. Wilson, 901 F.2d 378, 380-81 (4th Cir. 1990); see

United States v. Higgs, 663 F.3d 726, 735 (4th Cir. 2011) (stating that there is also no Brady

violation “if the evidence is available to the defense from other sources or the defense already

possesses the evidence”).

       This case does not concern an alleged failure of the prosecutor to produce Brady material.

Rather, the claim concerns the conduct of the police. Of import here, Brady is not limited to

evidence known only to the prosecutor. In addition, the “obligation applies to ‘evidence known

only to police investigators and not to the prosecutor.’” Blankenship, 19 F.4th at 692 (quoting

Kyles, 514 U.S. at 438). Indeed, law enforcement officers have a duty to turn over to the prosecutor

any material evidence that is favorable to a defendant. See Barbee v. Warden, Md. Penitentiary,

331 F.2d 842, 846-47 (4th Cir. 1964); see also Owens, 767 F.3d at 396. Moreover, Brady’s

obligations do not attach only to the officer who collected the evidence. Rather, Brady applies to any

officer who has knowledge of the exculpatory or impeachment evidence. See Owens, 767 F.3d at 397-
                                                -84-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 85 of 152



98 (holding that police officers possessing the same exculpatory statements could be held liable for

failing to disclose them to prosecutors).

        Nevertheless, and of significance here, the Fourth Circuit has made clear that, “[u]nlike

prosecutors . . . police officers commit a constitutional violation only when they suppress

exculpatory evidence in bad faith.” Gilliam, 932 F.3d at 238; see Burgess, 997 F.3d at 550; Owens,

767 F.3d at 396 n.6, 401. Bad faith may be inferred from the fabrication of evidence and from the

failure to disclose “the most relevant and exculpatory evidence in the case . . . .” Gilliam, 932 F.3d

at 239-40 (finding that plaintiff adequately alleged bad faith in light of allegations that defendants

“intentionally fabricated, obscured, and failed to disclose the most relevant and exculpatory evidence

in the case”). Bad faith may also be inferred through gross deviations from routine police conduct.

See Mellen v. Winn, 900 F.3d 1085, 1104 (9th Cir. 2018) (finding that because the officer defendant

“had participated in hundreds of homicide investigations,” a reasonable jury “could conclude that [the

officer] knowingly suppressed the statements to secure a conviction”); Jimenez v. City of Chicago, 732

F.3d 710, 721-22 (7th Cir. 2013) (noting that errors in investigation “were so severe or persistent as to

support an inference of intentional or reckless conduct that violated a plaintiff’s constitutional rights”).

        In some circumstances, “the knowledge of some who are part of the investigative team is

imputed to prosecutors regardless of the prosecutors’ actual awareness.” United States v.

Robinson, 62 F.3d 941, 951 (4th Cir. 2010); accord Kyles, 514 U.S. at 437. However, there are

no “hard and fast lines about the scope of Brady imputation . . . .” Robinson, 627 F.3d at 952.

        In addition, “to prove a due process violation, [plaintiff] must prove both but-for causation

and proximate causation—in other words, that the alleged wrongful act(s) caused [his] loss of

liberty and the loss of liberty was a reasonably foreseeable result of the act.” Gilliam, 932 F.3d at




                                                   -85-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 86 of 152



238; see Massey v. Ojaniit, 759 F.3d 343, 354-56 (4th Cir. 2014); Evans v. Chalmers, 703 F.3d

636, 647-48 (4th Cir. 2012).52

                           2. An Overview of Johnson’s Contentions

       Plaintiff contends that Johnson’s conviction rested solely on the testimony of L.S. ECF

151 at 10. Moreover, he maintains that “[L.S.’s] trial testimony was false.” Id. With these

contentions as his framework, Johnson asserts numerous claims concerning “key evidence” that

the police allegedly failed to disclose. Id.

       According to plaintiff, the detectives failed to disclose the following, id. at 10-11: L.S.’s

“initial statement,” contained in the Jones Report of July 14, 1988 (ECF 138-4); an alleged “second

interview” of L.S. by a detective at police headquarters on the night of July 14, 1988; the July 19

Report (ECF 151-2 at 13-14), which was allegedly “materially inconsistent” with L.S.’s trial

testimony; Davis’s July 19 Notes (ECF 138-10), which “revealed the presence of another witness

who . . . would have testified that Mr. Johnson was not there”; a negative identification of Johnson

in a photo array (ECF 151-2); notes showing that detectives conducted “a biased, sloppy

investigation; and “other misconduct, including presenting a false and misleading application” for

Johnson’s arrest and “failure to investigate an obvious suspect” in order to “shield” their

“malfeasance.” Defendants argue to the contrary.

       As mentioned earlier, Officer Jones interviewed 15-year-old L.S. at the scene, shortly after

she witnessed the brutal, cold-blooded murder of her cousin. According to Jones, who was then a


       52
          In ECF 151 at 36, plaintiff cites portions of the text from this Court’s Memorandum
Opinion of March 10, 2020 (ECF 45), denying three motions to dismiss (ECF 22, ECF 24, ECF
25). Plaintiff seems to suggest that this Court has already determined that the disputed evidence
was both exculpatory and material. But, in the ruling, the Court expressly indicated that it was
assuming the truth of plaintiff’s allegations, and drawing all inferences in his favor. ECF 45 at 3
n.2. In that light, I found that plaintiff stated a plausible claim for withholding exculpatory
evidence. Id. at 42. And, I observed that, “as alleged,” the evidence was “material.” Id. at 43.

                                               -86-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 87 of 152



rookie cop, L.S. stated that she saw three males with the shooter, but she was unwilling to provide

their names. She explained that she was “in fear of her life.” ECF 138-5 at 2. Moreover, she did

not mention a gun hand-off by Johnson to Hill. ECF 138-5 at 2. To the extent that Jones may

have asked questions of L.S., they are not reflected in the Jones Report. In other words, there is

no indication that L.S. was ever asked whether anyone other than the shooter also had a gun, or

how the shooter came into possession of a gun.

       Jones prepared his report, recounting his interview. But, L.S. did not sign or adopt the

Jones Report.

       Johnson maintains that Jones conducted his interview of L.S. at the Homicide Unit.

Therefore, he claims that afterwards, a homicide detective must have interviewed L.S. And,

plaintiff contends that the police failed to disclose that alleged second interview on July 14, 1988.

       As to Davis’s July 19 Report (ECF 151-2 at 13), which I previously summarized, it

indicates that L.S. said that Johnson handed Hill a small gun. Id. Poopie pointed the gun at the

victim, and it “clicked twice, but didn’t fire.” Id. See ECF 152-2 at 13. L.S. and Taylor ran into

the Night Owl, and five suspects “ran to the front of the store.” Id. The July 19 Report also states

that L.S. “then saw Poopie holding a large black handgun.” Id. The July 19 Report does not

mention that L.S. went to the Night Owl with two other people.

       The July 19 Notes contain the information set forth above. ECF 151-13 at 2-3. However,

the July 19 Notes also reflect that L.S. said she went to the Night Owl with her girlfriend and her

mother’s friend. The July 19 Notes do not include the names of those people, however. Id. Under

the words, “In store at time of shooting,” the July 19 Notes state, id.at 3: “[L.S.], her mothers [sic]

friend, Poopie, Aaron & man he grabbed. Her girlfriend was hiding outside.”




                                                 -87-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 88 of 152



        In L.S.’s Grand Jury testimony, ECF 143, she testified that she saw the victim standing

with five males. Id. at 3, 4. She recalled that as she was going into the Night Owl, “Lamont, he

gave Poop a gun . . . .” Id. at 3. Then, she confirmed that Johnson “hand[ed] Poop the gun[.]” Id.

at 4. When asked what Hill did after Johnson handed him the gun, L.S. testified: “Poop clicked it

twice and it wouldn’t shoot.” Id. at 5. L.S.’s testimony indicated that the gun Johnson handed to

Hill had misfired, and it was not the gun used to shoot Hooper.

        At trial, L.S. testified that Johnson handed Hill a gun after Hill’s gun had misfired. ECF

151-31 at 3-4; see also 137-23 at 7. Specifically, L.S. stated that Hill “shot it twice,” but “nothing

happen[ed].” ECF 151-31 at 4-5. According to L.S., Johnson then “handed [Hill] another gun.”

Id. at 5.

        The trial testimony varied from L.S.’s Grand Jury testimony with regard to the sequence

of when Johnson handed Hill a gun, and if it misfired. It is, however, consistent with the salient

portion of the testimony: Johnson gave Hill a gun to shoot the victim.

        In her trial testimony, L.S. claimed three males were on the playground and two males

were with the victim. Id. at 18. In her Grand Jury testimony, she stated that five males were

standing with the victim. ECF 151-14 at 6.

        In her Grand Jury testimony, L.S. indicated that she had been at her home with her mother’s

friend and her girlfriend. The prosecutor did not ask their names or any other questions relating

to them. But, the Grand Jury testimony was provided to the defense. Indeed, Tayback cross-

examined L.S. vigorously regarding the discrepancies between her Grand Jury testimony and her

trial testimony. ECF 151-31 at 9-59.

        I turn to discuss the claims that various items were allegedly withheld by the Officer

Defendants.



                                                -88-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 89 of 152



                                         a. Jones Report

       The parties disagree as to whether the Officer Defendants failed to disclose the Jones

Report to the prosecutor.

       Det. Davis claimed that, as a matter of general practice, he turned over all information in a

homicide file to the prosecutor. ECF 138-6 at 6. And, the Officer Defendants claim that the Jones

Report was in the homicide file that the SAO reviewed. ECF 138-1 at 23.

       ASA Phillips testified at his deposition that it was his general practice to review the

homicide detective’s book and order the full Baltimore City complaint file and any documents

filed under the complaint number in Central Records. See ECF 138-14 at 8-10. He also testified

that he would have shared the Jones Report with defense counsel pursuant to his “open file policy.”

ECF 151-36 at 3, 4.

       Notably, there is no dispute that the defendants produced Davis’s July 14 Report. ECF

138-3 at 10-13. And, in that report, Davis specifically states that Officer Jones interviewed L.S.

on that date. Id. On that basis, it is difficult to grasp how defense counsel would not have known

about the Jones interview, or at least have known to ask for it.

       Nevertheless, plaintiff’s defense attorney, Tayback, testified in 2012 that he did not

remember receiving the Jones Report. ECF 137-16 at 8. Moreover, the Jones Report was not

mentioned at the trial in 1989, and Jones was not called to testify. Nor did Tayback use the Jones

Report to cross-examine L.S. or Davis. And, Tayback claimed that he would have used the Jones

Report if he had it, because it is “contrary to the State’s theory of the case.” ECF 151-36 at 6.53



       53
          Defendants argue that even if the Jones Report was not disclosed to the prosecutor,
defense counsel could have discovered it through the exercise of due diligence, by ordering the
police reports from Central Records. I reject this contention. In Strickler v. Greene, 527 U.S. 263
(1999), the Court held that an attorney’s knowledge that his client had been interviewed did not
defeat a Brady claim that evidence from that interview had been suppressed. Id. at 285. Tayback
                                                -89-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 90 of 152



        I shall assume, completely arguendo, that the Jones Report was not disclosed to defense

counsel.

                                    b. July 19 Report and July 19 Notes

        Plaintiff claims that defendants suppressed the July 19 Report because Tayback did not use

it at trial, which indicates that he did not have it, and Thomas Carroll’s lawyer learned for the first

time at trial that L.S. identified a photo of Carroll, despite the reference to this identification in the

July 19 Report. ECF 151-34 (Trial Transcript of March 9, 1989), at 4. Plaintiff also asserts that

defendants suppressed the July 19 Notes because the SAO file that defendants produced did not

include them.

        The prosecutor claimed in his Affidavit that the July 19 Report was in his file, and that

defense counsel had access to the file. ECF 138-21 at 4. Moreover, as the Officer Defendants

point out, Det. Davis referenced the July 19 Report during a hearing on a motion to suppress

concerning Carroll. ECF 138-2 at 26. Thus, Davis clearly did not seek to hide its existence. Id.

        ASA Phillips acknowledged at trial that he learned of the two witnesses referenced in the

July 19 Notes for the first time during L.S.’s trial testimony, when she spoke of them. ECF 151-

29 (Trial Transcript of March 15, 1989), at 3. As noted, the July 19 Notes mention that two people

went with L.S. to the Night Owl. But, their names are not mentioned. So, this may explain why

Phillips did not know their names until trial. In other words, even if Phillips had those notes, the

notes did not provide the names of the two individuals. And, as indicated, the July 19 Report does

not mention that L.S. went to the Night Owl with twp other people.



served a discovery request for all exculpatory materials and police reports. ECF 151-26. It was
reasonable for Tayback to rely on the representations in the files tendered to him.



                                                  -90-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 91 of 152



       I cannot determine whether the July 19 Notes or the July 19 Report were in the SAO file

or Det. Davis’s notebook. Because I cannot resolve the factual dispute, I shall assume, arguendo,

that the July 19 Report and the July 19 Notes were not produced prior to trial.

                                           c. Photo Arrays

       Plaintiff contends that the Officer Defendants failed to disclose a non-identification of

Johnson in a photo array. ECF 151 at 38-39. There is no known non-identification, but plaintiff

speculates that one must have occurred.

       Plaintiff was included in at least two photo arrays contained in the Homicide File. Plaintiff

claims (ECF 151 at 12) that in L.S.’s Grand Jury testimony on July 28, 1988, L.S. claimed to have

selected plaintiff’s photo. ECF 151-14 at 14;54 ECF 138-20. Yet, according to plaintiff, the BPD’s

files lack any reference to L.S.’s alleged identification of Johnson, even though the defendants

documented L.S.’s identification of Alvin Hill. See ECF 151-2 at 67-68, 69-70. Given the

defendants’ policy to document an inculpatory identification, as they did with L.S.’s identification

of Hill, Johnson surmises that a jury could reasonably conclude that L.S. failed to identify Johnson,

and thus the Officer Defendants suppressed a non-identification of Johnson. ECF 151 at 40.

       At the Grand Jury, L.S. specifically referenced her photographic identification of

“Tommy,” not Johnson, on July 12. ECF 151-14 at 19-20. As noted earlier, the photograph of

Thomas Carroll was shown to L.S. on July 12, 1988. ECF 151-2 at 14. Plaintiff argues, without

evidentiary support, that L.S. must have mixed up Johnson and Carroll. ECF 151 at 49 n.22

(explaining that David Hightower died in the Carroll brothers’ house).

       Johnson complains out that various documents do not specify the identities of the witnesses

who were shown photo arrays or single photographs, or the identities of the suspects depicted in


       54
            Page 15 of the exhibit, in electronic form, is blank.

                                                  -91-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 92 of 152



the photos. See, e.g., ECF 151-2 at 24, 25, 68; ECF 151-12 at 3. He also notes that the Homicide

File reflects many instances when photos were shown to witnesses, without adequate

documentation. ECF 151 at 21. A check mark appears next to Mim’s name, for example, when a

photo array is referenced. ECF 151-2 at 75. However, according to plaintiff, there is no formal

documentation pertaining to a photo identification made by Mims. ECF 151 at 14. From these

facts, Johnson asks the Court to infer that Johnson must have been included in a photo array, or

his photograph must have been shown, and the witness(es) must have failed to identify him.

       I previously reviewed the facts concerning the use of photos. I highlight here that there is

no evidence that anyone, let alone L.S., viewed a photo array that included Johnson’s photo, or

that a single photo of Johnson was displayed. To be sure, the Homicide File reflects several

instances when witnesses identified Thomas Carroll and Alvin Hill. See ECF 151-12. For

example, Donzella Carroll identified a photograph of Alvin Hill on August 1, 1988; L.S. identified

Alvin as Poopie when shown a “spread” on August 2, 1988; and Kim identified Hill as the shooter

on September 20, 1988. Id. at 2. L.S. also testified before the Grand Jury that she identified a

photograph of Thomas Carroll.

       Johnson has demonstrated that the documentation concerning the use of photos was sloppy.

But, he has failed to produce evidence from which a jury could conclude that the Officer

Defendants withheld or failed to disclose a non-identification of Johnson in a photo array or by

way of use of a single photo.

       The law is clear that, on summary judgment, a nonmovant “must rely on more than

conclusory allegations, mere speculation, the building of one inference upon another, or the mere

existence of a scintilla of evidence.” Humphreys & Partners Architects, L.P. v. Lessard Design,

Inc., 790 F.3d 532, 540 (4th Cir. 2015) (internal quotation marks omitted). Although this Court is



                                               -92-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 93 of 152



mindful that it must draw all inferences in favor of Johnson as the nonmoving party, the inferences

must be reasonable. In my view, the claim of a non-identification of Johnson is little more than

rank speculation.

                                   d. Phantom L.S. Interview

       Johnson insists that Jones interviewed L.S. at the Homicide Unit on July 14, 1988, and that

afterwards, she would have been interviewed by a Homicide Detective. And, he then contends

that the police failed to disclose the second interview of L.S., conducted on July 14, 1988.

       The supposition of a second interview of L.S. on July 14, 1988, is entirely dependent on

the contention that Jones interviewed L.S. at the Homicide Unit in downtown Baltimore. And,

that contention is completely belied by the record.

       It is undisputed that the murder occurred at about 1:15 a.m. on July 14, 1988. Jones

obviously arrived at the scene after that time. In the Jones Report, prepared on July 14, 1988,

when Jones’s memory would have been fresh, he wrote that his interview commenced at 1:50 a.m.,

i.e., about 35 minutes after the murder. See ECF 138-5 at 2. Common sense suggests that Jones

could not have identified L.S. at the scene as someone with whom to speak, and manage to

transport her to the Homicide Unit in downtown Baltimore for an interview, and then begin the

interview process, all by 1:50 a.m.

       In addition, at trial Det. Davis stated that he encountered L.S. at the scene. ECF 138-2 at

25. However, he explained, id.: “She was in a very emotional condition, and it was my decision

to let her go home with her mother.” It was not until July 19, 1988 that he “spoke to her in depth . .

. .” Id. His deposition testimony on July 20, 2021, is consistent with that statement. See ECF

138-6 at 13.




                                                -93-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 94 of 152



       Moreover, Det. Davis’s handwritten notes reflect that the murder occurred at 1:16 a.m. on

July 14, 1988, and the notes contain a reference to L.S.’s first name. ECF 151-12 at 2. Next to

L.S.’s name, it states, id.: “upset briefly interviewed at scene, released.” The notes do not specify

who interviewed L.S., but it is significant that the notes confirm L.S.’s emotional state, and the

interview was brief.

       Significantly, in Det. Davis’s Report to Capt. MacGillivary on July 14, 1988 (ECF 138-3

at 10-13), Davis identified L.S. as a witness, and said, id. at 12: “This witness who was in a [sic]

extremely excited condition stated she was in the store when her cousin . . . was shot.”55 And, of

import, Davis said, id.: “This witness will be interviewed by Homicide Investigators as soon as

possible.” (Emphasis added).       If a Homicide Detective had already interviewed L.S., that

statement would make no sense.

       In addition, and also of import, the plaintiff and the SAO expressly asserted in the Joint

Petition that Jones interviewed L.S. at the scene on July 14. ECF 137-21 at 4. Thus, in Johnson’s

Joint Petition, he told the court a version of events that he now challenges.56


       55
          In the Joint Petition, the SAO credits its interview of L.S. on May 16, 2018. ECF 138-
20. In that interview, L.S. recalled that she was in “shock” at the scene. Her recollection of her
mental state is consistent with Davis’s account.
       56
          The doctrine of judicial estoppel has not been raised. But, its principles are noteworthy.
“‘Judicial estoppel precludes a party from adopting a position that is inconsistent with a stance
taken in prior litigation.’” Minnieland Private Day Sch., Inc. v. Applied Underwriters Captive Risk
Assurance Co., Inc., 867 F.3d 449, 457 (4th Cir. 2017) (quoting John S. Clark Co. v. Faggert &
Frieden, P.C., 65 F.3d 26, 28 (4th Cir. 1995)); see Martineau v. Wier, 934 F.3d 385, 393 (4th Cir.
2019); Zinkand v. Brown, 478 F.3d 634, 638 (4th Cir. 2007). In addition, the doctrine “‘generally
prevents a party from prevailing in one phase of a case on an argument and then relying on a
contradictory argument to prevail in another phase.’” New Hampshire v. Maine, 532 U.S. 742,
749 (2001) (quoting Pegram v. Herdich, 530 U.S. 211, 227, n.8 (2000)) (emphasis added).

        To be sure, judicial estoppel “‘must be applied with caution’” and only “‘in the narrowest
of circumstances.’” Gilliam, 932 F.3d at 233 (quoting Lowery v. Stovall, 92 F.3d 219, 224 (4th
Cir. 1996)); see Faggert & Frieden, 65 F.3d at 29 (instructing that “courts must apply the doctrine
with caution”); accord Thomas v. FTS USA, LLC, 193 F. Supp. 3d 623, 639 (E.D. Va. 2016)
                                                -94-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 95 of 152



        In short, there is no evidence that L.S. was interviewed by any officer other than Jones on

July 14. And, there is no evidence that an interview took place at the Homicide Unit in downtown

Baltimore.

        Against the overwhelming evidence that L.S. was interviewed by Jones at the scene on July

14, 1988, Johnson attempts to create a dispute of fact by relying on the Declaration and the

Affidavit of Jones, provided three decades later. See ECF 138-4; ECF 138-7.

        In Jones’s Declaration of June 25, 2021 (ECF 138-4), he claims that he was instructed by

a homicide detective to take L.S. to the Homicide Unit in downtown Baltimore, which he did. Id.

¶¶ 6, 7. There, he took a statement from L.S., without making any notes. Id. ¶ 7. And, he recalled

that he left L.S. in an interview room, because he “expected a homicide detective to interview”

L.S., consistent with “procedure at the time . . . .” Id. ¶ 13.

        In his Affidavit of August 26, 2021 (ECF 138-7), Jones reiterated that a member of the

BPD told him to transport L.S. to Police Headquarters, where he interviewed her. Id. ¶¶ 4, 5.

Jones recalls that, at the conclusion of his interview, he told a member of the BPD of L.S.’s

presence. Id. ¶ 6.


(observing that judicial estoppel is an “ ‘extraordinary remed[y] to be invoked when a party's
inconsistent behavior will otherwise result in a miscarriage of justice’ ”) (citation omitted). An
equitable doctrine, judicial estoppel is “designed to ‘protect the integrity of the judicial process by
prohibiting parties from deliberately changing positions according to the exigencies of the
moment.’” Martineau, 934 F.3d at 393 (quoting New Hampshire, 532 U.S. at 749-50, 121 S.Ct.
1808); see Folio v. City of Clarksburg, 134 F.3d 1211, 1217 (4th Cir. 1998) (observing that judicial
estoppel “exists to prevent litigants from playing ‘fast and loose’ with the courts”).

         In the Fourth Circuit, judicial estoppel is appropriate only where: “(1) the party sought to
be estopped must be seeking to adopt a position that is inconsistent with a stance taken in prior
litigation; (2) the position sought to be estopped must be one of fact rather than law or legal theory;
(3) the prior inconsistent position must have been accepted by the court; and (4) the party sought
to be estopped must have intentionally misled the court to gain unfair advantage.” Minnieland, 867
F.3d at 458 (internal quotation marks and citation omitted); see Martineau, 934 F.3d at 393;
Gilliam, 932 F.3d at 933. It is a fact-intensive inquiry. See Martineau, 934 F.3d at 394.

                                                 -95-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 96 of 152



       Plaintiff supposes that if L.S. were interviewed by Jones at the Homicide Unit, then she

was necessarily interviewed afterwards by a homicide detective, but the report of that second

interview was not disclosed. Even if Jones interviewed L.S. at Headquarters, as he recalls three

decades later, there is still no evidence that L.S. was then interviewed at that time by a Homicide

Detective.

       To be sure, in the posture of the case, the Court may not weigh the evidence or assess the

credibility of witnesses, and I have not done so. Rather, I rely on basic summary judgment

principles.   The nonmovant cannot rely on the existence of a scintilla of evidence that is

contradicted by overwhelming evidence. Surmise and speculation are not sufficient to create a

genuine dispute of material fact as to plaintiff’s claim that the Officer Defendants failed to disclose

a second interview of L.S. on July 14, 1988, conducted by a homicide detective. See, e.g., Local

Union 7107, 124 F.3d at 640.

       To review, I have assumed a genuine factual dispute as to whether the Officer Defendants

failed to disclose the (1) Jones Report of July 14, 1988; (2) the July 19 Notes; and (3) the July 19

Report. And, in Johnson’s view, these pieces of evidence were exculpatory and material. He

contends that Tayback would have used the Jones Report, the July 19 Report, and the July 19

Notes to impeach L.S.’s trial testimony. See, e.g., ECF 151 at 45-48. Therefore, I turn to the issue

of materiality.

                                           3. Materiality

       Plaintiff insists that L.S. was the only witness who implicated Johnson. Therefore, her

testimony was central to the State’s case against Johnson. Her testimony was certainly critical to

the State. But, she was not the only witness who implicated Johnson. Plaintiff ignores the




                                                 -96-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 97 of 152



testimony of K.A., who consistently maintained that Johnson was with Hill and Dorsey at the time

of the murder.

           As discussed repeatedly, Officer Jones interviewed L.S., the victim’s cousin, shortly after

the murder. The Jones Report does not indicate that L.S. said Johnson gave a gun to Hill. Nor did

she provide the names of any assailants. And, she did not mention that she went to the Night Owl

with her friend and her mother’s friend.

           According to Davis’s July 19 Notes, his July 19 Report, and L.S.’s Grand Jury testimony

of July 28, L.S. identified Johnson and others as the assailants. And, the July 19 Notes, the July

19 Report, and the Grand Jury testimony include statements that Johnson handed Hill a gun. There

is some inconsistency as to when Johnson provided the gun and whether that gun was the one that

misfired. But, there is no inconsistency with respect to L.S.’s contention that Johnson gave a gun

to Hill.

           In addition, the July 19 Notes reflect that two people went to the Night Owl with L.S., but

their names are not identified. Those people are not referenced at all in the July 19 Report. And,

in the July 19 Notes, L.S. claimed that her girlfriend fled the store.57

           Johnson claims that because L.S. knew Johnson, she certainly would have provided his

name, or a description of him, to Jones if she had actually seen him at the time. Yet, when L.S.

spoke to Jones soon after the murder, she did not mention Johnson. Thus, Johnson contends that

the absence of any reference to him in the Jones Report exculpates him. And, he claims that the

Jones Report was material because his defense attorney, Tayback, would have used the Jones

Report at trial to impeach L.S.. In addition, plaintiff argues that the Jones Report could have been




           57
                In L.S.’s interview in 2018, she claimed her friend was hiding at the time of the shooting.

                                                      -97-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 98 of 152



used to impeach Det. Davis, because Davis claimed that he did not speak to L.S. on the night of

the murder.

       These arguments are unconvincing. It is plainly inaccurate to suggest, based on the Jones

Report, that L.S. was unable to identify Johnson. L.S., who was 15 years old at the time of the

murder, was interviewed at the scene, within minutes of the brutal murder of her cousin. She stated

that there were three black males “with [the] suspect,” one of whom she recognized but did not

know the name. ECF 138-5 at 2. As to the other two black males with the suspect, Jones claimed

that L.S. “know[s] the names . . . but she did not want to give the names because she’s in fear of

her life.” Id. That statement is not inconsistent with L.S.’s later testimony, because it is not an

inability to identify. Rather, it was an unwillingness to identify.

       To be sure, at the hearing on the 2012 Petition before Judge Murdock, Tayback claimed

that he would have used the Jones Report because it is “contrary to the State’s theory of the case.”

ECF 151-36 at 6. But, the State never claimed that Johnson was the shooter. And, it is not entirely

clear that a seasoned attorney like Tayback would have opted to use the Jones Report, given the

risk that doing so may well have opened the door to an explanation by L.S. as to why she declined

to identify the suspects, including Johnson: She was in fear for her life.

       Johnson also asserts that the Jones Report is material because L.S. did not mention a gun

hand-off, which Tayback also would have used for impeachment. ECF 151 at 45. Notably, the

Jones Report is Jones’s account of what L.S. said; it is not actually L.S.’s statement. And, there is

no indication that L.S. was ever asked whether anyone else, apart from the shooter, had a gun. Her

later statements, asserting that Johnson gave a gun to Hill, is not actually inconsistent with the

initial statement that “the suspect . . . came into the bar,” and “pulled a . . . gun from his

waistband . . . .” ECF 138-5 at 2.



                                                -98-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 99 of 152



       The reasoning of two Maryland courts that considered Johnson’s claim concerning the

Jones Report is noteworthy.

       Baltimore City Circuit Court Judge Murdock considered the substance of the Jones Report

in connection with Johnson’s post-conviction challenge. ECF 163-2. She stated, id. at 5: “The

[L.S.] statement, albeit vague, is materially consistent with the witness’s trial testimony. . . .

Notably, the statement fails to state that Petitioner was not present at the scene and fails to provide

the name of any suspect, not just Petitioner. As a result, the statement could be used to point out

her initial lack of detail, but not any inconsistency on the actual merits.” Judge Murdock concluded

that the “newly discovered evidence,” i.e., the Jones Report, was not exculpatory and would not

have created a significant possibility of a different outcome at trial, even if it had been admitted.

       On appeal, the Maryland Court of Special Appeals soundly agreed. ECF 137-16. It stated,

id. at 11: “Although there were minor inconsistences between the police report and L.S.’s trial

testimony, the circuit court was correct that the police report was not material.” The appellate

court reasoned, id. at 11-12:

           At trial, as previously noted, L.S. testified that she saw the victim talking in
           front of the bar to the shooter and four other men (including Johnson). In
           the report, she told the officer that there were three black males with "the
           suspect," one fewer than what she had said at trial. But the court was correct
           that L.S. neither acknowledged that Johnson was not one of those three
           other men present at the scene nor did she name other individuals in the
           report. Significantly, she said in the report that she knew the name of two
           of the unnamed black males, but "she did not want to give the names
           because she's in fear of her life."

           The incriminating portion of L.S.'s testimony was that Johnson, the shooter,
           and the other men were talking to the victim near the bar. According to L.S.,
           the shooter pulled out a gun, aimed it at the ground, shot twice, but the gun
           misfired. She then testified that Johnson handed the shooter another gun,
           and the shooter ran after the victim into the bar. In the bar, the victim was
           holding another man as a shield, but, after that man escaped, the shooter
           shot and killed the victim with the gun that Johnson had handed to him.


                                                 -99-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 100 of 152



           The police report recounts a similar set of circumstances. According to the
           report, L.S. told the officer that the shooter pulled a gun from his waistband
           and held it down toward the floor. The victim grabbed a man named Marvin
           Reid to use as a shield, but, explained L.S. in the report, Reid "somehow
           got away and hit the ground." She then ran out and heard five shots.

           As the court concluded, there is nothing in the report that shows that L.S.
           "testified falsely on the core merits of the case under review." Jackson, 164
           Md. App. at 698. Because the defense could have used the report only to
           further undermine L.S.'s testimonial credibility, the circuit court did not
           abuse its discretion when it found the report to be "merely impeaching"
           evidence and not "material."

       At trial, Tayback made thorough use of L.S.’s Grand Jury testimony to cross-examine her,

and to establish inconsistencies in L.S.’s trial testimony. Of relevance, the Maryland appellate

court said, ECF 137-16 at 13:

           Notably more damaging to L.S.'s credibility than her statement in the
           "newly discovered" [Jones] police report was her grand jury testimony,
           where she said that Johnson handed the shooter the gun that misfired, rather
           than the murder weapon-a statement that contradicted her version at trial.
           And Johnson's trial counsel thoroughly cross-examined her on that
           contradiction, among other things, without convincing the jury that
           Johnson was innocent. There is nothing in the police report that suggests
           it would have been more persuasive than defense counsel's cross-
           examination of L.S.. Accordingly, the circuit court did not abuse its
           discretion in denying Johnson's petition for writ of actual innocence.

       As noted, in the Jones Report, there is no indication that L.S. mentioned the presence of

her girlfriend or her mother’s friend. On the other hand, there is no indication that she was asked

a question that would have elicited that response. In any event, that a 15-year-old relative of a

murder victim, interviewed within minutes of the crime, might not have thought to mention the

two others who also went to the store, is neither exculpatory nor material.

       Moreover, in her Grand Jury testimony, L.S. mentioned that she had been at her home with

her girlfriend and her mother’s friend. ECF 138-12 at 3. Yet, the prosecutor failed to inquire




                                              -100-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 101 of 152



further. But, Tayback had the Grand Jury testimony. So, he was certainly on notice of the fact

that L.S. had been with two others shortly before the incident.

       According to Johnson, if Tayback had access to the July 19 Notes, he would have learned

of Lazenby’s existence and then would have obtained her favorable testimony. ECF 151 at 47-48.

Johnson asserts that Lazenby would have told the police that she did not see him at the Night Owl

on July 14, 1988. ECF 151 at 47-48. But, perhaps most significant, there is no basis whatsoever

to conclude that the Officer Defendants were aware that the two individuals who went to the store

with L.S. had exculpatory information. Thus, they cannot be accused of hiding evidence favorable

to Johnson.

       Unidentified BPD officers attempted to interview Lazenby on the day of the murder. ECF

138-15 at 13-14. At Lazenby’s deposition in May 2021, however, she testified that three officers

came to her house on the day of the murder, and her mother unequivocally refused to allow the

officers to speak with her. Id. at 14-17. And, in a pretrial statement, L.S. had said that Lazenby

fled the Store. ECF 151-13 at 3. Thus, there is no basis to conclude that the officers were aware

that Lazenby would have exculpated Johnson. And, there is no indication that any police officer

ever spoke to the man identified as Quinton, i.e., the friend of L.S.’s mother.

       Moreover, the July 19 Notes do not contain the names of the two people who went with

L.S. to the Night Owl on July 14. So, even if Tayback had the July 19 Notes, he would have had

to track down the identities of the two individuals. And, in effect, he had almost the same clues

from L.S.’s Grand Jury testimony. Yet, it appears that Tayback did nothing with that information.

       Johnson also claims Tayback could have used the evidence of an unsuccessful attempt to

interview Lazenby to cross-examine Det. Davis on his failure to properly investigate the homicide.




                                               -101-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 102 of 152



Id. at 48. The unsuccessful attempt to interview Lazenby has no impeachment value. The Officer

Defendants’ failure to pursue every possible witness does not amount to a Brady violation.

       As to Det. Davis, the Jones Report would not have impeached his testimony. Davis never

claimed that L.S. was not interviewed at the scene.

       Johnson also claims Tayback could have used the July 19 Report to impeach Det. Davis

because at trial Davis denied writing the July 19 Report. However, Davis never denied authoring

the July 19 Report, as Johnson suggests. Davis was asked whether he took “a written statement”

from L.S. at the time he interviewed her. ECF 163-5 at 3. Davis explained: “No, sir. I made

notes, written notes. It’s her recollection of what happened.” Id. In police parlance, that assertion

was correct; L.S. did not provide a signed statement.

       At oral argument, and in follow-up correspondence (ECF 176), Johnson’s counsel cited

Burgess v. Goldstein, 997 F.3d 541, 552 (4th Cir. 2021),58 for the proposition that summary

judgment in favor of defendants would be inappropriate, because “thin evidence is not the same as

no evidence.” On this basis, plaintiff contends that, in the light most favorable to plaintiff, and

drawing the inferences in his favor, there is evidence from which a jury could infer that the Officer

Defendants suppressed exculpatory, material evidence, in violation of Brady.

       In Burgess, the BPD was investigating the 1994 murder of Michelle Dyson, who had been

killed in the basement of her home while her four children were upstairs. Id. at 546. Sabein

Burgess, Dyson’s boyfriend, had left the home before the murder to facilitate a drug deal, and

when he returned, he allegedly found the front door of the home cracked and the front room

ransacked. He then found Dyson in the basement. She had been shot to death. Id.


       58
          The Court notes that the defendant in Burgess (Det. Goldstein) is a defendant here. And,
Gordon Tayback represented the plaintiff, Sabein Burgess, in his underlying criminal case, which
gave rise to the Burgess civil litigation.

                                               -102-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 103 of 152



       The BPD received a call about a shooting at the home at around 10:27 p.m. on October 5,

1994. Id. Det. Goldstein, the lead detective, arrived at the scene at 10:45 p.m. Id. By then, three

or four uniformed BPD officers were already on the scene. Id. It was undisputed that Goldstein

was not in uniform. Id. at 551.

       Burgess was convicted of Dyson’s murder and sentenced to life imprisonment plus twenty

years. Id. at 547. Three years after Burgess’s conviction, a man named Charles Dorsey, then-

serving a 45-year prison sentence, confessed to killing Dyson. Id. Burgess successfully filed a

Petition for Writ of Actual Innocence in the Circuit Court for Baltimore City. Id. Burgess’s

convictions were vacated, and the State entered a nolle prosequi. Id. at 548. Burgess subsequently

sued the BPD and others, claiming federal and state civil rights violations. Id.

       By the time the civil case went to the jury, Det. Goldstein was the only remaining

defendant. Id. Burgess claimed he violated Brady by concealing exculpatory evidence of FBI

Notes referring to other suspects, and by suppressing information from a child of the victim, who

allegedly saw a man other than Burgess enter the home. Id. Additionally, Burgess claimed that

the defendant fabricated a police report stating that all the children were asleep at the time of the

murder. Id.

       The facts regarding Dyson’s four children at the home were “heavily disputed.” Id. at 546.

Reports from the BPD and the Department of Social Services (“DSS”) indicated that the children

were asleep at the time of the murder. Id. The homicide report noted that the four children were

asleep on the second floor and were “turned over” to the DSS. Id. at 547. Of the thirteen officers

who responded to the scene, eight officers testified at trial, or their testimony was stipulated, and

all denied speaking to the children. Id. at 546.




                                               -103-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 104 of 152



        Some eighteen years after Dyson’s murder, id. at 551, two of Dyson’s children, Brian and

Tawanda, claimed that “one or more uniformed BPD officers . . . questioned them” in their living

room on the night of the murder. Id. at 546. Notably, Brian claimed that he woke up on the night

of the murder and saw a man force his mother into the basement and that man was not Burgess.

Id. at 547-48. Officers testified that if the children had been interviewed, the defendant would

have known or been involved. Id. at 551. Another officer’s report from the night of the murder

indicated that the defendant had been in the house with the children for forty-three minutes. Id.

On that basis, Burgess asserted that a jury could conclude that the defendant saw the children and

spoke to one or more of them. Id. A handwritten note from another detective suggested that the

victim’s father had been trying to get in touch with Goldstein and referenced Brian as a witness.

Id. at 547.

        FBI Notes suggested that Dyson’s murder was drug-related. In addition, the FBI Notes

suggested that there were other witnesses and potential suspects, and “that the information had

been passed on to the case detective of the BPD Homicide Unit.” Id. at 548.

        In sum, Burgess claimed that Goldstein violated Burgess’s constitutional rights by

concealing exculpatory evidence, including that the police spoke to Brian at the home, who said

he saw someone other than Burgess enter the home, and concealing information from the FBI

about alternative suspects; fabrication of a police report stating that all four children were asleep

at the time of the murder; malicious prosecution of Burgess, without probable cause; and

intentional infliction of emotional distress. Id.

        In a pretrial ruling, Judge Bennett allowed the claims to proceed against several defendants,

while granting summary judgment for other officer defendants. Burgess v. Baltimore Police Dep’t,

RDB-15-0834, 2017 WL 4947004, at *1 (Dist. Md. Oct. 31, 2017). In denying summary



                                                -104-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 105 of 152



judgment, the court found a genuine dispute of material fact as to whether the defendants withheld

the eyewitness account of the victim’s son, Brian. Id. at *11. Additionally, he found a genuine

dispute of material fact regarding the exculpatory nature and suppression of the FBI Notes. Id. at

*12.

       Notably, Judge Bennett said, in part: “Defendants do not challenge that Brian Rainey’s

eyewitness account, which he allegedly shared with Defendants on the night of his mother’s

murder, is exculpatory evidence.” Id. at 11. The factual dispute was solely based on whether the

defendants suppressed Brian’s eyewitness report, not whether the report was material or

exculpatory. Id.

       Additionally, regarding the materiality of the FBI Notes, Judge Bennett reasoned: “Plaintiff

also argues that FBI-vetted information that the motive for Dyson’s murder related to drugs is

‘qualitatively different’ different [sic] than Plaintiff’s admitted awareness that Dyson used and/or

sold drugs. For example, FBI information explicitly linking the drug trade to the murder may have

enabled Tayback to present the drug angle at [Burgess’s criminal] trial—where the trial judge had

rejected evidence of Dyson’s drug use as ‘irrelevant.’” Id. at 12. Thus, Judge Bennett concluded

that the information in the FBI Notes pointing to other potential suspects and a drug-related motive

for Dyson’s murder presented a factual dispute as to the materiality of the FBI Notes and whether

the defendants withheld them. Id.

       After a ten-day trial, the jury returned a $15 million verdict in favor of Burgess. Burgess,

997 F.3d at 549. The defendant then moved under Rule 50 for a judgment in his favor as to the

four claims presented to the jury, but the district court denied those claims. Id. The Fourth Circuit

characterized the evidence as “thin,” and regarded Goldstein’s arguments as “compelling.” Id. at




                                               -105-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 106 of 152



552. But, applying the applicable standard of review, the Fourth Circuit affirmed.59 It reasoned

that “thin evidence is not the same as no evidence.” Id. at 552. Moreover, the Court emphasized

the importance of the jury in resolving credibility determinations.          Id. at 554.   And, in a

comprehensive review of the evidence, it concluded that the jury could have found, inter alia, that

Goldstein had, in fact, interviewed the children, despite his claim to the contrary. Id. at 552.

       Burgess is distinguishable. Burgess involved a Rule 50 motion for judgment as a matter

of law, after the case had surpassed the summary judgment phase and reached a jury. Through his

Rule 50 motion, the defendant asked the Court to disturb the jury’s factual determinations, which

included the jury’s credibility determinations and decisions regarding which testimony to accept

and which to reject. The Fourth Circuit refused to upset the jury’s findings.

       Moreover, the newly discovered evidence in Burgess is altogether unlike the evidentiary

issues in this case. In Burgess, two of the victim’s children came forward—albeit many years after

the murder—and claimed to have spoken to officers on the night of the murder, contrary to the

defendant’s representations; the son, Brian, claimed to have informed the BPD that he saw an

intruder who was not Burgess; and, there was a forty-three-minute period during which the

defendant was in the home with the children.

       Here, Johnson claims that Jones interviewed L.S. on the night of the murder, without

disclosure. But, in Davis’s report to Capt. MacGillivary on July 14, 1988, Davis expressly stated

that Officer Kenneth Jones of the Northwest District “interviewed . . . L.S., F/B/15 . . . . She is the

cousin of the victim and witnessed the shooting . . . .” ECF 138-3 at 10-13. And, the plaintiff does



       59
          The Fourth Circuit concluded that the district court admitted the FBI Notes in error.
Burgess, 997 F.3d at 560. However, the Court concluded that this error was harmless. Id. at 561.
Notably, the Fourth Circuit did not disturb Judge Bennett’s conclusion that a factual dispute existed
concerning the materiality of the FBI Notes and whether the defendant withheld the FBI Notes.

                                                -106-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 107 of 152



not contend that the Officer Defendants failed to disclose Davis’s report of July 14, 1988.

Moreover, the July 19 Notes and the July 19 Report do not exculpate Johnson. Nor is there a claim

of fabrication of evidence.

       In sum, the Jones Report, the July 19 Notes, and the July 19 Report were not material.

                                              4. Bad Faith

       Even assuming materiality, plaintiff’s claims fail, because there is no evidence of bad faith

on the part of the Officer Defendants.

       As discussed earlier, “police officers and prosecutors have different obligations from one

another with respect to the disclosure of exculpatory evidence . . . .” Burgess, 997 F.3d at 550; see

also Owens, 767 F.3d at 396 n.6. To establish a Brady violation by a police officer, the plaintiff

must prove, inter alia, suppression of evidence that was favorable to the plaintiff; the officer

suppressed the evidence in bad faith; and prejudice ensued. See, e.g., Burgess, 997 F.3d at 550.60

       Johnson asserts that he has generated evidence from which a jury may infer bad faith, based

on the combined failure to disclose the Jones Report; to name Officer Jones in the prosecution

reports; the failure to document conversations with witnesses such as L.S., leading up to trial; the

failure to investigate leads; and the falsehood in the application for charges, in which Davis stated

that Johnson had entered the Night Owl. ECF 151 at 43-44. Johnson also cites Gilliam, 932 F.3d

at 216, to argue that bad faith may be inferred from deviations from police policies.

       I pause to review Gilliam. In that case, two teenaged brothers were wrongly convicted for

the rape and murder of eleven-year-old Sabrina Buie in 1983. They were later exonerated based

on DNA evidence linking the crime to another individual who was known to officers at the time

of the investigation. Id. at 221-22.


       60
            The Fourth Circuit did not address the issue of bad faith in Burgess.

                                                -107-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 108 of 152



       The brothers, who were intellectually disabled, had signed coerced and fabricated

confessions drafted by law enforcement officers. A later investigation revealed that DNA evidence

found on a cigarette butt at the scene of the crime matched Roscoe Artis, a man convicted in 1984

for the rape and murder of Joanna Brockman. Id. at 225.61 That murder occurred just a month

after Buie’s murder, in a manner that was “strikingly similar” to Buie’s murder. Id. The prosecutor

and the defense attorney in the Brockman murder case were also involved in the plaintiffs’ trial

just two months later. Id.

       In addition, a potential eyewitness in the Buie case, Mary Richards, promptly told

investigators that she saw Artis attacking Buie. Id. at 228. However, that information was never

disclosed to the defendants. Id. DNA tested on items at the crime scene did not match the

plaintiffs. Id. And, investigators cancelled a fingerprint comparison for Artis as to a beer can

found at the Buie crime scene. Id.

       After the defendants in the Buie murder case were exonerated, they filed suit pursuant to §

1983 against the law enforcement officers who had investigated the crime for which they had been

convicted. Id. at 222. The plaintiffs in the civil case (i.e., the defendants in the criminal case)

alleged that the police officers coerced and fabricated their confessions, and then, to cover up their

wrongdoing, withheld evidence implicating Artis in Buie’s murder. Id. at 226, 228. As mentioned,

although investigators submitted Artis’s fingerprints for comparison to prints found at the Buie

crime scene, the investigators canceled the request, and the fingerprint comparison was never

completed. Id. At Richards’s deposition in the § 1983 case, she claimed that she told the police

at the time that she saw Artis attacking Buie. Id. at 228. Yet, the defendants’ investigation notes

do not reflect this information. Id. Instead, the notes of one officer said Richards reported that


       61
            The name also appears as “Brockhart.” Id. at 228.

                                                -108-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 109 of 152



she saw three “Indian males,” one of whom was talking to the victim. Id. at 239. Another

detective’s notes indicated only that the interview generated “negative results.” Id.

       The officers moved for summary judgment on the basis of qualified immunity. The district

court denied their motion, and the officers appealed. Id. at 222. The Fourth Circuit affirmed.

       The defendants maintained that they did not violate Brady. They argued, inter alia, that

Artis’s criminal history and conviction were publicly available to the plaintiffs, the prosecutor in

the plaintiffs’ case knew about Artis’s criminal history, and one of the plaintiffs’ attorneys also

represented Artis in the 1984 Brockman murder trial. Id. at 238-39. Thus, the defendants asserted

that the plaintiffs were already aware of any Brady evidence. Id.

       The Fourth Circuit soundly rejected the defendants’ argument. Id. at 239. It reasoned, id.:

       It is the officers’ job to investigate the crime and identify the suspects, not the
       prosecutor’s. The same is true for [plaintiffs’ attorney]: the connection between
       Artis and one of [the plaintiffs’] counsel is not enough to show that [the plaintiffs]
       possessed relevant information about Artis. Even if [plaintiffs’ attorney] noticed
       the similarities between the crimes, he had no way to know that [the defendants]
       had considered Artis a suspect in Buie’s murder, which is the key evidence [the
       defendants] failed to disclose.

       The Court made clear that “police officers commit a constitutional violation only when

they suppress exculpatory evidence in bad faith.” Id. at 238. It recognized that the Brady-based

due process claims “hinge on the jury determining that [the officers] suppressed material Brady

exculpatory evidence in bad faith.” Id. And, plaintiffs must prove “both but-for causation and

proximate causation – in other words, that the alleged wrongful act(s) caused [the] loss of liberty

and the loss of liberty was a reasonably foreseeable result of the act.” Id.; see Massey v. Ojaniit,

759 F.3d 343, 354-56 (4th Cir. 2014).

       But, the Court permitted an inference of bad faith because of the “stark difference” between

what one of the witnesses alleged she told the officers and what the officers recorded in their notes.



                                                -109-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 110 of 152



Id. The Court concluded that if the plaintiffs’ assertions are true, then defendants “intentionally

fabricated, obscured, and failed to disclose the most relevant and exculpatory evidence in the case:

the statement from an eye-witness affirmatively identifying a different suspect as Buie’s attacker.”

Id. at 239-40 (emphasis in Gilliam).       Accordingly, the Court concluded that the plaintiffs

adequately showed that the officers acted in bad faith. Id. at 240.

       A square peg does not fit in a round hole. Plaintiff cannot show here the kind of “stark

contrast” in conflicting evidence that was patently evident in Gilliam. The egregious facts in

Gilliam, including the withholding of critical exculpatory evidence from an eye-witness, and

buried evidence implicating the true perpetrator, are completely unlike the facts in this case.

       There is no serious contention here that any evidence was fabricated. And, as stated, L.S.’s

unwillingness to name the suspects when she was interviewed by Jones at the scene was not

inconsistent with her later willingness to do so. As to the initial omission of L.S.’s reference to a

gun hand-off, that, too, is not inherently inconsistent with L.S.’s later, more fulsome account of

the events. And, of import, Davis expressly disclosed Jones’s interview of L.S. in his report to

Capt. MacGillivary on July 14, 1988. See ECF 138-3 at 10-13. He stated: “Officer Kenneth Jones,

NWD interviewed . . . L.S..” ECF 138-3 at 11. Such conduct is a far cry from hiding evidence.

       Moreover, Det. Davis referenced the July 19 Report during a suppression hearing. That

disclosure, too, is inconsistent with an intent to hide the evidence. ECF 138-2 at 26.

       With respect to the photo displays, the BPD Officers may have been sloppy. But, there

was certainly documentation of photo displays on numerous occasions. The conduct simply does

not equate to bad faith. And, there is no evidence to suggest that a negative identification of

Johnson ever occurred. Thus, a non-identification was not hidden. Indeed, the Joint Petition that

Johnson submitted with the SAO, seeking his exoneration, stated: “At no point during [the July



                                               -110-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 111 of 152



19] interview or thereafter was a pre-trial identification procedure or confirmatory picture of

Jerome Johnson shown to [L.S.].” ECF 151-30 at 6.

        At the motions hearing, Johnson’s counsel attacked the overall quality of the defendants’

investigation and claimed that the defendants deviated from BPD policies concerning adequate

documentation, and conducted a poor investigation. In his view, such conduct amounted to bad

faith. But, “in general, there is no independent constitutional right to investigation of a third party.”

Gilliam, 932 F.3d at 240; see also Baker v. McCollan, 443 U.S. 137, 146 (1979); Sattler v. Johnson,

857 F.2d 224, 227 (4th Cir. 1988). And, there is no basis to conclude that the failure to investigate

Quinton or to pursue Lazenby was the product of bad faith. For one thing, the officers did, in fact,

seek to talk to Lazenby. But, Lazenby’s mother categorically refused to allow the officers to talk

to her. ECF 138-15 at 14-17. Because the officers had no knowledge of what Lazenby would

have said, they cannot be said to have buried what they did not know.

        Moreover, before trial, L.S. claimed that Lazenby was hiding at the time of the shooting.

ECF 151-13 at 3. So, from what the officers knew, Lazenby did not see anything, and therefore

her testimony would not have helped Johnson. At trial, L.S. said Lazenby would have seen what

she saw. ECF 151-31 at 12. If so, Lazenby’s testimony would have bolstered L.S.’s testimony

inculpating Johnson.

        Plaintiff also fails on the final prong. He has not adduced evidence that defendants’

conduct was a but-for cause or proximate cause of his conviction. He has not adduced evidence

that the alleged wrongful acts caused his loss of liberty, or that his loss of liberty was a reasonably

foreseeable result. Gilliam, 932 F.3d at 238.

        I shall grant the Officer Defendants’ Motion as to Count I.




                                                 -111-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 112 of 152



                                   B. Malicious Prosecution

       Plaintiff has lodged claims for malicious prosecution under both federal (Count III) and

state law (Count VI). ECF 116, ⁋⁋ 210-14, 227-234. Johnson asserts that Davis made an

inaccurate statement in the Warrant Application concerning Johnson’s entry into the Night Owl.

Defendants concede in their motion that no witness told the police that plaintiff entered the bar.

See ECF 138. However, Dorsey suggested in his signed statement to Det. Davis that Johnson

followed Hill into the bar. ECF 137-2 at 5-6.

       The Fourth Circuit has recognized that “there is no such thing as a ‘§ 1983 malicious

prosecution’ claim.” Lambert v. Williams, 223 F.3d 257, 262 (4th Cir. 2000), cert. denied, 531

U.S. 1130 (2001). Rather, a claim for malicious prosecution “‘is properly understood as a Fourth

Amendment claim for unreasonable seizure which incorporates certain elements of the common

law tort.’” Hupp v. Cook, 931 F.3d 307, 323-24 (4th Cir. 2019) (quoting Evans v. Chalmers, 703

F.3d 636, 647 (4th Cir. 2012)). I shall consider Count III and Count IV together.62

       To state such a claim under § 1983, a plaintiff must plausibly allege that the defendant “‘(1)

caused (2) a seizure of the plaintiff pursuant to legal process unsupported by probable cause, and

(3) criminal proceedings terminated in the plaintiff's favor.’”           Humbert, 866 F.3d at

555 (quoting Evans, 703 F.3d at 647); see Shrewsbury v. Williams, 844 F. App’x 647, 649 (4th

Cir. 2021) (per curiam). In a malicious prosecution claim under Maryland law, the plaintiff must

satisfy those elements and show that the defendant acted intentionally. See Caldor, Inc. v.

Bowden, 330 Md. 632, 657, 625 A.2d 959, 971 (1993).



       62
          There are, of course, notable differences between the claims. For instance, qualified
immunity is a cognizable defense to a § 1983 claim for malicious prosecution, but it presents no
bar to an analogous state law claim. See Borzilleri v. Mosby, 189 F. Supp. 3d 551, 560 n.4 (D.
Md. 2016), aff'd, 874 F.3d 187 (4th Cir. 2017).

                                                -112-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 113 of 152



       As indicated, the lack of probable cause is a central component of the claims. Probable

cause for an arrest “requires only a probability or substantial chance of criminal activity, not an

actual showing of such activity.” Illinois v. Gates, 462 U.S. at 243-44, n.13 (1983); see

also District of Columbia v. Wesby, ___U.S.___, 138 S. Ct. 577, 586 (2018). An officer has

probable cause when there are “‘facts and circumstances within the officer’s knowledge that are

sufficient to warrant a prudent person, or one of reasonable caution, in believing, in the

circumstances shown, that the suspect has committed . . . an offense.’” Cahaly v. Larosa, 796 F.3d

399, 407 (4th Cir. 2015) (alterations in Cahaly) (quoting Michigan v. DeFillippo, 443 U.S. 31, 37

(1979)).

           In Maryland v. Pringle, 540 U.S. 366 (2003), the Supreme Court reiterated, id. at 370-

71 (citations and quotations marks omitted):

       [T]he probable-cause standard is a practical, nontechnical conception that deals
       with the factual and practical considerations of everyday life on which reasonable
       and prudent men, not legal technicians, act. Probable cause is a fluid concept—
       turning on the assessment of probabilities in particular factual contexts—not
       readily, or even usefully, reduced to a neat set of legal rules.

               The probable-cause standard is incapable of precise definition or
       quantification into percentages because it deals with probabilities and depends on
       the totality of the circumstances. We have stated, however, that [t]he substance of
       all the definitions of probable cause is a reasonable ground for belief of guilt, and
       that the belief of guilt must be particularized with respect to the person to be
       searched or seized[.]

       Notably, probable cause is “‘not a high bar.’” United States v. Bosyk, 933 F.3d 319, 315

(4th Cir. 2019) (quoting Wesby, 138 S. Ct. at 586); see Kaley v. United States, 571 U.S. 320, 338

(2014); United States v. Blakeney, 949 F.3d 851, 859 (4th Cir. 2020). It “is a flexible standard

that simply requires ‘a reasonable ground for belief of guilt’ and ‘more than bare

suspicion.’” United States v. Ortiz, 669 F.3d 439, 444 (4th Cir. 2011) (quoting Brinegar v. United

States, 338 U.S. 160, 175 (1949)). The “standard” of “‘reasonable ground for belief of guilt’

                                               -113-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 114 of 152



requires less of a showing than does the formal preponderance-of-the evidence standard.” Ortiz,

669 F.3d at 444-45 (citing Gates, 462 U.S. at 235). Indeed, such “[f]inely-tuned standards . . .

useful in formal trials, have no place in the magistrate’s decision.” Gates, 462 U.S. at 235;

see United States v. Drummond, 925 F.3d 681, 687 (4th Cir. 2019); United States v. Allen, 631

F.3d 164, 172 (4th Cir. 2011).

       Moreover, probable cause is an objective standard, viewed from the perspective of “an

objectively reasonable police officer[.]’” Wesby, 138 S. Ct. at 586 (citation omitted). A court does

“‘not examine the subjective beliefs of the arresting officers to determine whether they thought

that the facts constituted probable cause.’” Gilliam, 932 F.3d at 234 (quoting Smith v. Munday,

848 F.3d 248, 253 (4th Cir. 2019)). And, it is determined based on the totality of the circumstances.

Gilliam, 932 F.3d at 234.

       When reviewing an issuing judge’s probable cause finding, consideration is ordinarily

confined to the four corners of the application documents. See, e.g., Gates, 462 U.S. at 238. And,

the court generally considers only the “information the officers had at the time of the arrest.”

Gilliam, 932 F.3d at 234. But, in Maryland, an officer who has probable cause to believe a suspect

has committed a felony does not need a warrant to arrest the individual. Maryland law states: “A

police officer without a warrant may arrest a person if the police officer has probable cause to

believe that a felony has been committed or attempted and the person has committed or attempted

to commit the felony whether or not in the presence or within the view of the police officer.” Md.

Code, C.P. § 2-202(c).

       In Gilliam, discussed earlier, the defendants argued that they did not violate the plaintiffs’

constitutional rights because they had probable cause to arrest the plaintiffs based on the plaintiffs’

confessions. Id. at 233-34. The district court “rejected” the argument, concluding that “whether



                                                -114-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 115 of 152



[defendants] had probable cause to arrest [plaintiffs] turns on whether [plaintiffs’] confessions

were coerced or fabricated, which is a factual question.” Id. at 234. The Fourth Circuit agreed,

reasoning that a coerced or fabricated confession that the police know to be coerced, based on their

use of coercive interrogation tactics, the age, and the intellectual disabilities of the plaintiffs, and

the inconsistencies between the confessions and the crime scene, “does not give police probable

cause to arrest the suspect as a matter of law.” Id.

        Johnson contends that Det. Davis made a false statement in the Application For Statement

of Charges when he wrote that “[t]he victim then ran into the Night Owl Bar followed by Jerome

Johnson and Alvin Hill.” ECF 151-17. Defendants concede in their motion that no witness told

the police that plaintiff entered the bar. See ECF 138 (“Plaintiff was never alleged to have gone

inside the bar . . . .”). But, Dorsey suggested in his signed statement to Det. Davis that Johnson

followed Hill into the bar. ECF 137-2 at 5-6. According to Dorsey, “Poopies [sic] buddy, the one

with the automatic that didnt [sic] work, ran in the bar.” Id. at 5. And, Det. Davis wrote a report

to Capt. MacGillivary on July 15, 1988 (ECF 151-2 at 15), stating that the victim’s family had

identified “Lamont,” who lives on “Lucille Avenue.” Davis also wrote, id. at 15: “According to

the information the family has received, Lamont was in the bar and told ‘Poopie’ to shoot the

victim in the haed [sic].”

        Thus, Davis did not manufacture the claim that Johnson entered the Night Owl. To the

contrary, he had information supporting his assertion. However, even if Davis’s statement in the

Application was ultimately inaccurate, there is no evidence that the misstatement was made

recklessly or with malice. The investigation certainly showed that Johnson was at the scene. And,

the Officer Defendants had ample probable cause to arrest Johnson, even if Johnson did not

physically enter the Night Owl.



                                                 -115-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 116 of 152



       For example, both L.S. and K.A. told Det. Davis that plaintiff was at the scene. The

investigation indicated that Hill shot Taylor over a drug debt that Taylor owed to Johnson. ECF

138-11 at 2-3; ECF 138-12 at 2-3; ECF 137-2 at 6-7. L.S. also told Det. Davis that plaintiff handed

a gun to Hill. ECF 138-11 at 3.

       To refute the existence of probable cause, Johnson points out that L.S. did not mention

Johnson or any gun hand-off in her initial statement to Officer Jones on the night of the murder.

See ECF 152-2 at 13. Also, according to the K.A. Statement, Hill was the only person who had a

gun and plaintiff was not at the scene of the crime. ECF 138-13.

       These facts do not defeat probable cause. Johnson was never alleged to be the shooter.

Nor does probable cause require proof beyond a reasonable doubt. Gilliam, 932 F.3d at 234. And,

in L.S.’s testimony, under oath, she implicated Johnson in the murder of Taylor. Davis may have

been mistaken as to whether Johnson entered the store, but this does not defeat probable cause.

       In this case, the plaintiff takes nothing and tries to turn it into something. But, zero plus

zero is still zero. Therefore, I shall grant the Officer Defendants’ Motion as to Counts III and VI.

                                     C. Failure to Intervene

       Count IV asserts a claim against the Officer Defendants for “Failure to Intervene.”

       In the Fourth Circuit, a failure-to-intervene claim lies where there is “an omission to act

. . . coupled with a duty to act.” Randall v. Prince George's Cty., 302 F.3d 188, 202 (4th Cir.

2002). With respect to a claim for failure to intervene that arises under § 1983, “bystander

liability” is “‘premised on a law officer's duty to uphold the law and protect the public from illegal

acts, regardless of who commits them.’” Stevenson v. City of Seat Pleasant, 743 F.3d 411, 416-

17 (4th Cir. 2014). This duty “attaches when an officer observes or has reason to know that a

‘constitutional violation [is being] committed’ by other officers and possesses ‘a realistic



                                                -116-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 117 of 152



opportunity to intervene to prevent the harm from occurring.’” Randall, 302 F.3d at 203-04. Put

simply, an officer who “(1) is confronted with a fellow officer's illegal act, (2) possesses the power

to prevent it, and (3) chooses not to act” may be liable under this doctrine. Id. at 203; see Brooks

v. Johnson, 924 F.3d 104, 110 (4th Cir. 2019).

       By choosing not to intervene, the bystanding officer “functionally participates in the

unconstitutional act of his fellow officer.” Randall, 302 F.3d at 203 n.24. However, if “the

bystander lacks such specific knowledge” of the constitutional violation, “he cannot be a

participant in the unlawful acts, and the imposition of personal liability is impermissible.” Id.; see

Shipley v. Disney, SAG-21-3173, 2022 WL 2789076, at *6-7 (D. Md. July 15, 2022); see also

McPherson v. Baltimore Police Dep’t, 494 F. Supp. 3d 269, 283 (D. Md. 2020) (finding that a

plaintiff may plausibly state a claim for failure to intervene claim based on allegations that an

officer was present at the time the plaintiff’s constitutional rights were violated).

       Given the requirement of an underlying constitutional violation, a § 1983 failure-to-

intervene claim is, by nature, dependent on plaintiff's other § 1983 claims. See Hinkle v. City of

Clarksburg, 81 F.3d 416, 420 (4th Cir. 1996) (observing that bystander liability claim is

“derivative” of an excessive force claim and holding that the claim failed “[i]n the absence of any

underlying use of excessive force”); Dodson v. Prince George's Cty., No. JKS-13-2916, 2016 WL

67255, at *3 (D. Md. Jan. 6, 2016) (“Because the excessive force claim fails, the failure to

intervene claim also fails.”)

       Det. Davis was the primary investigator of the case. Plaintiff asserts, and defendants do

not dispute, that Det. Boone was also involved in the investigation as the secondary detective. Det.

Davis wrote in 1988 that Det. Boone “assisted in all aspects of the [homicide] investigation.” ECF

151-2 at 9. Boone was present for codefendant Reginald Dorsey’s interview, and he interviewed



                                                -117-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 118 of 152



witnesses at the Homicide Unit after the murder. ECF 151-2 at 31; ECF 151-28 at 2. From these

facts, plaintiff asserts: (1) one of the detectives must have interviewed L.S. on July 14, (2)

Detectives Boone and Davis must have known about the July 14 interview, (3) one or more

detectives failed to disclose the July 14 interview to the prosecutor, and (4) one or more of the

detectives knew about this failure to disclose and failed to intervene.

       I have already explained, at length, that the claim that a homicide detective interviewed

L.S. at Headquarters on July 14, 1988, is fanciful. The contemporaneous record reflects that on

July 14, 1988, shortly after the murder, Officer Jones interviewed L.S. at the scene and then

submitted the Jones Report. ECF 138-4, ¶ 10; ECF 138-5 at 2.

       In his report of July 14, 1988, Det. Davis mentioned that interview and also stated that L.S.

“will be interviewed by Homicide Investigators as soon as possible.” ECF 138-3 at 12. If L.S.

had been interviewed that night by a homicide detective, there would have been no reason for

Davis to make that statement.

       The handwritten notes in the Homicide File corroborate that L.S. was not interviewed that

night by a homicide detective. ECF 151-12 at 2. In notes with an entry date of July 14, 1988, Det.

Davis wrote that L.S. was “upset”; was “briefly interviewed at scene”; and was “released.” ECF

151-12 at 2.

       Det. Davis testified to the same information at Johnson’s trial on March 9, 1989. He said

that he interacted with L.S. at the scene but chose to let her go home with her mother because she

was in a distressed state from having witnessed the murder of her cousin. ECF 138-2 at 25. He

confirmed the same in his deposition on July 20, 2021. ECF 138-6 at 13.




                                               -118-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 119 of 152



       Notably, in Jones’s Affidavit of August 2021, he claimed to have taken L.S. back to the

Homicide Unit on July 14, 1988. But, he did not remember seeing Detectives Davis or Boone at

Police Headquarters. ECF 138-7 at 3, ¶ 6.

       Even if the Court were to assume that an unidentified detective interviewed L.S. on July

14 and the evidence was material and exculpatory, Johnson still has not shown that Detectives

Davis or Boone knew about the withheld evidence and failed to intervene. Johnson strings together

a series of inferences to support a kitchen-sink claim.

       As to Det. Goldstein, the record indicates that he was present for plaintiff’s interrogation

(ECF 151-2 at 42) in October 1988, and presented the evidence of plaintiff’s involvement in the

Taylor murder to the Grand Jury. ECF 151-23 (Goldstein Dep.), at 8. Goldstein testified that he

likely would have reviewed police reports and spoken to the primary investigator about the case.

Id. at 7. Plaintiff uses this evidence to argue that Goldstein must have been aware that Brady

material was withheld.

       Goldstein’s participation in the interview and at the Grand Jury proceedings does not give

rise to an inference that he must have known about Jones’s interview of L.S. on July 14, 1988,

much less that it was not disclosed. ECF 151 at 48. Afterall, if he reviewed the file, he would

have seen that Davis disclosed Jones’s July 14 interview of L.S. in Davis’s report of July 14, 1988.

ECF 138-3 at 10-13. Plaintiff’s claim once again rests on speculation, not facts.

       In sum, I shall grant the Officer Defendants’ Motion.

                         D. Intentional Infliction of Emotional Distress

       Count VII asserts a state law claim against the Officer Defendants for “Intentional

Infliction of Emotional Distress.”




                                               -119-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 120 of 152



       In Maryland, in order to prevail on a claim for IIED, a plaintiff must show that (1) the

defendant's conduct was intentional or reckless; (2) the conduct was extreme and outrageous; (3)

there was a causal connection between the defendant’s wrongful conduct and the emotional

distress suffered; and (4) the emotional distress was severe. Harris v. Jones, 281 Md. 560, 566,

380 A.2d 611, 614 (1977); accord, e.g., Caldor, Inc. v. Bowden, 330 Md. 632, 641-42, 625 A.2d

959, 963 (1993); Mixter v. Farmer, 215 Md. App. 536, 548, 81 A.3d 631, 637 (2013); Lasater v.

Guttmann, 194 Md. App. 431, 448, 5 A.3d 79, 89 (2010).

       A defendant's conduct must be “‘so extreme in degree as to go beyond all possible bounds

of decency, and to be regarded as atrocious and utterly intolerable in a civilized

community.’” Arsham v. Mayor & City Council of Balt., 85 F. Supp. 3d 841, 850 (D. Md.

2015) (quoting Harris, 281 Md. at 567, 380 A.2d at 614). Indeed, “[t]o be actionable, the conduct

relied upon ‘must strike to the very core of one’s being, threatening to shatter the frame upon which

one’s emotional fabric is hung.’” Farasat v. Paulikas, 32 F. Supp. 2d 244, 248 (D. Md.

1997) (quoting Hamilton v. Ford Motor Credit Co., 66 Md. App. 46, 59-60, 502 A.2d 1057,

1064, cert. denied, 306 Md. 118, 507 A.2d 631 (1986)), aff'd, 166 F.3d 1208 (4th Cir. 1998).

       Generally, claims for IIED are disfavored, difficult to establish and, as such, “rarely viable”

under Maryland law. Respess v. Travelers Cas. & Sur. Co. of Am., 770 F. Supp. 2d 751, 757 (D.

Md. 2011); see Arsham, 85 F. Supp. 3d at 850; Manikhi v. Mass. Transit Admin., 360 Md. 333,

367, 758 A.2d 95, 113 (2000); Bagwell v. Peninsula Reg'l Med. Ctr., 106 Md. App. 470, 514, 665

A.2d 297, 319 (1995) (stating that the tort of intentional infliction of emotional distress is

“difficult to satisfy”), cert. denied, 341 Md. 172, 669 A.2d 1360 (1996); see also DAVID CRUMP,

RETHINKING INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS, 25 GEO. MASON L. REV. 287, 297

(2018) (noting that an IIED claim is “a kind of vituperative epithet” that “adds little that can be the



                                                -120-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 121 of 152



subject of a separate or additional recovery” but “makes [the litigation] more expensive”). Since

the Maryland Court of Appeals first recognized the tort of IIED in 1977, Harris v. Jones, 281 Md.

560, 380 A.2d 611 (1977), it has repeatedly advised that “recovery” for IIED “will be meted out

sparingly[.]” Figueiredo-Torres v. Nickel, 321 Md. 642, 653, 584 A.2d 69, 75 (1991); see Batson

v. Shiflett, 325 Md. 684, 733, 602 A.2d 1191, 1216 (1992); Caldor, Inc., 330 Md. at 642, 625 A.2d

at 963.

          Plaintiff claims that the Officer Defendants withheld exculpatory material and failed to

adequately document their investigation, resulting in plaintiff’s incarceration for thirty years.

However, because I am rejecting the plaintiff’s underlying claims, the IIED claim must fail.

                                         VII. BPD Motion

          In Count V, plaintiff lodges a “Monell” claim against the BPD, pursuant to 42 U.S.C. §

1983, the Fifth and Fourteenth Amendments, and Monell v. Dep’t of Social Services of the City of

New York, 436 U.S. 658 (1978). ECF 116, ⁋⁋ 219-26 (the “Monell Claim”). Plaintiff complains

that BPD did not have a “policy addressing its officers’ duty to disclose exculpatory and

impeachment evidence,” and did not “train [its] officers on these topics.” ECF 156 at 6. He also

complains of a “shocking deficiency” of the BPD, in that by 1988, the BPD “still did not have a

policy addressing its officers’ duty to disclose exculpatory and impeachment evidence. Nor did it

train officers on these topics.” Id.

          To succeed on a Monell claim, plaintiff must establish that one or more of the Officer

Defendants violated his constitutional rights in order to pursue his Monell claim against BPD. See

City of Los Angeles v. Heller, 465 U.S. 796, 799 (1986) (“[N]either Monell . . . , nor any other of

our cases authorizes the award of damages against a municipal corporation based on the actions of

one of its officers when in fact the jury has concluded that the officer inflicted no constitutional



                                               -121-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 122 of 152



harm.”).

       I have rejected the claims of constitutional violations by the Officer Defendants. Thus,

there is no viable Monell claim. Nevertheless, I shall assume, arguendo, that plaintiff has a basis

to proceed as to a constitutional claim. Therefore, I will next consider the Monell claim. The

Monell claim fails.

                                        A. Legal Standard

       In the seminal case of Monell, 436 U.S. 658, the Supreme Court determined that a local

governmental body may be liable under § 1983 based on the unconstitutional actions of individual

defendants, but only where those defendants were executing an official policy or custom of the

local government, resulting in a violation of the plaintiff’s rights. Id. at 690-91. A viable Monell

claim consists of two components: 1) an unconstitutional policy or custom of the municipality; 2)

and the unconstitutional policy or custom caused a violation of the plaintiff’s rights. See, e.g., Bd.

of Comm'rs of Bryan Cty., v. Brown, 520 U.S. 397, 403 (1997); Kirby v. City of Elizabeth City,

388 F.3d 446, 451 (4th Cir. 2004); Lytle v. Doyle, 326 F.3d 463, 471 (4th Cir. 2003).

       The Monell Court explained, 436 U.S. at 694, that “when execution of a government’s

policy or custom, whether made by its lawmakers or by those whose edicts or acts may fairly be

said to represent official policy, inflicts the injury the government as an entity is responsible

under § 1983.” But, liability attaches “only where the municipality itself causes the constitutional

violation at issue.” City of Canton v. Harris, 489 U.S. 378, 385 (1989) (emphasis in

original); accord Holloman v. Markowski, 661 F. App’x 797, 799 (4th Cir. 2016) (per

curiam), cert. denied, ___U.S. ___, 137 S. Ct. 1342 (2017).

       In Connick v. Thompson, 563 U.S. 51, 60 (2011), the Supreme Court explained (emphasis

in Connick):



                                                -122-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 123 of 152



              A municipality or other local government may be liable under [§ 1983] if
       the governmental body itself “subjects” a person to a deprivation of rights or
       “causes” a person “to be subjected” to such deprivation. See Monell v. New York
       City Dep't of Social Servs., 436 U.S. 658, 692 (1978). But, under § 1983, local
       governments are responsible only for “their own illegal acts.” Pembaur v.
       Cincinnati, 475 U.S. 469, 479 (1986) (citing Monell, 436 U.S. at 665-683). They
       are not vicariously liable under § 1983 for their employees’ actions. See id., at
       691; Canton, 489 U.S. at 392; Board of Comm'rs of Bryan Cty. v. Brown, 520 U.S.
       397, 403 (1997) (collecting cases).

       Notably, a municipality cannot be held liable in a § 1983 action under a theory of

respondeat superior. Monell, 436 U.S. at 693-94. Moreover, “[i]t is well established that in a

§ 1983 case a city or other local governmental entity cannot be subject to liability at all unless the

harm was caused in the implementation of ‘official municipal policy.’” Lozman v. City of Riviera

Beach, ___U.S.___, 138 S. Ct. 1945, 1951 (2018) (citation omitted); see Milligan v. City of

Newport News, 743 F.2d 227, 229 (4th Cir. 1984). In other words, a municipality is liable when a

“policy or custom” is “fairly attributable to the municipality as its ‘own,’ and is . . . the ‘moving

force’ behind the particular constitutional violation.” Spell v. McDaniel, 824 F.2d 1380, 1387 (4th

Cir. 1987) (internal citations omitted).

       A plaintiff may demonstrate the existence of an official policy in three ways: (1) a written

ordinance or regulation; (2) certain affirmative decisions of policymaking officials; or (3) in certain

omissions made by policymaking officials that “manifest deliberate indifference to the rights of

citizens.” Carter v. Morris, 164 F.3d 215, 218 (4th Cir. 1999). “Locating a ‘policy’ ensures that

a municipality is held liable only for those deprivations resulting from the decisions of its duly

constituted legislative body or of those officials whose acts may fairly be said to be those of the

municipality.” Bd. of Comm’rs of Bryan Cty., 520 U.S. at 403-04.

       “An official policy often refers to ‘formal rules or understandings . . . that are intended to,

and do, establish fixed plans of action to be followed under similar circumstances consistently and



                                                -123-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 124 of 152



over time,’ and must be contrasted with ‘episodic exercises of discretion in the operational details

of government.’” Semple v. City of Moundsville, 195 F.3d 708, 712 (4th Cir. 1999) (alteration

in Semple; citations omitted). In addition, “the governmental unit may create an official policy by

making a single decision regarding a course of action in response to particular circumstances.” Id.

       Beyond “formal decisionmaking channels, a municipal custom may arise if a practice is so

‘persistent and widespread’ and ‘so permanent and well settled as to constitute a “custom or usage”

with the force of law.’” Carter, 164 F.3d at 218 (quoting Monell, 436 U.S. at 691); see Simms ex

rel. Simms v. Hardesty, 303 F. Supp. 2d 656, 670 (D. Md. 2003). A policy or custom “may be

attributed to a municipality when the duration and frequency of the practices warrants a finding of

either actual or constructive knowledge by the municipal governing body that the practices have

become customary among its employees.” Spell, 824 F.2d at 1387; see Holloman, 661 F. App’x

at 799. In addition, “a policy or custom may possibly be inferred from continued inaction in the

face of a known history of widespread constitutional deprivations on the part of city employees,

or, under quite narrow circumstances, from the manifest propensity of a general, known course of

employee conduct to cause constitutional deprivations to an identifiable group of persons having

a special relationship to the state.” Milligan, 743 F.2d at 229 (internal citations omitted).

       In Owens, 767 F.3d at 402, the Fourth Circuit reiterated that to establish a Monell claim,

based on custom, the plaintiff “must point to a ‘persistent and widespread practice[] of municipal

officials,’ the ‘duration and frequency’ of which indicate that policymakers (1) had actual or

constructive knowledge of the conduct, and (2) failed to correct it due to their ‘deliberate

indifference.’” (quoting Spell, 824 F.2d at 1386-91) (alteration in Owens). Therefore, “Section

1983 plaintiffs seeking to impose liability on a municipality must . . . adequately plead and prove

the existence of an official policy or custom that is fairly attributable to the municipality and that



                                                -124-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 125 of 152



proximately caused the deprivation of their rights.” Jordan by Jordan v. Jackson, 15 F.3d 333,

338 (4th Cir. 1994).

       A policy or custom that gives rise to § 1983 liability will not, however, “be inferred merely

from municipal inaction in the face of isolated constitutional deprivations by municipal

employees.” Milligan, 743 F.2d at 230. Only when a municipality’s conduct demonstrates a

“deliberate indifference” to the rights of its inhabitants can the conduct be properly thought of as

a “policy or custom” actionable under § 1983. Jones v. Wellham, 104 F.3d 620, 626 (4th Cir.

1997) (citing Canton, 489 U.S. at 389).

       A claim of failure to train is a species of a Monell claim. The manner in which a

municipality trains its employees is “necessarily a matter of ‘policy.’” Spell, 824 F.2d at 1389.

       In Canton, 489 U.S. at 389, the Supreme Court said that “where a municipality's failure to

train its employees in a relevant respect evidences a ‘deliberate indifference’ to the rights of its

inhabitants . . . such a shortcoming [can] be properly thought of as a city ‘policy or custom’ that is

actionable under § 1983.” However, deliberate indifference “is a stringent standard of fault,

requiring proof that a municipal actor disregarded a known or obvious consequence of his action.”

Bryan Cty., 520 U.S. at 410. A municipality may be deemed deliberately indifferent “when city

policymakers are on actual or constructive notice that a particular omission in their training

program causes city employees to violate citizens’ constitutional rights . . . if the policymakers

choose to retain that program.” Connick, 563 U.S. at 61.

       A plaintiff who seeks to establish Monell liability based on inadequate training must

demonstrate “(1) the nature of the training, (2) that the training was a ‘deliberate or conscious’

choice by the municipality, and (3) that the [official's] conduct resulted from said training.” Lewis

v. Simms, AW-11-2172, 2012 WL 254024, at *3 (D. Md. Jan. 26, 2012) (quoting Drewry v.



                                                -125-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 126 of 152



Stevenson, WDQ-09-2340, 2010 WL 93268, at *4 (D. Md. Jan. 6, 2010)), aff'd, 582 F. App'x 180

(4th Cir. 2014) (per curiam).

        A municipal entity’s “‘policy of inaction’ in light of notice that its program will cause

constitutional violations ‘is the functional equivalent of a decision . . . to violate the Constitution.’”

Connick, 563 U.S. at 61-62 (quoting Canton, 489 U.S. at 395) (O’Connor, J., concurring in part

and dissenting in part)). Indeed, “[i]naction, too, can give rise to liability in some instances if it

reflects ‘a conscious decision not to take action.’” Dean v. Wexford Health Sources, Inc., 18 F.4th

214, 235 (7th Cir. 2021) (citation omitted).

        “Training policy deficiencies can include (1) ‘express authorizations of unconstitutional

conduct,’ (2) ‘tacit authorizations’ of such unconstitutional conduct, and (3) failures to adequately

‘prohibit or discourage readily foreseeable conduct in light of known exigencies’” of the relevant

profession. Washington v. Balt. Police Dep't, 457 F. Supp. 3d 520, 533 (D. Md. 2020) (quoting

Spell, 824 F.2d at 1390). But, “the training deficiency ‘must be closely related to the ultimate

injury,’ meaning it must cause the incident.” Est. of Jones by Jones v. City of Martinsburg, W.

Virginia, 951 F.3d 661, 672 (4th Cir. 2020) (quoting Canton, 489 U.S. at 391).

        The policymakers’ “continued adherence to an approach that they know or should know

has failed to prevent tortious conduct by employees may establish the conscious disregard for the

consequences of their action – the ‘deliberate indifference’ – necessary to trigger municipal

liability.” Bryan Cty., 520 U.S. at 407. But, in the absence of notice “that a course of training is

deficient in a particular respect, decisionmakers can hardly be said to have deliberately chosen a

training program that will cause violations of constitutional rights.” Connick, 563 U.S. at 62.

        Of import here, even if “a particular [employee] may be unsatisfactorily trained,” that “will

not alone suffice to fasten liability on the city, for the officer's shortcomings may have resulted



                                                  -126-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 127 of 152



from factors other than a faulty training program.” Canton, 489 U.S. at 390-91. Indeed, “proving

an injury or accident could have been avoided if an [employee] had had better or more training,

sufficient to equip him to avoid the particular injury-causing conduct will not suffice.” Connick,

563 U.S. at 68 (cleaned up). The Canton Court explained, 489 U.S. at 391:

       Such a claim could be made about almost any encounter resulting in injury, yet not
       condemn the adequacy of the program to enable officers to respond properly to the
       usual and recurring situations with which they must deal. And plainly, adequately
       trained [employees] occasionally make mistakes; the fact that they do says little
       about the training program or the legal basis for holding the city liable.

       Thus, “[a] pattern of similar constitutional violations by untrained employees is ‘ordinarily

necessary’ to demonstrate deliberate indifference for purposes of failure to train.” Connick, 563

U.S. at 62 (quoting Bryan Cty., 520 U.S. at 409). In this case, however, plaintiff has expressly

abandoned a Monell claim based on a pattern or practice. In a footnote in his Opposition to the

BPD Motion, plaintiff states, ECF 156 at 10 n.1: “Mr. Johnson has communicated to BPD that he

is no longer pursuing the theory that a pattern of additional Brady violations show that BPD

condoned a widespread pattern or practice of constitutional violations.”

       The Supreme Court’s decision in Connick, 563 U.S. 51, illustrates the challenge a plaintiff

faces when seeking to prevail on a failure to train claim. In that case, Thompson was convicted of

murder. Connick, 563 U.S. at 54. However, his conviction was overturned when it was discovered

that, in connection with an earlier armed robbery case, the prosecution had failed to disclose the

existence of an exculpatory crime lab report, in violation of Brady v. Maryland, 373 U.S. 83

(1963). And, as a result of that robbery conviction, Thompson chose not to testify at his murder

trial. Connick, 563 U.S. at 55.

       Thereafter, Thompson filed a § 1983 suit against Connick, in his official capacity as the

Orleans Parish District Attorney. He also sued the district attorney’s office, the prosecutor, and



                                              -127-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 128 of 152



others. Id. at 56. Thompson alleged, inter alia, a “deliberate indifference to an obvious need to

train the prosecutors in [the] office to avoid such constitutional violations.” Id. at 57.

       Connick conceded that the failure to produce the crime lab report constituted a Brady

violation. Id. at 57. Thompson did not prove a pattern of similar Brady violations. But, he showed

that, in the decade preceding his trial, four convictions had been overturned because of other Brady

violations committed by prosecutors in Connick’s office. Id. at 62.

       The trial court determined that a pattern of violations was not necessary to prove deliberate

indifference when the need for training is “‘so obvious.’” Id. at 58. The district court instructed

the jury that the sole issue “was whether the nondisclosure was caused by either a policy, practice,

or custom of the district attorney’s office or a deliberately indifferent failure to train the office’s

prosecutors.” Id. at 57. The jury found in favor of Thompson on the basis of a failure to train. Id.

at 57. An evenly divided Fifth Circuit, sitting en banc, affirmed. Id. at 54, 59 (citing 578 F.3d 293

(5th Cir. 2009) (per curiam)). The Supreme Court reversed.

       The Supreme Court considered whether a “district attorney's office may be held liable

under § 1983 for failure to train its prosecutors based on a single Brady violation.” Id. at 54. In a

five to four decision, the Court held that it could not. Id

       The Court noted that Canton did not foreclose “the possibility . . . that the unconstitutional

consequences of failing to train could be so patently obvious that a city could be liable under §

1983 without proof of a pre-existing pattern of violations.” Connick, 563 U.S. at 64. The Connick

Court said, id. at 61 (emphasis added):

               In limited circumstances, a local government's decision not to train certain
       employees about their legal duty to avoid violating citizens’ rights may rise to the
       level of an official government policy for purposes of § 1983. A municipality's
       culpability for a deprivation of rights is at its most tenuous where a claim turns on
       a failure to train. See Oklahoma City v. Tuttle, 471 U.S. 808, 822-823 (1985)
       (plurality opinion) (“[A] ‘policy’ of ‘inadequate training’ “is “far more nebulous,

                                                -128-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 129 of 152



       and a good deal further removed from the constitutional violation, than was the
       policy in Monell”).

       The Court indicated that the plaintiff had the burden to prove 1) that Connick, the

policymaker for the office, “was deliberately indifferent to the need to train the prosecutors about

their Brady disclosure obligation with respect to evidence of this type and 2) that the lack of

training actually caused the Brady violation in this case.” Id. at 59. The Court was of the view

that the plaintiff did not prove that Connick “was on actual or constructive notice of, and therefore

deliberately indifferent to, a need for more or different Brady training.” Id.

       According to the Court, and of relevance here, the four prior reversals due to Brady

violations, which occurred in the preceding ten years, could not have put Connick on notice that

Brady training was inadequate “with respect to the sort of Brady violation at issue [in the case].

None of those [earlier] cases involved failure to disclose blood evidence, a crime lab report, or

physical or scientific evidence of any kind.” Id. at 62-63. In other words, just any Brady violation

would not do. It had to be a Brady violation comparable to the one in Thompson’s case.

       However, the plaintiff relied on the “‘single-incident’” theory, rather than a pattern of

similar Brady violations. Id. at 63. He maintained that the Brady violation was the “‘obvious’

consequence of failing to provide” appropriate training, and asserted that the “‘obviousness’ can

substitute for the pattern of violations ordinarily necessary to establish municipal culpability.”

Connick, 563 U.S. at 63.

       The Supreme Court rejected the contention. It noted that lawyers “are trained in the law

and equipped with the tools to interpret and apply legal principles, understand constitutional limits,

and exercise legal judgment,” and must obtain a law license, and satisfy other “threshold

requirements.” Id. at 64. The Court reasoned, id. at 66: “In light of this regime of legal training

and professional responsibility, recurring constitutional violations are not the ‘obvious

                                                -129-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 130 of 152



consequence’ of failing to provide prosecutors with formal in-house training about how to obey

the law.” Therefore, Connick was “entitled to rely on [the] prosecutors’ professional training and

ethical obligations in the absence of specific reason, such as a pattern of violations. . . .” Id. at 67.

And, the Court added that “showing merely that additional training would have been helpful in

making difficult decisions does not establish municipal liability.” Id. at 68.

                                       B. Factual Allegations

        As noted, plaintiff initially maintained that the Monell Claim was based on a widespread

pattern and practice of unconstitutional conduct, involving the suppression of exculpatory and

impeachment evidence. See ECF 29 at 29-36. But, Johnson now states that “he is no longer

pursuing the theory that a pattern of additional Brady violations show that BPD condoned a

widespread pattern or practice of constitutional violations.” ECF 156 at 10 n.1; see also ECF 136-

3 (letter dated December 15, 2021, from plaintiff’s counsel to defense counsel indicating the same).

Rather, plaintiff asserts that his Monell Claim is predicated on the failure of the BPD to establish

“a policy addressing its officers’ duty to disclose exculpatory and impeachment evidence,” in

compliance with Brady v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150

(1972), and to “train [its] officers on these topics.” ECF 156 at 6.

        A number of BPD policies are relevant. In particular, plaintiff refers the Court to “General

Order 14-83,” dated September 14, 1983. ECF 156-1 at 1. It was signed by then Police

Commissioner Frank J. Battaglia and took effect “on the date of publication.” Id. at 7. General

Order 14-8 pertains to the subject of “Death and Serious Assault Investigations.” Id. at 1. The

“Purpose” of General Order 14-83 was to “recodify and promulgate existing departmental

procedures pertaining to death investigations in Baltimore City.” Id.




                                                 -130-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 131 of 152



       General Order 14-83 included a section titled “Duties of the Homicide Unit[.]” Id. at 6.

The duties included, among other things, “coordinat[ing] the entire investigation and handling the

technical phases of the investigation . . . .” Id. To that end, General Order 14-83 required that,

“[u]nder the direction of the homicide supervisor[,] the detective(s) in charge of the investigation

shall: . . . “Prepare complete and accurate case folders.” Id. at 6, 7.

       Plaintiff also points to a document titled “Duties and Responsibilities Of Personnel

Assigned To The Homicide Unit—Standing Operating Procedures,” dated August 11, 1978. Id.

at 3. ECF 156-2 (the “SOP”) at 2. It specifies, id. at 3: “The duties, responsibilities and procedures

as contained herein are effective immediately and apply whenever members of the Homicide Unit

are assigned or are required to perform investigatory tasks.” It also provides: “Detectives will be

assigned to cases either singly or in pairs, depending on the case.” Id. at 5. But, it states that a

“primary case investigator will be designated in all cases.” Id.

       Further, the SOP provides: “All case activity must be documented properly and the case

folder is to be kept in neat chronological order in numerical hardback folders.” ECF 156-2 at 5.

And, it instructs detectives to “Maintain Accurate and Complete Records of the entire case,”

which, in turn, required “Possession and marking of (chain of custody) evidence”; “Interrogate

suspects (statements, etc.)”; and “Complete appropriate office reports and departmental forms.”

Id.; see ECF 162-3 (Worley Dep.) at 5-6 (specifying that the SOP instructs BPD officers to

“maintain accurate and complete records of the entire case, and then it specifies a few reminders”).

Further, the SOP states that detectives must “[r]eview [the] case with [a] representative of [the]

States [sic] Attorneys Office prior to trial.” ECF 156-2 at 7.

       “General Order 10-78,” dated January 23, 1978, is also relevant. See ECF 156-4. It

pertains to “Grand Jury Case Presentation” and specified: “It is the policy of the Baltimore Police



                                                -131-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 132 of 152



Department to cooperate with the Office of the State’s Attorney in the review of all evidence in a

criminal case before it is presented to a Grand Jury.” Id. at 2. Further, General Order 10-78

provided, id.: “It is the responsibility of members of the Homicide Unit to confer with an Assistant

State’s Attorney assigned to the Violent Crimes Liaison Unit for complete case review.”

(Emphasis added).

       Col. Worley joined the BPD in August 1998 as a patrol trainee. ECF 136-11 at 27. In June

2021, he served as the “Chief of Detectives,” overseeing all of the BPD’s “Detective Divisions,”

including the “Homicide Unit, the Special Investigative Section, the Anti-Crime Section and [the]

Warrant Apprehension Task Force.” Id. at 17-18. He testified that, “based on the affidavits [he]

reviewed and the materials [he] reviewed regarding file turnover to the State’s Attorney,” BPD

policy between 1983 and 1990 required “[e]verything [to be] turned over to the State’s Attorney

for review.” ECF 136-11 at 363.

       Plaintiff has submitted two reports of an expert witness, Robert L. Stewart. ECF 156-12

(“Stewart Report”); ECF 156-13 (“Stewart Rebuttal”). He has also submitted the report of another

proposed expert, Brian Murphy, Esquire. ECF 151-32.

       Stewart is a “police practices expert with 50 years of experience in the field of law

enforcement.” ECF 156-12 at 3. For the first thirty years of his career, Stewart served as a “sworn

law enforcement officer in a variety of positions ranging from officer to police chief.” Id. For

the past twenty years, Stewart has served as an “instructor and consultant within the law

enforcement community in a variety of capacities.” Id.        In that role, Stewart has conducted

reviews of several law enforcement agencies across the country, including the Chicago Police

Department and the Detroit Police Department. Id.




                                               -132-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 133 of 152



       According to Stewart, an “adequate written policy and training regarding exculpatory and

impeachment evidence” must, at least, “outline the importance of exculpatory and impeachment

evidence . . .” Id. at 41. It must also “detail how officers should identify, investigate, document,

or retain exculpatory and impeachment evidence, and then provide step-by-step instructions for a

specific procedure whereby officers would provide to prosecuting attorneys.” Id.

       Against this backdrop, Stewart opines that BPD policy in 1988 and 1989 regarding the

disclosure of exculpatory and impeachment evidence, namely General Order 14-83, was “woefully

inadequate and does not come close to establishing an appropriate Brady policy,” as it did “not

mention exculpatory evidence or impeachment evidence . . . .” Id. at 41. Stewart has asserted, id.:

“It is unreasonable to think that an officer looking at that line would understand his obligations

under Brady or Giglio.” Stewart also criticizes the BPD for failing to promulgate a “formal,

structured, systematic training provided to ensure detectives understood the ramifications of their

failure to properly identify, investigate, document, retain and/or disclose exculpatory and

impeachment evidence.” ECF 156-12 at 41-42.

       By way of comparison, Stewart points to a December 1987 bulletin from the New York

City Police Department (“NYPD”), which provided notice to its officers of a recent decision of

the New York Court of Appeals, People v. Rosario, 9 N.Y. 2d 286, 173 N.E. 2d 881 (1986). ECF

156-8 at 2-4 (“NYPD Bulletin”); see ECF 156-12 at 37 (discussing NYPD Bulletin). The NYPD

Bulletin expressly advised that “all pre-trial statements of every prosecution witness must be made

available [to the District Attorney]; ANY failure to turn over a witness statement- will result in the

reversal of a conviction.”    ECF 156-8 at 2 (italics in original). Further, the NYPD Bulletin

specified that “police have the burden of interviewing witnesses to a crime, recording the

statements that are made, and securing them for use at trial.” Id. at 3. Relevant material included,



                                                -133-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 134 of 152



among other things, “Memo books”; “Personal notes and preliminary worksheets prepared by an

investigating officer”; “All notes made by a police officer who witnesses a crime”; and “Arrest

reports, interview reports, complaint reports, and incident reports.” Id. at 4. The NYPD Bulletin

concluded, id.: “The importance of preserving ALL statements made by witnesses cannot be

stressed enough. Any failure to produce Rosario material . . . will result in the reversal of a

conviction.”

       Further, Stewart refers to a policy of the Metropolitan Police Department of the District of

Columbia, dated May 26, 1972, titled “Preservation of Potentially Discoverable Material.” ECF

156-9 (the “MPD Policy”). It instructed MPD officers to “preserve all material which may

constitute evidence, or might otherwise be pertinent in a subsequent criminal judicial proceeding.”

Id. at 2. In particular, the MPD Policy specified that “members of the department shall preserve

all potentially discoverable material, including any such material which might prove favorable to

an accused.” Id. Such evidence is defined to include: “Any written statement made by a witness,

defendant, or codefendant, and signed or otherwise adopted by him”; “Any notes taken by a

member of the department which are a substantially verbatim recital of an oral statement made by

a prospective witness or defendant which are recorded contemporaneously with the making of the

oral statement”; and “All other materials which may be expected to be relevant in a criminal

judicial proceeding.” Id. at 3.

       The plaintiff’s second expert, Brian Murphy, worked as an Assistant State’s Attorney in

the State’s Attorney’s Office for Baltimore City from 1980 to 1988. ECF 151-32 at 3. In 1989,

he established a solo law practice. Id. at 4. He states: “I continue to handle all manner of criminal

cases, including misdemeanors and felonies in Maryland State District Court and Circuit court as

well as cases in federal court.” Id.



                                               -134-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 135 of 152



       Murphy claims that during his tenure as a prosecutor, the BPD lacked policies and

procedures to ensure that exculpatory and impeachment evidence was turned over to the

prosecutor. Id. at 6. Specifically, Murphy asserts that he was not aware that homicide detectives

had any specific formal training concerning the concepts of exculpatory evidence and

impeachment evidence. Id. at 18. Instead, he claims that knowledge of the principles was gained

from "informal mentoring by other homicide detectives and various prosecutors. . . .” Id. In his

view, “various homicide detectives did not understand the concept of exculpatory evidence and

impeachment evidence at all.” Id. Additionally, Murphy opines: “[D]uring that period, I saw no

set or required method for homicide detectives to share the contents of the homicide file with

prosecutors.” Id.

       Murphy also asserts that, as a criminal defense attorney, he has “been involved in at least

two cases in which exculpatory information in the possession of the BPD was not turned over to

prosecutors in the Baltimore City State’s Attorney’s Office, and consequently, was not disclosed

by prosecutors to the defense.” Id. at 19. Both were murder cases that were investigated by the

Homicide Unit of the BPD. The first trial took place in 1989 and the second took place in 2000.

Id.

       Further, plaintiff claims that the BPD has since drafted a more comprehensive policy

pertaining to the disclosure of exculpatory and impeachment evidence. See ECF 156-16 (the

“Draft Policy”). He maintains that evidence of a new policy is relevant for Monell claims “as

evidence of the absence of an earlier policy.” Conn v. City of Reno, 591 F.3d 1081, 1104 n.7 (9th

Cir. 2010), vacated on other grounds, 563 U.S. 915 (2011).

       The Draft Policy is dated September 17, 2019, and is titled “Exculpatory Evidence

Disclosure Requirements.” Id. at 2. It states, id.: “The purpose of this policy is to ensure the



                                             -135-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 136 of 152



compliance of Baltimore Police Department (BPD) members with their solemn obligation to

disclose Potential Exculpatory and Impeachment Evidence in criminal cases.” And, it notes that

this obligation was established by, among other things, Brady, 373 U.S. 83, and Giglio, 405 U.S.

150. The Draft Policy goes on to list examples of potential exculpatory and impeachment

evidence. Id. at 3. And, it establishes a thorough, step-by-step process, pursuant to which BPD

officers should adhere in order to satisfy their disclosure requirements. Id. at 4-8.

        Plaintiff also invites the Court’s attention to “General Order 10-86,” which governs

“Procedures for Viewing Criminal Suspect Photographs.” ECF 156-7 at 2. It is dated March 19,

1986, and was effective as of that date. Id. at 2, 4. General Order 10-86 provided that it is “the

responsibility of commanding officers, mid-level managers and supervisors to communicate this

policy to their subordinates.” ECF 156-7 at 4. Further, it required BPD officers to comply with a

prescribed procedure when presenting a victim or a witness with “photographs in an attempt to

identify a suspect,” as set forth below, in relevant part, id. at 2-3:

        1. Obtain a photograph of the suspect (s) which is not over three years old, if
           possible, and a minimum of five additional fill-in photographs.

                                               *****

        3. Ensure that fill-in photographs, when possible, are of persons of the same
           approximate age as the suspect and have similar characteristics; i.e., sex, race,
           complexion, facial hair, hair color and style, scars, visible tattoos, glasses, hat,
           etc.

        4. Permanently affix the photographs to the Photograph Line-up Form (see Annex
           A) and enter in ink the Baltimore Police Identification (B.P.I.) or Identification
           (I.D.) number for each photograph in the appropriate block above it.

        5. Show photographs to one victim/witness at a time. The victim/witness should
           view the entire group of photographs on the form even after a positive
           identification is made.

        6. Record all photographs shown to the victim/witness on a supplement report
           listing the B.P.I./I.D. number and the date of each photograph (see Annex B).

                                                 -136-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 137 of 152




       7. Upon photographic identification of a suspect:

            a. Have the victim/witness sign with full signature, date and time. the
               Photograph Line-up Form above the photograph identified.

            b. Sign with full signature, date and time the Photograph Line-up Form.

            c. Submit the Photograph Line-up Form to Evidence Control Section
               (ECS).

            d. If photographs are to be shown to an additional victim/witness, prepare
               a new Photograph Line-up Form.

            In the event of a negative showing, the Photograph Line-up Form need not be
            turned into the ECS, but should be retained in the member's investigative file.

       Stewart criticizes General Order 10-86 because, in his view, it is “ambiguous” with respect

to how “officers should document a negative photo array,” as it states only that “Form 296 (Line-

up Form) should be retained in the investigative file (but that it did not need to be sent to evidence

control).” ECF 156-12 at 12. 63 Further, Stewart notes that General Order 10-86 “does not say

what information, if any, on [the Photograph Line-up Form] is supposed to be filled out or whether

any information other than the array itself on the back of the form must be retained.” Id. Stewart

asserts, id. at 13: “The photo array policy itself is not in accordance with generally accepted

practices and procedures at the time, because it does not treat negative photo identifications as

equally evidentially important as positive photo identifications.” And, Stewart concludes: “The

ambiguous photo array policy suggests that a blank array may mean that the array was shown to a

witness with a negative result.” Id.




       63
           General Order 10-86 is accompanied by a sample “Photograph Line-up Form” (id. at 5-
6) and a sample “Supplement Report.” ECF 156-7 at 7. The “Photograph Line-Up” Form is also
referred to as “Form 296.” See ECF 156-7 at 5; see also ECF 156-12 (Stewart Report) at 12. And,
the “Supplement Form” is also referred to as “Form 83/7.” ECF 156-7 at 7.

                                                -137-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 138 of 152



       In the Argument section of his opposition, plaintiff contends that “BPD’s written materials

instructing officers how to conduct photographic identification arrays are also inadequate to

protect defendants’ rights to favorable evidence.” ECF 156 at 13. According to Johnson, BPD’s

photo identification policy provides ample guidance on how to document a positive identification

of a suspect, but it is nearly silent on how to document negative identifications. ECF 156-7 at 2-

3.

       Defendants have submitted an expert report authored by Jeffrey Noble. ECF 136-31

(“Noble Report”). He holds a law degree from Western State University College in Irvine,

California. Id. at 1. In addition, Noble was a police officer in the City of Irvine, California for

28 years and became Deputy Chief of Police prior to his retirement. Id. And, he “served as an

interim Chief of Police at the Westminster, California Police Department for nine months.” Id. In

addition, he has worked as a police consultant and an expert witness. Id. Moreover, Noble has

published numerous articles on police investigative procedures and other topics, has co-authored

a textbook concerning police conduct, and has written two chapters for two other policing

textbooks. ECF 136-31 (Noble Report) at 3.

       Noble maintains that, at the relevant time, the BPD policies were sufficient to satisfy BPD’s

constitutional obligations. Regarding plaintiff’s complaints about negative photo identifications,

Noble noted that “the International Association of Chiefs of Police (IACP) Model policy does not

have any mention of negative photo identifications.” ECF 136-31 at 9. Rather, IACP policy states

only, id.: “‘[P]reserve the photo array, together with full information about the identification

process, for future reference[.]” (Footnote omitted). And, with regard to the BPD’s disclosure

policies, Noble opined: “Contrary to Mr. Stewart’s claim that it was a generally accepted practice




                                              -138-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 139 of 152



in policing to have a written Brady policy, the IACP did not create a model policy on Brady until

2009.” Id. at 15.

       Plaintiff has also submitted declarations from three former BPD officers: Kenneth Jones,

Robert Muhammad (formerly Mays), and Steve Owens. On June 25, 2021, Jones averred, ECF

156-20, ⁋ 15: “BPD never trained me to turn over my notes in my note pad as a requirement under

Brady v. Maryland, 373 U.S. 83 (1963), or Giglio v. United States, 405 U.S. 105 (1970).” Jones

added: “BPD never trained me on turning over exculpatory information or impeachment

information to the Office of the State’s Attorney.” Id. An identical statement was included in the

declarations of Owens and Muhammad. ECF 156-21 (Muhammad Decl., dated July 14, 2021), ⁋

11; ECF 156-22 (Owens Decl., dated August 27, 2021), ⁋ 12.

       But, the BPD points to a subsequent Declaration of Jones, dated August 26, 2021. ECF

156-23. In that Declaration, Jones advised, in relevant part, id. at 3, ⁋ 7: “It’s been a long time

since I worked as a police officer so I don’t remember the names of specific legal cases that I may

have been trained about by BPD.” Nonetheless, Jones acknowledged that the “BPD trained [him]

in the academy and on the job that [he] should never falsify reports; that information that [he]

learned in the field should be documented in [his] reports; and that relevant information should

never be omitted from reports.” Id.

       Johnson also submitted the Declaration of Stephen Tabeling. ECF 136-29 (Tabeling

Decl.). Tabeling is a “25-year retired lieutenant of the [BPD],” whose career began in 1954. Id. ⁋

2; see id. ⁋ 3. Tabeling claimed, id. at 3, ⁋ 9: “I learned on my own the critical importance of

thoroughly documenting interviews with witnesses and suspects in order to prove that something

did or did not happen.”




                                              -139-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 140 of 152



       Between 1978 and 1979, Tabeling was assigned “to teach at the Police Academy . . .

including interviewing, interrogation, and note taking . . . .” Id. ⁋ 10. Although Tabeling initially

retired from the BPD in 1979, id. ⁋ 11, he “worked with BPD again as a consultant and as a trainer

in the Education and Training Section from 2000 to 2009.” Id. ⁋ 12. To Tabeling’s knowledge,

“there were no standards that were communicated within the BPD training programs in the late

1970s regarding Brady v. Maryland and subsequent decisions that required the State to provide

defendants with exculpatory statements.” Id. And, he was “unaware of any orders or any other

specific training communicating any of those requirements, or the need to make sure that all such

information was included in the case file and communicated to the Assistant State’s Attorney

handling the case.” Id.

       In January 2000, the former BPD Commissioner Ronald L. Daniel asked Tabeling to

examine and report on the state of the Homicide Unit. Id. ⁋ 13. Tabeling identified “numerous

deficiencies in all aspects of the Homicide Unit’s operation.” Id. Specifically, Tabeling said, id.:

“I reported that a preliminary assessment of the Homicide Unit attendees during the fall of 1999

Homicide    School    indicated   great   gaps     among   the   student   investigators   in   their

knowledge/familiarity and/or mastery of many basic legal and investigative concepts.” He also

noted that “the investigatory files were in a general state of disarray,” as “[t]here was no apparent

procedure for ensuring that all material about an investigation had been recorded and filed

appropriately.” Id. ⁋ 14.

       The BPD has marshaled deposition testimony to establish that it provided training with

respect to a police officer’s obligations to disclose exculpatory and impeachment evidence under

Brady, 373 U.S. 83, and Giglio, 405 U.S. 150. For instance, Col. David Reitz, one of the BPD’s

Rule 30(b)(6) designees, testified that “Brady was taught when [he] went through the police



                                                 -140-
       Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 141 of 152



academy in 1982 . . . in legal.” ECF 136-4 at 8 (Tr. at 25). Col. Reitz clarified that his reference

to “legal” pertained to “[t]he class for legal law.” ECF 138-4 at 9 (Tr. at 26). Further, Col. Reitz

testified that “a detective who is working on a homicide case . . . getting prepared to turn over

documents to the state’s attorney’s office” would turn over “[t]he whole case file . . . .” Id. at 11

(Tr. at 34).

        The parties point to different portions of the Officer Defendants’ deposition testimony

pertaining to the issue of training as to Brady. For instance, Det. Boone confirmed that he was

“tested on exculpatory evidence when [he] was in the academy,” sometime between February 1973

and July 1973. ECF 136-5 (Boone Dep.) at 100. However, Boone could not remember whether

he was tested on impeachment evidence while at the police academy. Id. at 101. And, Det. Boone

could not recall whether he received training with respect to handling exculpatory evidence. Id.

at 113. Further, Det. Boone testified that he did not receive training at the police academy with

respect to interviewing witnesses or presenting photo arrays to witnesses. Id. at 102.

        Det. Goldstein did not recall whether he received any specific training as it pertained to the

disclosure of exculpatory evidence. ECF 136-6 (Goldstein Dep.) at 138. Further, he could not

remember whether the BPD maintained “any written policy in effect in 1988 on turning over

exculpatory evidence.” Id. at 150-51. However, Goldstein also said that, as a matter of practice,

at the close of an investigation, he would send the “complete case folder . . . to the state’s attorney’s

office.” Id. And, Goldstein indicated that at the time he served as a BPD detective, he was familiar

with Brady’s command to disclose exculpatory evidence. Id. at 144.

        Det. Barlow stated that he was familiar with Brady and the concept of impeachment

evidence. ECF 136-8 (Barlow Dep.) at 237-38. He testified that he received training regarding

these concepts while he was at the police academy (id. at 240-41) and that he “learned early



                                                 -141-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 142 of 152



on . . . to fully disclose everything to [defendants],” although it was the “attorney’s job to turn over

that evidence to the defendant’s lawyer.” Id. at 241. But, Barlow did not remember receiving

training as it pertained to the mechanism by which he was required to turn over a case file to the

SAO. Id. at 313.

       Det. Davis could not recall whether the BPD had implemented at the relevant time a written

policy pertaining to exculpatory and impeachment evidence. ECF 136-7 at 173. Nor could he

remember receiving formal training with respect to disclosure obligations at the relevant time.

ECF 136-7 at 101, 115. However, according to Det. Davis, “supervisors in the homicide unit

would specifically train [BPD officers] about disclosing exculpatory evidence.” Id. at 90. But,

Det. Davis could not recall whether he ever learned what evidence qualifies as impeachment

evidence. Id. at 174.

                                             C. Analysis

       Johnson points, inter alia, to General Orders 14-83 and 10-78, and notes that these

instructions do not mention “Brady, Giglio, exculpatory evidence, impeachment evidence, or

anything about evidence favorable to the accused.” ECF 156 at 6. Stewart, plaintiff’s expert,

stated that he had seen “no evidence that BPD communicated a coherent, consistent policy

regarding the identification, documentation, disclosure, and retention of exculpatory and

impeachment evidence to its offers in or before 1988” and concluded that “BPD lacked any policy

whatsoever.” ECF 156-13 at 14.

       General Order 14-83 instructed officers to “[p]repare complete and accurate case folders.”

ECF 156-1 at 7. The Standard Operating Procedures for the Homicide Unit directed officers to

“Maintain Accurate and Complete records of the entire case” and to properly document all case

activity. ECF 156-2 at 5, 7. And, General Order 10-78 stated that the BPD must cooperate with



                                                 -142-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 143 of 152



the SAO in the review of all evidence before presenting a criminal case to the Grand Jury, and

directed homicide detectives to meet with ASAs for “complete case review[s].” ECF 156-4 at 2.

As Col. Worley testified, BPD policy required “[e]verything [to be] turned over to the State’s

Attorney for review[.]” ECF 136-11 at 363.

        Defendants also point to the testimony of their expert, Jeffrey Noble, who stated that there

was no requirement for written policies to contain certain phrases or case names. ECF 136-31 at

16. In other words, the failure of the BPD to use specific case names, such as Brady or Giglio, or

other magic words, is not evidence of a failure to train.

        Moreover, BPD policy regarding negative photo identification was clear. Policy 10-86,

Procedures for Viewing Criminal Suspect Photographs, stated: “In the event of a negative showing,

the Photograph Line-Up Form need not be turned into the ECS but should be retained in the

member’s investigative file.” Id. at 3. Furthermore, the document stated: “It is the policy of the

Baltimore Police Department to adhere to proper guidelines in the use of criminal suspect

photographs during the criminal investigative process in order that the rights of all suspects are

maintained and subsequent judicial proceedings are not jeopardized.” Id. at 2.

        As mentioned, plaintiff highlights the Declaration of Lt. Tabeling, who stated that “a

preliminary assessment of the Homicide Unit attendees during the fall of 1999 Homicide School

indicated great gaps among the students investigators in their knowledge/familiarity and/or

mastery of many basic legal and investigative concepts.” ECF 136-29, ⁋ 13. He also noted that

“the investigatory files were in a general state of disarray,” as “[t]here was no apparent procedure

for ensuring that all material about an investigation had been recorded and filed appropriately.”

Id. ⁋ 14.




                                               -143-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 144 of 152



       However, Lt. Tabeling’s averment does not cover the time period during which the Officer

Defendants investigated the case. And, for that reason, Judge Russell declined to consider

Tabeling’s averments in connection with a Monell claim concerning a homicide investigation

during the period 1987-1988. See Owens v. Balt. City State’s Attorneys Office, No. GLR-11-2395,

2016 WL 5452944, *10 (D. Md. Sept. 29, 2016). Specifically, Judge Russell stated, id. (internal

citations and footnote omitted):

              Similarly, the Declaration of Stephen B. Tabeling describes his personal
       knowledge of BCPD training practices until 1979, when he retired from BCPD.
       Tabeling eventually returned to BCPD from 2000–2009. But the investigation
       giving rise to Owens's Monell claims against BCPD took place in 1987 and
       1988. Wase’s affidavit and Tabeling’s declaration, therefore, fail to offer evidence
       of BCPD practices during the relevant time period. The Court, therefore, concludes
       that Rule 56(c)(4) bars the Affidavit of Joseph Wase and the Declaration of Stephen
       B. Tabeling because they are not relevant.

       Plaintiff contends that conflicting evidence regarding the training that the BPD officers

received, if any, creates a genuine dispute of material fact. ECF 156 at 12. In particular, he

highlights the declarations of three former BPD patrol officers who stated that they never received

training concerning the production of exculpatory or impeachment evidence. Id. at 19. But, as

defendants note, these officers were not homicide detectives and would not have been familiar

with the Homicide Unit’s training, practices, or policies on production of evidence to the

prosecution during the operative time period. Moreover, it is apparent from their declarations that

these officers were trained to take complete and accurate reports, not to falsify reports, and not to

withhold evidence.

       Specifically, former Officer Jones averred that BPD trained him to “never falsify reports,”

to document information he learned in the field, and that “relevant information should never be

omitted from reports.” ECF 156-23 at 3, ¶ 7. Further, he stated that he “should put all of the

information [he] obtained from any witness interview into a report” to be disclosed to the SAO.

                                               -144-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 145 of 152



Id. Former Officer Owens testified at his deposition that he was trained on gathering and

documenting information from witnesses and crime scenes. ECF 136-27 (Owens Dep.), at 44.

And, former Officer Mays testified that he was trained to “put down all pertinent information” in

his report and that all notes in his notepad would end up in the police report. ECF 136-28

(Muhammad Dep.), at 93-94.

       Col. Richard Worley acknowledged at his deposition that the 1978 Homicide Standard

Operating Procedure did not mention Brady by name. But, he stated that it instructed officers “to

put everything in the case folder to avoid any issues with Brady, to avoid anyone – information

not getting in there.” ECF 136-11 at 203-04.

       In all but name, this is training on Brady and Giglio. Police officers are not lawyers. They

are required to properly document and turn over exculpatory, material information, not to

memorize the names of cases that pertain to constitutional jurisprudence. In other words, whether

BPD had an adequate policy does not turn on nomenclature. It is the substance that controls. In

Connick, 563 U.S. 51, the Court stated that “failure-to-train liability is concerned with the

substance of the training, not the particular instructional format.” Id. at 68.

       Additionally, testimony from the Officer Defendants (and others), when taken together,

suggests that the BPD substantively trained its officers. For example, Det. Barlow testified that

he was familiar with Brady and impeachment evidence (ECF 136-8 at 67), that he received “on

the job” training from his sergeant and senior detectives about what evidence to turn over to the

prosecution (Id. at 239), and that he received training on disclosing exculpatory and impeachment

evidence. Id. at 313-14. Det. Davis testified that he received specific training from prosecutors

and his supervisors on turning over exculpatory evidence (ECF 136-7 at 90), and that he knew to

turn everything over to the prosecutor. Id. at 174. Although Det. Boone could not remember



                                                -145-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 146 of 152



whether he was tested on impeachment evidence (ECF 136-5 at 101), he confirmed that he was

“tested on exculpatory evidence when [he] was in the academy[.]” Id. at 100. And, although Det.

Goldstein did not recall whether he received any specific training as it pertained to the disclosure

of exculpatory evidence. (ECF 136-6 at 138), he testified that he was familiar with Brady’s

command to disclose exculpatory evidence and that the entire case folder would go to the

prosecutor. Id. at 145, 150-53.

       Even if three patrol officers were not adequately trained about disclosing exculpatory

evidence, as plaintiff asserts, the evidence that a few patrol officers did not receive training is

insufficient to support a Monell claim. In Canton, 489 U.S. at 390-91, the Court said: “That a

particular officer may be unsatisfactorily trained will not alone suffice to fasten liability on the

city, for the officer's shortcomings may have resulted from factors other than a faulty training

program.”

       In addition, the BPD has produced substantial evidence concerning its custom and practice

in 1988 and 1989 of submitting all evidence to the SAO, as well as the open file discovery practice

of the SAO. If an errant officer failed to comply with a policy, that does not mean there was no

policy. The evidence of such a custom and practice is essentially undisputed.

       For example, Judge Doory was a Baltimore City prosecutor from 1974 to 1996. ECF 136-

13 at 2. He stated in his Declaration that all prosecutors assigned to a case “had complete access

to the entire BPD Homicide Division casefile – including all witness statements and detective

notes.” ECF 136-13 at 3. He claimed that it was “standard practice” to provide a complete copy

of the BPD Homicide case file to the prosecutor assigned to the case. Id. Further, he stated: “The

only material not included in this copy would be items not conducive to photocopying (e.g.,

matchboxes, business cards . . . .[]) These items were nonetheless available to the prosecutor, who



                                               -146-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 147 of 152



would be made aware of them.” Id. Judge Doory also stated that detectives kept prosecutors “fully

informed of all developments, witness interviews, and other evidence,” and he was not aware of

any instance where BPD detectives hid potentially exculpatory evidence from the prosecution. Id.

       Det. Charles Gilbert also testified that he was trained to turn everything over to the

prosecution. ECF 136-9 at 85. And, former Col. Robert Stanton testified that all information in

the Homicide File would be turned over to the State’s Attorney Office. ECF 136-10 at 256.

Finally, even plaintiff’s expert, Brian Murphy, who was a prosecutor in Baltimore City from 1980

to 1988, stated in his report: “Usually the homicide detective would bring his or her file to the

State’s Attorney’s Office in the courthouse, but, occasionally, the trial prosecutor would travel to

the homicide unit in police headquarters to view the file.” ECF 136-15 at 14-15.

       Defendants also point to deposition transcripts from Owens, 2016 WL 5452944, in which

a plaintiff similarly alleged that the BPD withheld exculpatory evidence during a 1988 criminal

trial.64 Former Col. David Reitz testified at his deposition that Brady was taught in the police

academy in 1982. ECF 136-4 at 8-10. He also testified that the “whole case” is turned over to the

state’s attorney. Former BPD Det. Gary Childs testified: “Our rules have always been, we give

everything to the State’s Attorneys’ Office.” ECF 136-14 at 52. And, former Det. Jay Landsman,

who was a homicide detective during the relevant time period, testified that the “entire case folder

was copied and given to the State’s Attorney.” ECF 136-12 at 3. He also claimed the State’s

Attorney would often “go down and we would have to watch him go through every piece of

evidence.” Id.

       Richard James, who was a detective in BPD’s Homicide Unit in 1989, stated in a

Declaration that “the policy and practice of the BPD was to provide the State’s Attorney’s Office


       64
            Plaintiff has not objected to the use of the evidence gleaned in Owens.

                                                -147-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 148 of 152



with a complete copy of the case file after the Defendant was arrested, well before trial and

typically before indictment. If any statements were taken or evidence was gathered after the file

had been disclosed all additional information would be provided through supplemental

disclosure.” ECF 136-17 at 3. Further, he stated that the “Assistant State’s Attorney assigned to

the Violent Crime Section or assigned to the Homicide Division always had total access to the

homicide file and it was common practice for them to review the file.” Id.

       Former Det. Donald Kincaid, who worked in BPD’s Homicide Unit in 1981, stated in his

Declaration: “During the course of my career with the Baltimore Police Department, and

specifically while a Homicide Detective, the policy and practice of BPD was to provide the State’s

Attorneys’ Office with a complete copy of the case file after the Defendant was arrested, well

before trial and typically before indictment. If any statements were taken or evidence was gathered

after the file had been disclosed all additional information would be provided through

supplemental disclosure.” ECF 136-18 at 3. And, Gary Dunnigan, who was also a homicide

detective during the relevant time period, testified that learning the constitutional obligations of

police detectives was a part of the training, and one of the constitutional duties was the duty to turn

over exculpatory evidence. ECF 136-19 at 2-3.

       At best, plaintiff has presented a scintilla of evidence as to a lack of BPD policies, custom,

and training. Stewart’s criticisms of the adequacy of the policies do not undermine that there were,

in fact, policies. BPD’s mountain of evidence establishing written and informal policies requiring

officers to prepare and maintain accurate and complete records for the SAO’s review as well as its

practice to train officers, formally and informally, regarding their constitutional obligations. In

addition, the evidence shows that the policies were cemented by the SAO’s practice of open file

discovery.



                                                -148-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 149 of 152



       Indeed, plaintiff acknowledges that “[t]he facts pertaining to Plaintiff’s Monell claim are

bare . . . .” ECF 156 at 8. He attributes that circumstance to “similarly skeletal” BPD policies and

training materials. Id. Thus, he asserts that “the constitutional violation is straight forward.” Id.

This is tantamount to ipse dixit.

       Even if plaintiff could surmount the evidentiary hurdle as to the claims of no policies and

no practice, he has not shown “deliberate indifference.” Even on summary judgment the plaintiff

must present some evidence that BPD knew that, absent specified training, it was “highly

predictable” that BPD employees would withhold evidence that its failure to train “amounted to

conscious disregard for defendants’ Brady rights.” Connick, 563 U.S. at 71. “At its core, the strict

Monell test asks for some level of notice.” Estate of Jones by Jones v. City of Martinsburg, West

Virginia, 961 F.3d 661, 672 (4th Cir. 2020). For this reason, “[a] pattern of similar constitutional

violations by untrained employees is ‘ordinarily necessary’ to demonstrate deliberate indifference

for purposes of failure to train.” Connick, 563 U.S. at 62 (citing Bryant Cty., 520 U.S. at 409).

       Notably, “[w]ithout evidence of a pattern of constitutional violations, a plaintiff will

struggle to establish municipal liability, as a decisionmaker can hardly be said to have deliberately

chosen a training program that will cause violations of constitutional rights if the decisionmaker

lacks notice that the training is deficient.” Howard v. City of Durham, 487 F.Supp.3d 377, 439-40

(M.D.N.C. 2020) (citing Connick, 563 U.S. at 61) (cleaned up).            Mere negligence by the

policymakers is insufficient. Spell, 824 F.2d at 1390.

       Plaintiff has failed to adduce any evidence to show that in 1988 and 1989, BPD

policymakers were deliberately indifferent with respect to an express unconstitutional policy. See

Pembaur, 475 U.S. at 483 (“We hold that municipal liability under § 1983 attaches where—and

only where—a deliberate choice to follow a course of action is made from among various



                                               -149-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 150 of 152



alternatives by the official or officials responsible for establishing final policy with respect to the

subject matter in question.”). He has not shown a pattern of similar constitutional violations, which

is ordinarily necessary to prove deliberate indifference under a failure to train theory. Instead, he

urges this Court to apply the single-incident theory to this case. ECF 156 at 25-26.

        However, “a single incident is almost never enough to warrant municipal liability.” Jones,

961 F.3d at 672; see also Connick, 563 U.S. at 64 (stating that only in the rarest of circumstances

may “the unconstitutional consequences of failing to train be so patently obvious that a city could

be liable under § 1983 without proof of a pre-existing pattern of violations.”). And, to my

knowledge, the Supreme Court has never ruled on whether a failure to train police officers in their

Brady and Giglio obligations can give rise to a single-incident Monell claim. In fact, the Supreme

Court has rejected application of the single-incident theory each time it has considered it. See

Connick, 563 U.S. at 64; Bryan Cty., 520 U.S. at 397.

        Plaintiff cites Jackson v. City of Cleveland, 925 F.3d 793, 836 (6th Cir. 2019), and Gregory

v. City of Louisville, 444 F.3d 725, 755 (6th Cir. 2006), to support his position. See ECF 156 at

27-28. However, an analysis of case law in this Circuit militates against applying the exception.

In Jones, 961 F.3d 661, the Fourth Circuit did not apply single-incident liability to an excessive

force incident where five officers simultaneously shot a suspect 22 times while he lay motionless

on the ground. Id. at 665. The Court said, id.:

        We take [Plaintiff’s] point to be that five officers simultaneously violated this
        policy, and therefore the training must have been deficient. [] But Monell’s
        deliberate indifference standard ensures that a municipality either knew or should
        have known about the deficiency, so it could remedy that deficiency.

        Furthermore, in Doe v. Broderick, 225 F.3d 440 (4th Cir. 2000), the Fourth Circuit

declined to apply the single-incident theory to a failure to train claim regarding a search for

confidential records, stating, id. at 456:

                                                -150-
      Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 151 of 152



        Moreover, because this was a single incident, the need for training with regard to
        the confidentiality of drug treatment records was not so “plainly obvious” to the
        policymakers that the failure to instruct on section 290dd–2 can be said to be
        deliberately indifferent. See [Canton, 489 U.S.] at 390 n. 10, 109 S.Ct. 1197. In
        sum, Doe advances his failure-to-train theory of municipal liability merely by
        reference to this single incident involving Detective Broderick; however, the
        Supreme Court has rejected the notion that “a § 1983 plaintiff [can] ... establish
        municipal liability without submitting proof of a single action taken by a municipal
        policymaker.” City of Oklahoma City v. Tuttle, 471 U.S. 808, 821 (1985).

        Plaintiff has not provided evidence from which a jury could find that BPD lacked a policy

concerning disclosure of exculpatory evidence or failed to train as a result of deliberate

indifference. As mentioned, a number of BPD officers stated that they were trained not to falsify

reports, to obtain accurate information, and to disclose all information to the prosecutor handling

the case. And, critically, there is no evidence that BPD had reason to know that exculpatory

evidence allegedly was being withheld. Accordingly, plaintiff has not shown that the need for

different or additional training was “so obvious that the failure to provide it “may fairly be said to

represent a policy for which the City is responsible[].” Canton, 489 U.S. at 390. Thus, I shall

deny defendant’s Motion with respect to Count V.65

                                            IX. Conclusion

        The case reflects an enormous amount of work by all the lawyers. To the credit of

plaintiffs’ able counsel, plaintiff has adeptly crafted what appears to be a series of serious

transgressions by the Officer Defendants who investigated the murder of Aaron Taylor. But,

careful scrutiny indicates that, in actuality, there is a lot of smoke, but no fire.




        65
           Defendants have moved to bifurcate the Monell claim for trial, pending the resolution of
Johnson’s claims against the Officer Defendants. ECF 140. In light of my disposition of Count
V, I shall deny the Motion, as moot.

                                                 -151-
        Case 1:19-cv-00698-ELH Document 182 Filed 10/14/22 Page 152 of 152



        For the reasons stated above, I shall grant the Sanction Motion. In the alternative, I shall

grant the Officer Motion as well as the BPD Motion. And, I shall deny the Bifurcation Motion, as

moot.

        An Order follows, consistent with this Memorandum Opinion.

Date: September 30, 2022                             /s/
                                              Ellen L. Hollander
                                              United States District Judge




                                               -152-
